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               INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
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TAB    DESCRIPTION                                               ACTION


       IDAHO STATE UNIVERSITY – PH.D. IN GEOSCIENCES
 1     PROPOSAL                                                Approval Item


       IDAHO STATE UNIVERSITY – PH.D. IN SOCIAL AND
 2     ENVIRONMENTAL DYNAMICS                                  Approval item


       BOISE STATE       UNIVERSITY    –   ONLINE    MBA
 3                                                             Approval Item
       PROGRAM


       BOARD POLICY III.V. STATEWIDE ARTICULATION
       AND ASSOCIATE DEGREE AND BOARD POLICY III.N.
 4                                                             Approval Item
       PRIVATE, IN-STATE, OUT-OF-STATE - SECOND
       READING



       BOARD POLICY III.AA. IDAHO RURAL PHYSICIAN
 5                                                             Approval Item
       INCENTIVE PROGRAM - SECOND READING



       BOARD POLICY III.AB. ACCOUNTABILITY
 6                                                             Approval Item
       OVERSIGHT COMMITTEE - SECOND READING




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               INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
                            DECEMBER 13, 2012
IDAHO STATE UNIVERSITY


SUBJECT
    Approval of Proposal for a new Ph.D. in Geosciences and Memorandum of
    Agreement for Graduate Education in Geosciences

APPLICABLE STATUTE, RULE, OR POLICY
     Idaho State Board of Education Governing Policies & Procedures, Section III.G.
     4 and 5 and Section III.Z.

BACKGROUND/DISCUSSION
    Idaho State University (ISU) proposes to create a new Doctor of Philosophy
    (Ph.D.) in Geosciences to be administered by the Department of Geosciences.
    This department has increased its research and graduate education profile
    during the past two decades, and the doctoral program is a logical and necessary
    step to continue that evolution. The new Ph.D. curriculum will consist of 84
    graduate credits, or 54 credits for candidates holding an M.S. degree. Ph.D.
    students will be recruited from the existing M.S. program, from the local
    workforce, and across the country thus attracting a more highly qualified
    workforce to fill natural resource industry jobs in Idaho.

       The doctoral program will leverage existing departmental strengths in Idaho's
       natural resources, water supply, and environmental needs, expanding ongoing
       projects such as water supply and water quality, semi-arid soil and vegetation
       recovery after wildfires, assessment of active geologic faults, landscape change
       and associated topographic analyses, fluvial processes, geothermal and
       volcanological research, and geospatial modeling and software development.
       The doctoral program will also enhance the department’s proven ability to attract
       research funding from federal agencies and private industry. For instance, some
       educational grant programs (e.g., NSF Integrative Graduate Education and
       Research Traineeship (IGERT)) specifically target training of Ph.D. students. The
       long-term integration of biological and geological research and instruction makes
       ISU a strong candidate for an IGERT program, but Geosciences must have a
       doctoral program for that to be possible.

       ISU facilitated discussions with Boise State University (BSU) and the University
       of Idaho (UI) in an effort to promote collaboration between and among the
       universities who currently offer a Ph.D. in Geosciences. A draft Memorandum of
       Agreement was crafted based on those discussions.

IMPACT
     Ph.D. student stipends and the students’ associated research costs (travel,
     materials & supplies) will be funded externally. These funds will come from
     primarily federal sources, but also private and to a limited degree, state sources.




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       Funding is expected to be sustained over the long term, based on the twenty-
       year record of sustained grant success by existing faculty in ISU Geosciences.

       State Appropriation currently pays approximately 95% of the salaries of ISU
       Geosciences professors and support staff. These professors and staff will direct
       the Ph.D. program. State appropriations also pay for Geosciences library
       resources and for the infrastructure (office and laboratory space) that houses the
       Ph.D. students. All of these state-funded resources are sufficient to support the
       new Ph.D. program.

       The proposed MOA between the Departments of Geoscience at ISU, BSU, and
       UI outlines how they will work collaboratively to support a common vision and
       understanding of graduate geoscience education in Idaho and commit to working
       together to provide statewide access to quality graduate geoscience education.
       A summary of terms include the following:

             working in concert to develop and maintain geoscience graduate
              programs that make use of existing disciplinary strengths while minimizing
              duplication of resources;

             developing geoscience graduate courses to share among institutions;

             developing agreements addressing administrative matters as common
              curricula are developed, which may include, but will not be limited to,
              tuition, workload adjustment allocation, transfer credit, and other issues
              related to enrolled students or collaborative courses among institutions;

             making good faith efforts to secure at their respective institutions graduate
              faculty status for the graduate geoscience faculty of all three institutions
              and sharing faculty across the institutions to enhance availability of and
              access to faculty experts for teaching and research;

             awarding Ph.D. degrees independently through their respective programs
              while collaborating, as specified in the agreement to avoid duplication and
              facilitate efficient use of resources; and

             working jointly among respective administrators, staff, and faculty in good
              faith to address issues that may arise in the implementation of the
              agreement.

ATTACHMENTS
    Attachment 1 – Proposal for Ph.D. in Geosciences and external review            Page 5
    Attachment 2 – Memorandum of Agreement between ISU, BSU and UI                  Page 45
    Attachment 3 – Letter of Support from Idaho Department of Commerce              Page 47




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                   INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
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STAFF COMMENTS AND RECOMMENDATIONS
     Idaho State University (ISU) proposes to create a new Doctor of Philosophy
     (Ph.D.) in Geosciences that will be delivered through three of ISU’s Geosciences
     facilities: ISU Physical Sciences in Pocatello, CAES in Idaho Falls, and Boise
     Center Aerospace Laboratory in Boise. ISU projects that they have the capacity
     to enroll approximately 8 students in the doctorate program if approved.

       Consistent with Board Policy III.G., ISU’s proposed Ph.D. in Geosciences
       program was reviewed on by an external review panel consisting of Dr. Gina
       Tempel, University of Nevada, Reno and Dr. Wanda Taylor, University of
       Nevada, Las Vegas. Reviewers provided positive and supportive reviews to
       include their recommendation for establishing the Ph.D. program at ISU. When
       addressing issue of duplication, the team emphasized the “complementary
       aspect of the ISU program over any competitive aspects” and noted that the
       addition of new ISU faculty benefits collaboration with BSU and UI. The team
       also indicated that the expertise of ISU faculty is different in geoscience expertise
       and focus than faculty at BSU and UI.

       The proposal went through the program review process and was presented to
       the Council on Academic Affairs and Programs CAAP) on May 3, 2012. CAAP
       was divided on whether to recommend Board approval given the outstanding
       concerns expressed by the UI with regard to overlap with existing doctorate
       geoscience programs. CAAP encouraged ISU to have further discussion
       regarding potential collaboration. ISU facilitated discussions with the UI and BSU
       and crafted a Memorandum of Understanding that outlines how they can work
       collaboratively to support graduate geoscience education in the state. Board staff
       recommended that the universities encourage their faculty to reach out to the
       Department of Commerce with the purpose of discussing how institutions can
       collaborate and partner in what the state is trying to accomplish with the identified
       industry clusters.

       ISU’s request to create a new Ph.D. in Geosciences is consistent with their Five-
       Year Plan for the delivery of academic programs in the Southeast region.
       Pursuant to III.Z, no institution has the Statewide Program Responsibility for
       Geosciences. Currently, Boise State University offers a Ph.D. in Geosciences
       and a Ph.D. in Geophysics in Boise. The University of Idaho offers a Ph.D. in
       Geology in Moscow and Idaho Falls. The following represents programs in
       geosciences and geology currently being offered:

         Institution   Region   Branch Campus   Location        Program                           Degree
            NIC          1      NIC Campus      Coeur D'Alene   Geology                           AS
             UI          2      UI Campus       Moscow          Geol-Structural Geology &         BS
                                                                Tectonics Opt.
             UI          2      UI Campus       Moscow          Geol-Environmental Geology Opt.   BS
             UI          2      UI Campus       Moscow          Geol-General Geology Opt.         BS
             UI          2      UI Campus       Moscow          Geol-Geological Education Opt.    BS
             UI          2      UI Campus       Moscow          Geol-Hydrogeology Opt.            BS
             UI          2      UI Campus       Moscow          Geol-Resource Exploration Opt.    BS
             UI          2      UI Campus       Moscow          Geology                           MS




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                   INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
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         Institution   Region   Branch Campus      Location          Program                      Degree
             UI          2      UI Campus          Moscow            Geology                      PhD
            CWI          3      Caldwell, Nampa    Caldwell, Nampa   Geology                      AS
            ISU          3      ISU-Meridian Ctr   Meridian          Geophysics/Hydrology         MS
            BSU          3      BSU Campus         Boise             Geology                      MS

            BSU          3      BSU Campus         Boise             Geophysics                   BS, MS,
                                                                                                  Ph.D.
            BSU          3      BSU Campus         Boise             Geosciences                  BS, Ph.D.
            BSU          3      BSU Campus         Boise             Geosciences Joint/ISU        MS
            CSI          4      CSI Campus         Twin Falls        Geology                      AS
            ISU          5      ISU Campus         Pocatello         Geology                      MNS, AS,
                                                                                                  BA, BS,
                                                                                                  MS
            ISU          5      ISU Campus         Pocatello         Geological Sciences          MS
            ISU          5      ISU Campus         Pocatello         Geophysics/Hydrology         MS
            ISU          6      University Place   Idaho Falls       Geology                      AS
             UI          6      University Place   Idaho Falls       Geology                      PhD


       Board staff and CAAP recommend approval as presented.

BOARD ACTION
    I move to approve the request by Idaho State University to offer a new Ph.D., in
    Geosciences.


       Moved by __________ Seconded by __________ Carried Yes _____ No _____


       I move to approve the Memorandum of Understanding between Idaho State
       University, Boise State University, and the University of Idaho as presented, in
       substantial conformance to the form submitted as attachment 2 with the effective
       date of the Memorandum of Understanding changed to December 13, 2012.


       Moved by __________ Seconded by __________ Carried Yes _____ No _____




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                                                  State ofldaho
                                       Graduate Education in Geosciences
                                          Memorandum of Agreement

This Memorandum of Agreement, effective the _        day of June,2012, is entered into by Idaho State
University flSU), Boise State University [BSU), and University of Idaho (UI).

I. Purpose

There is a great demand for geoscientists with advanced degrees to address the natural resource, water,
and environmental needs of the state of Idaho. Despite a demonstrated need for graduate geoscience
programs throughout the state of Idaho, the state has limited resources to provide graduate geoscience
education. The three Idaho universities (lSU, BSU, UI) currently offer the M.S. Geology degree. BSU and UI
also offer a Ph.D. in Geosciences, and ISU has proposed a new Ph.D. program in Geosciences. The intent of
all three institutions is that the Ph.D. in Geosciences is a research-focused degree, designed to train earth
scientists who can characterize the fundamental nature of earth processes and provide detailed
interpretations of specific locations.

The Idaho State Board of Education has not assigned primary responsibility for geoscience education and
training in the state of Idaho to a particular university; institutions are, however, directed to avoid
duplication of programs where possible. ISU, BSU, and UI desire to avoid such duplication by establishing a
collaborative administrative framework that will enable efficient sharing of educational resources among
the institutions' respective geoscience graduate programs, including collaboration of Ph.D. educators in the
state.

By entering into this agreement ISU, BSU, and UI express their support of a common vision and
understanding of graduate geoscience education in Idaho and commit to work together to provide
statewide access to quality graduate geoscience education.

11.   Agreement

To achieve the objectives set forth above, ISU, BSU and UI agree as follows:

1.    ISU, BSU, and UI will work in concert to develop and maintain geoscience graduate programs that make
      use of existing disciplinary strengths while minimizing duplication of resources. Geoscience
      department chairs and graduate faculty from the three institutions will meet at least annually to discuss
      graduate education needs and requests for new or enhanced graduate geoscience programs. New
      course offerings related to graduate geoscience programs will be submitted with the institution's five-
      year plan in accordance with Idaho State Board of Education policy.

2.    ISU, BSU, and UI agree to develop geoscience graduate courses to share among institutions. In most
      cases such courses will be delivered via video or web conferencing technology to all three campus
      Iocations.

3.    As the common curricula are developed as set forth above, ISU, BSU, and UI    will also develop
      agreements addressing administrative matters that may include, but     will not be limited to, tuition,
      workload adjustment allocation, transfer credit, and other issues related to enrolled students or
      collaborative courses among institutions, Details will be facilitated by the associate deans, department
      chairs, and registrars ofthe three institutions.




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4.    ISU, BSU, and UI will make good faith effort to secure at their respective institutions graduate faculty
      status for the graduate geoscience faculty of all three institutions and will share faculty across the
      institutions to enhance availability of and access to faculty experts for teaching and research.

5.    ISU, BSU, and UI wilÌ award Ph.D. degrees independently through their respective programs while
      collaborating, as specified in paragraph nos. 1 through 4 above, to avoid duplication and facilitate
      efficient use of resources.

6.    ISU, BSU, and UI and their respective administrators, staff, and faculty will work jointly in good faith to
      address issues that may arise in the implementation of this agreement.

III. Binding Effect

This Memorandum of Agreement is subject to any required approval of the Idaho State Board of Education
and is binding on the institutions (lSU, BSU, and UI) only if such approval is obtained.

IV. Modification

This Memorandum of Agreement may be modified by agreement of the institutions (lSU, BSU, and UIJ. To
be binding, all such modifications must be in writing and signed by the Provost of each institution.

V. Termination

Any of the institutions flSU, BSU, or UI) may terminate this MOU at any time upon 90 days written notice to
the Provosts of the other institutions.

IDAHO STATE UNIVERSITY                                    BOISE STATE UNIVERSITY

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               INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
                            DECEMBER 13, 2012
IDAHO STATE UNIVERSITY


SUBJECT
    Approval of Proposal for a new Ph.D. in Social and Environmental Dynamics

APPLICABLE STATUTE, RULE, OR POLICY
     Idaho State Board of Education Governing Policies & Procedures, Section III.G.
     4 and 5 and Section III.Z.

BACKGROUND/DISCUSSION
    Idaho State University (ISU) proposes to create a Ph.D. program in Social and
    Environmental Dynamics (SED) organized as an interdisciplinary program by
    faculty from the Departments of Anthropology, Biological Sciences, Economics,
    Geosciences, Political Science, History, Sociology, Chemistry, Business and
    Physics, and other faculty members from across the Idaho State University
    campus. An interdisciplinary Ph.D. program is needed at ISU that will allow
    students individualized research tracks that mix social, natural, and physical
    sciences in an integrated and systematic exploration of the role of humanity in
    the structure and functioning of the earth’s natural, physical, and human
    systems.

       While Idaho State University is at the forefront of many human-based sciences
       research initiatives, and has excelled in interdisciplinary research efforts
       integrating the social, natural, and physical sciences, there is no Ph.D. program
       at ISU for the advancement of education and research in human related fields
       and their intersection with the Natural and Physical Sciences (termed
       “Sustainability Science” by the National Science Foundation). Students confined
       by geography or employment to southeastern Idaho have no opportunity for
       advancement. Further, the Idaho National Laboratory is in need of an
       interdisciplinary social-physical science-based Ph.D. program for a number of
       their staff. More significantly, the interdisciplinary research currently being
       conducted at ISU is attracting MS students from around the globe, yet there is
       no opportunity for keeping them at ISU because of a lack of suitable programs.
       This program will further position ISU for the NSF Integrated Graduate
       Education and Research Training (IGERT) graduate program initiative and
       provides the foundation for a suite of new research, education, and training
       opportunities. This program will build on the successes of its faculty to increase
       university ties to government and industry partners.

       The proposed program fits within Idaho State University's mission to advance
       scholarly and creative endeavors through the creation of new knowledge,
       cutting-edge research, innovative artistic pursuits and high quality academic
       instruction. It will also support the Board’s mission and policy through offering a
       broad, interdisciplinary degree that will train Idaho students in the fundamental
       skills and knowledge necessary to become superior researchers and scientists.



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       In addition, the program will provide the educational basis for entrepreneurial
       development in the Social and Environmental Dynamics fields within the state of
       Idaho.

IMPACT
     This is an interdisciplinary program with a faculty already positioned within their
     home departments, therefore, all faculty will be teaching regular courses in which
     SED students may be participating. Support will be provided with work-study,
     internship, and graduate assistant funding. The administration at ISU has
     committed five graduate assistantships to support the program.

ATTACHMENTS
    Attachment 1 –Proposal and external review for the Ph.D. in
    Social and Environmental Dynamics                                           Page 5
    Attachment 2 - Letters of Support                                           Page 43

STAFF COMMENTS AND RECOMMENDATIONS
     Idaho State University proposes to create a new interdisciplinary Ph.D. program
     in Social and Environmental Dynamics to be housed under the Graduate School.
     The proposed program was modeled after the Environmental Dynamics Ph.D.
     program offered at the University of Arkansas and the Environmental Studies
     Ph.D. program offered at Antioch University.

       ISU has identified eleven students who are prepared to enter into this program
       from the local community, the Idaho National Laboratory, and the Fort Hall
       Reservation.

       Consistent with Board Policy III.G., ISU’s proposed Ph.D. in Social and
       Environmental Dynamics was reviewed by an external review panel consisting of
       Dr. John Dixon from the University of Arkansas and Dr. Stephen Mulkey, from
       the University of Idaho. The reviewers provided analysis regarding
       national/regional need for proposed program, curriculum, faculty workload,
       doctoral candidate support, adequacy of space/facilities, and administrative
       structure.

       The reviewer panel felt the curriculum as outlined for the program was weak and
       did not address the “inherent contrast in the preparation of doctoral students from
       the social and natural sciences.” They noted that the “proposed two-semester
       required seminar is pedagogically acceptable but the content is poorly
       enunciated and does not clearly contain the desired synthesis across
       disciplines.” The panel felt that the curriculum for the proposed program can
       “overcome both of these deficits through a concerted effort at curriculum design
       that include players from the social and natural sciences.”

       The panel also felt that “overall institutional support for doctoral candidates was
       lacking and recommended program support in the form of staff and graduate



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       student space” and development of a reporting structure above the level of the
       College deans such as to the VP for Academic Affairs, the Dean of the Graduate
       School or possibly directly to the Provost”.

       The panel also commented on the teaching loads for current faculty involved in
       graduate education and felt it was “excessive for any graduate program” for
       fostering doctoral level research. Panel recommended “faculty integral to
       success be given reduced teaching assignments.” This is especially necessary
       during the early years of the program.

       When addressing the issue of duplication; the team indicated that while “similar
       programs exist at the University of Idaho and in nearby Utah, these institutions
       draw on largely separate clientele.” Therefore, the team saw “little competitive
       overlap between the proposed program and existing programs.”

       ISU’s proposed Ph.D. in Social and Environmental Dynamics was in the pipeline
       for review and was therefore, not added to their Five-Year Plan. Pursuant to III.Z,
       no institution has the Statewide Program Responsibility for interdisciplinary
       Environmental Science programs. Currently, the University of Idaho offers a
       Ph.D. in Environmental Science.

BOARD ACTION
    I move to approve the request by Idaho State University to offer a new
    interdisciplinary Ph.D. in Social and Environmental Dynamics.


       Moved by __________ Seconded by __________ Carried Yes _____ No _____




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 1.    Describe the nature of the request.

 Idaho State University proposes to create a Ph.D. program in Social and Environmental Dynamics
 (SED) organized as an interdisciplinary program by faculty from the Departments of Anthropology,
 Biological Sciences, Economics, Geosciences, Political Science, History, Sociology, Chemistry, Business
 and Physics, and other faculty members from across the Idaho State University campus.

 As scientific understanding of the earth’ s environments has increased over the past thirty years, it has
 become increasingly apparent that what we see in ‘nature’, with very few exceptions, is the result of a
 profound interaction between humans and environments in all parts of the globe. There is, in other
 words, no nature without culture, and humans have been major predators, harvesters, contributors, and
 engineers in virtually all ecosystems for millennia. This understanding has altered the parameters of
 scientific study, such that these interactions are now labeled Biocomplexity or Coupled Natural and
 Human Systems, which are new categories of National Science Foundation (NSF) funding and the
 scientific literature. The academy has been slow to take this new understanding into account in a
 systematic way because of older disciplinary boundaries and a traditionally received wisdom that has
 firmly separated culture from nature. While individual multidisciplinary projects are born every day, this
 growing field is generating an entirely new form of science such that a new disciplinary focus is required.

 At the National Science Foundation, National Institutes of Health, National Oceanographic and
 Atmospheric Administration, National Aeronautics and Space Administration, Department of Energy
 and throughout the research infrastructure of the United States, there is an increasing emphasis on
 interdisciplinary research agendas and Idaho State University intends its students to be at the forefront of
 these emerging fields. State and Federal agencies are increasingly in need of broadly trained scientists
 who have skills across a range of disciplines. This is especially so at the interface of social and physical
 sciences. This is even truer in the consulting profession where scientists are regularly called upon to
 perform duties across a number of related disciplines. This approach is starting to penetrate academia as
 well where new interdisciplinary academic units are beginning to replace the more traditional
 departmental boundaries.
                     “Interdisciplinary studies may be defined as a process of answering a question,
                     solving a problem, or addressing a topic that is too broad or complex to be dealt
                     with adequately by a single discipline or profession . . . . [and] draws on
                     disciplinary perspectives and integrates their insights [to produce] a more
                     comprehensive perspective” (Klein and Newell
                     1997:393). 1

 While Idaho State University is at the forefront of many human-based sciences research initiatives, and
 has excelled in interdisciplinary research efforts integrating the social, natural, and physical sciences, there
 is no Ph.D. program at ISU for the advancement of education and research in human related fields and
 their intersection with the Natural and Physical Sciences (termed “Sustainability Science” by the National
 Science Foundation). Students confined by geography or employment to southeastern Idaho have no
 opportunity for advancement. Further, the Idaho National Laboratory is in need of an interdisciplinary
 social-physical science-based Ph.D. program for a number of their staff. More significantly, the
 interdisciplinary research currently being conducted at ISU is attracting MS students from around the
 globe, yet there is no opportunity for keeping them at ISU because of a lack of suitable programs. This
 program will further position ISU for the NSF IGERT (Integrated Graduate Education and Research
 Training) graduate program initiative and provides the foundation for a suite of new research, education,
 and training opportunities.
 An interdisciplinary Ph.D. program is needed at Idaho State University that will allow students

1 Klein, J. T. and Newell, W. H. 1997 Advancing Interdisciplinary Studies. In Jerry B. Graff, James, L. Ratcliff and

Associates (eds) Handbook of the Undergraduate Curriculum: A Comprehensive Guide to Purposes, Structures, Practices, and Change
(pp 393-415). San Francisco: Jossey-Bass Publishers.

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    individualized research tracks that mix social, natural, and physical sciences in an integrated and
    systematic exploration of the role of humanity in the structure and functioning of the earth’s natural,
    physical, and human systems. Faculty from 11 departments spanning three colleges, and several facilities
    including the GIS Training and Research Center, the Idaho Accelerator Center, the Informatics Research
    Institute, the Idaho Museum of Natural History, and the Center for Archaeology, Materials, and Applied
    Spectroscopy, have in place the necessary faculty, facilities, and research interests to make such a
    program a success.

    Faculty members from participating departments have identified eleven (11) students who are ready to
    enter this program from the local community, the Idaho National Laboratory, and the Fort Hall
    Reservation. The program will not need additional faculty support, due to the interdisciplinary structure
    of the program, and will receive infrastructural support from the Office of Academic Affairs, the Office
    of the President of ISU, and the academic Colleges. This program is critical to the mission and needs of
    ISU, the state, and the eastern Idaho community.


    2.   Quality.

    The program will be coordinated by a Program Director who will chair a committee made up of members
    from each of the participating departments. This committee will be responsible for recommending
    students for admission, for course development, approval of graduate committee membership, and other
    duties to assess the quality of the program and to maintain continuous improvement. The committee’s
    primary tasks will entail program rigor, and to maintain the strong, integrative interdisciplinarity of the
    mission because “Merely bringing the different disciplines together in some way but failing to engage in
    the hard work of integration is multidisciplinary studies, not interdisciplinary studies” (Repko 2007:133).
    For this program, “Interdisciplinarity means defying disciplinary limits on what theories, concepts, and
    methods are appropriate to a problem and being open to alternative methods of inquiry, using different
    disciplinary tools, and carefully estimating the degree of usefulness of one tool versus another to
    shed light on a problem” (Repko 2007:135). 2

    In this construct, the National Academy of Sciences, the National Academy of Engineering, and the
    Institute of Medicine define interdisciplinary work in similar terms: “Interdisciplinary research (IDR) is a
    mode of research by teams or individuals that integrates information, data, techniques, tools,
    perspectives, concepts and/or theories from two or more disciplines or bodies of specialized knowledge
    to advance fundamental understanding or to solve problems whose solutions are beyond the scope of a
    single discipline or area of research” (National Academies 2005:39). The committee will coordinate
    education and research that is beyond, or unable to be achieved, by any one discipline. 3

    Admission Criteria
    1. Prospective students will enter the program with a MA or MS in one of the participating
    departments or a related interdisciplinary field, and should have a 3.5 or better graduate GPA on a
    4.0 point scale. All applicants must meet ISU Graduate School admission requirements for doctoral
    programs. Prospective students will normally have GRE scores at the 50th percentile or above in all
    general testing areas. The GRE exam will have been taken in the last five years. Three letters of
    recommendation must be provided.

    2. Prospective students may be admitted only if a member of the program agrees to be the major
    supervisor.

    3. All recommendations for admission will be made by the steering committee. All approvals of

2
    Repko, Allen F. 2007 Interdisciplinary Curriculum Design. Academic Exchange Quarterly Fall 2007:130-137.
3
    National Academies of Science 2005. Facilitating Interdisciplinary Research. Washington DC: National Academies
    Press.

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 major professor will be made by the steering committee.

 Curriculum

 Core Requirements
 The faculty of the SED Ph.D. program envision this program as primarily a research degree with
 broad, interdisciplinary foci. As such, students will be required to take two core courses and then
 specialized courses to meet individual research requirements as determined by the student’s integrated
 interdisciplinary research committee. Further coursework or projects may be assigned in consultation
 with the committee. Each participating department will create a new course number for the two core
 courses, and the student will take all core and research credits in the department numbers of his/her
 major advisor. All other course work will be in the offering department.

 1. All students will participate in two core seminars their first year. This will be a two-semester seminar
 sequence in Integrated Social and Environmental Dynamics. The goal of this two-semester sequence is
 to create a common knowledge base, research core, and cohort for all students entering the program,
 regardless of individual specialty.

 Since the external reviewers were adamant that the program, and courses, not be housed in any one
 department or college, the courses will be team taught by participating faculty. Module 1 will be taught
 by physical scientists, Module 2 by natural scientists, Module 3 by social scientists. The actual reading
 lists for each course will be based on the important literature at the time of the offering and will change
 every semester because the important topics in these fields change every year. The committee will have
 oversight.

 The seminars will be done in modules, so that students from distant locations who might be fully
 employed in government or private industry may participate in the program. The courses will be done
 in five week sections where students do readings, short papers, and independent research collaborating
 on-line with the professor for five weeks, and then come to ISU for three intensive days of fieldwork,
 laboratory research, and/or seminars (perhaps on a Thursday, Friday, Saturday). For those in residence
 at ISU, this will be a novel addition to other courses in which they are enrolled. For those stationed
 away from ISU, this will provide three opportunities per semester for students to interact on campus
 with students and faculty in the first year.

 The two courses will be organized as follows:

         History of Global Change
         Semester 1 Module 1: Physical processes and global change.
         Semester 1 Module 2: Global change, evolution, and life sciences.
         Semester 1 Module 3: Hunters, farmers, and early civilizations as agents of cultural and
         historical global changes.

         Sustainability and Resilience in the Modern Global Environment
         Semester 2 Module 1: Physical processes and modern global changes.
         Semester 2 Module 2: Biocomplexity, coupled human-natural systems, biodiversity.
         Semester 2 Module 3: Food security, energy development, health, and environment.

 A total of 54 credits of coursework, which includes 6 credits of core seminars and a minimum of 30
 credits of dissertation, must be completed for the Ph.D.

 2. In the first semester, the student will formulate a research committee made up of a Principle Advisor
 and three other faculty. At least two of the committee members must be from disciplines other than that
 of the Principle Advisor, with at least one each from Social Sciences (including Business and Education),
 Natural Sciences (including Mathematics), and Physical Sciences (including Engineering). This committee
 will consult with the student while the student formulates a program of study. The student will be
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 expected to maintain a 3.5 GPA in graduate coursework.

 Four example Programs of Study are described below. All are quite different, one will require
 undergraduate prerequisite course work, the others will not. Students will have the option of
 any graduate level courses in any of the participating disciplines if approved by their graduate
 committee and if they meet the appropriate prerequisites.

          Scenario 1: A student with strong undergraduate and master’s degrees in one of the
          core disciplines, and extensive work experiences in State or Federal agencies, or in
          private industry, may pursue a pure research degree. Here the student would
          participate in the core seminars, but the remainder of their program may consist of
          independent study courses, independent research courses, and dissertation units.

 Year 1: Fall 9 credits                              Year 1: Spring 9 credits
 66xx: Seminar in SED 3 credits                      66xx: Seminar in SED 3 credits
 66xx: Independent Research 3 credits                66xx: Independent Research 3 credits.
 66xx: Independent Study 3 credits                   66xx: Independent Study 3 credits
 Year 2: Fall 6 credits                              Year 2: Spring 6 credits
 88xx: dissertation research 6 credits               88xx: dissertation research 6 credits
 Year 3: Fall 6 credits                              Year 3: Spring 6 credits
 88xx: dissertation research 6 credits               88xx: dissertation research 6 credits
 Year 4: Fall 6 credits                              Year 4: Spring 6 credits
 88xx: dissertation research 6 credits               88xx: dissertation research 6 credits
          TOTAL = 54 credits

          Scenario 2: A student with undergraduate and master’s degrees in sociology or
          anthropology develops a research project to investigate wild and farmed salmon as
          commodity chains interconnecting circum-pacific countries and indigenous peoples
          in a global economy. Integrating Sociology, Anthropology, Economics, Ecology, and
          Geographic Information Systems, the student creates an entirely novel approach to
          understanding the production and spread of salmon throughout the Pacific region.

 Year 1: Fall 9 credits                              Year 1: Spring 9 credits
 66xx: Seminar in SED 3 credits                      66xx: Seminar in SED 3 credits
 GEOL 5503 Principles of Geographical Information    GEOL 5504 Advanced Geographic Information
 System 3 credits.                                   Systems 3 credits.
 SOC 5591 Seminar in Environmental Sociology 3
                                                     ECON 5533 Economic Development 3 credits.
 credits.
 Year 2: Fall 9 credits                              Year 2: Spring 9 credits

 ANTH 5581: Development Anthropology 3 credits       GEOL 6628 Advanced GIS Programming 3 credits

 88xx: dissertation research 6 credits               88xx: dissertation research 6 credits
 Year 3: Fall 6 credits                              Year 3: Spring 6 credits
 88xx: dissertation research 6 credits               88xx: dissertation research 6 credits
 Year 4: Fall 6 credits                              Year 4: Spring 0 credits
 88xx: dissertation research 6 credits               completed
            TOTAL = 54 credits



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          Scenario 3: A student with any participating undergraduate and graduate degrees (but
          not in chemistry, for example), who plans to investigate the role of industrialization in
          spreading contaminants to indigenous foods in the arctic. This program, an
          exceptional case of a student who chose to completely re-tool their education
          to pursue a specific PhD direction, would require some undergraduate coursework
          but create an informed and socially aware approach to contaminant studies (While
          unlikely to occur, we wanted to show that it would certainly be possible for a
          student to do this).

 Year 1: Fall 11 credits                    Year 1: Spring 10 credits
 66xx: Seminar in SED 3 credits             66xx: Seminar in SED 3 credits
 CHEM 2232 Quantitative Analysis 2
                                            CHEM 3302 Organic Chemistry II 3 credits.
 credits.
 CHEM 2234 Quantitative Analysis            CHEM 3304 Organic Chemistry Laboratory II 1
 Laboratory 2 credits.                      credit
 CHEM 3301 Organic Chemistry I 3
                                            ANTH 5502: Ecological Anthropology 3 credits
 credits.
 CHEM 3303 Organic Chemistry
 Laboratory I
 Year 2: Fall 9 credits                     Year 2: Spring 12 credits
 CHEM 5535 Environmental Chemistry 2
                                            BIOL 5532 Biochemistry 3 credits.
 credits.
 CHEM 5537 Environmental Chemistry          POLS 5555 Environmental Politics and Policy 3
 Laboratory 1 credit.                       credits
 BIOL 6687 Environmental Science and
                                            88xx: dissertation research 6 credits
 Pollutants 3 credits

 ANTH 5549 Methods and Techniques of
 Ethnographic Field Research 3 credits

 Year 3: Fall 9 credits                     Year 3: Spring 6 credits
 88xx: dissertation research 6 credits      88xx: dissertation research 6 credits

 Year 4: Fall 6 credits                     Year 4: Spring 6 credits
 88xx: dissertation research 6 credits      88xx: dissertation research 6 credits
            TOTAL: 54 Graduate, 12 undergraduate




          Scenario 4: A student with a background in Geology, Physics, or Chemistry might
          seek new and important methods of materials analysis in archaeology, art, or museum
          curation. Combining archaeology with advanced materials analysis, including research
          at CAMAS and the Idaho Accelerator Center, a student develops a research topic
          that solves important social questions using state-of-the-art physical analysis. A
          student with an archaeology background and basic science education (introductory
          courses in chemistry, physics, and math), for example, could complete this same
          sequence with a year of background coursework.



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 Year 1: Fall 9 credits                               Year 1: Spring 9 credits
 66xx: Seminar in SED 3 credits                       66xx: Seminar in SED 3 credits
 GEOL 6625 Quantitative Geochemistry Lab 3            PHYS 5516 Introduction to Nuclear
 credits.                                             Measurements 3 credits.
                                                      ANTH 66xx: Archaeological Chemistry 3
 ANTH 6635: Seminar in Archaeology 3 credits
                                                      credits
 Year 2: Fall 10 credits                              Year 2: Spring 9 credits
 PHYS 6615 Neutron Activation Analysis 4              CHEM 6630 Advanced Analytical Chemistry 3
 credits.                                             credits
 88xx: dissertation research 6 credits                88xx: dissertation research 6 credits
 Year 3: Fall 6 credits                               Year 3: Spring 6 credits
 88xx: dissertation research 6 credits                88xx: dissertation research 6 credits
 Year 4: Fall 6 credits                               Year 4: Spring 0 credits
 88xx: dissertation research 6 credits                completed
            TOTAL = 56 Units

 3. During the second semester, the student will create a dissertation research proposal that will be
 presented in an open forum during the third semester. This presentation will be followed by a closed oral
 examination with the student’s committee and other interested faculty.

 4. The student will create an original dissertation based on primary research. The style and depth of the
 work will be determined in consultation with the committee.

 5. The student will present a dissertation defense that will be presented in a public forum followed by a
 closed oral examination with the student’s committee and other interested faculty.

 On-going assessment: The proposed curriculum involves eleven departments and five research
 facilities. The unique composition of the program means that no specialized accreditation is available.
 The program will be evaluated according to a specific assessment plan, presented below, and the
 standard review process in place within all of the departments, centers, institutes, and facilities involved.
 Course evaluations, student exit interviews, student career placement, surveys of hiring institutions, and
 regular contact, formal and informal, with graduates will maintain the program’s visibility and offer
 suggestions for course redesign. In addition to the program’s own assessment plan, the program will go
 through the formal ISU assessment at Departmental, College, and University levels.

         1.) Annual Assessment
                a. Annual exit interviews will be conducted with graduating students.
                b. The two-semester core seminar course in SED will be evaluated annually by a
                    team comprised of the core faculty of the program. The goal of the two- semester
                    core is to create a common knowledge base and research core for all students,
                    regardless of academic background. Assessment tools will include
                    entrance and exit surveys and systematic assessment of course materials.

            2.) Five-year Assessment
                  a. Every five years the program will be evaluated by an external review team comprised
                      of program alumni, employers, and external constituencies, including representatives
                      of government agencies (Bureau of Reclamation, Bureau of
                      Land Management, Forest Service, Idaho Humanities Council, for example) and the
                      Idaho National Laboratory.

         3.) Long-term Assessment
                a. A web-based tool will be developed to track program graduates and to compile
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                      statistical data about graduate placement.

 External Review. See attached (complete report, Appendix 2).


 Summary of key findings.
 1. The external reviewers found that 1) this program is needed at ISU and does not overlap with related
    but different programs at the University of Idaho and at Utah State University. The reviewers found
    2) the faculty to be outstanding overall, and energetic, enthusiastic, and already engaged in
    interdisciplinary research. They found 3) the research infrastructure to be strong, and faculty granting
    to support Ph.D. research equally strong.
 2. Reviewer concerns regarding curriculum have since been addressed.
 3. The reviewers suggested that a central laboratory or other office facility be created to encourage
    graduate student interaction. There is a joint laboratory space available to students in the Idaho
    Museum of Natural History, and others on campus. Additional space may be procured based on the
    specific needs of enrolled students.
 4. The external reviewers strongly suggested that the proposed program not be housed in any one
    department of college, as such, and following the standard set but the Environmental Studies
    graduate program at the University of Idaho, this program will be housed in the Graduate School.
 5. Reviewers’ concerns regarding faculty workload concerns have been addressed through university
    and college workload policies. The Chairs and Deans have agreed to accommodate the program
    because the benefits of the program will be felt throughout the participating departments. The
    Faculty committee involved in coordinating the program will meet only 2-3 times per semester and
    these meetings will be considered part of a faculty member’s service requirement.
 6. The reviewers recognized that this sort of program is difficult when there are no dedicated Graduate
    Assistantships to attract and support the best students. The ISU Administration has committed five
    graduate assistantships to support the program.

b. Faculty

The proposed SED program is an interdisciplinary program drawing on faculty on full-time appointments in
departments across campus. This is a virtual department. Much like the Environmental Studies program at
the University of Idaho with over 90 faculty as members from different Colleges and Departments forming a
virtual program faculty, no ISU faculty will be assigned directly to the SED program. Workload for faculty
will be as follows:

  1. for most faculty at any one time, it will be 0 FTE.
  2. for any faculty who chooses to supervise as principle adviser, 5% of total per student.
  3. for any faculty who chooses to be part of a committee, 2% of total per student.

  But as in every graduate committee, the actual expectations will be determined by the needs of the
  student and the research project.

  Name              Department             Highest      Specialty                              Percent
                                           Degree                                              FTE for
                                                                                               Proposed
                                                                                               Program
  David             Anthropology           PhD          Archaeology, Metallurgy, Central       as needed
  Peterson                                              Asia
  John              Anthropology           PhD          Bioanthropology, Archaeology,          as needed
  Dudgeon                                               Chemistry, Polynesia
  Richard           Anthropology           PhD          Archaeology, Great Basin,              as needed
  Holmer                                                Materials, XRF
  Ernest Lohse      Anthropology           PhD          Archaeology, Informatics,              as needed
                                                        Paleoindian

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  Herbert         Anthropology          PhD   Archaeology, Biocomplexity,            as needed
  Maschner                                    Western North America, Museums
  Katherine       Anthropology          PhD   Anthropology, Development,             as needed
  Reedy-                                      Fisheries, Ecological
  Maschner                                    Anthropology, Alaska, Idaho
  Chris Loether   Anthropology          PhD   Linguistics, Western North             as needed
                                              America, Shoshone
  Elizabeth       Anthropology          PhD   Medical Anthropology, Latin            as needed
  Cartwright                                  America, Idaho
  Richard         Anthropology          PhD   Archaeology, Mesoamerica               as needed
  Hansen
  Patricia Dean   Anthropology          PhD   Archaeology, ceramics, Great Basin     as needed

  Paul Trawick    Anthropology          PhD   Water systems, ecology, land rights,   as needed
                                              agriculture
  Bruce Finney    Biological Sciences   PhD   Paleoecology, stable isotope           as needed
                                              biogeochemistry, climate change
  Rick Williams   Biological Sciences   PhD   Genetics and Evolutionary              as needed
                                              Ecology, Quantitative Genetics,
                                              Plant ecology
  Rosemary        Biological Sciences   PhD   Behavioral ecology, evolutionary       as needed
  Smith                                       biology, zoology
  Kathleen        Biological Sciences   PhD   Watershed biogeochemistry, soil        as needed
  Lohse                                       processes
  Pete Sheriden   Biological Sciences   PhD   Microbial Molecular Biology,           as needed
                                              Emerging Infectious Diseases
  Corey Schou     Business and          PhD   Informatics, databases, web design,    as needed
                  Computer Science            museums
  David Beard     Business and          PhD   Databases, data analysis               as needed
                  Computer Science
  Byron           Chemistry             PhD   Organic/Inorganic Synthesis            as needed
  Bennett
  Todd Davis      Chemistry             PhD   Organic Synthesis, Instrumental        as needed
                                              Analysis
  Karl De Jesus   Chemistry             PhD   Organic Synthesis                      as needed

  Caryn Evilia    Chemistry             PhD   Biochemistry, Protein Chemistry        as needed

  Lisa Goss       Chemistry             PhD    Physical Chemistry, Atmospheric       as needed
                                              and Radioisotope Chemistry
  R. W.           Chemistry             PhD    Mass Spectrometry, Organic and        as needed
  Holman                                      Computational Chemistry
  John Kalivas    Chemistry             PhD    Analytical Chemistry,                 as needed
                                              Chemometrics
  Joshua Pak      Chemistry             PhD    Organic/Inorganic Synthesis,          as needed
                                              Materials Science
  Rene            Chemistry             PhD    Physical Chemistry, Laser and         as needed
  Rodriguez                                   Chemical Vapor Deposition
  Jeffrey         Chemistry             PhD    Analytical Chemistry                  as needed
  Rosentreter
  Cindy Hill      Economics             PhD   Health Economics, Labor                as needed
                                              Economics, Environmental
                                              Economics, Economic Education
  Scott Benson    Economics             PhD   Forecasting, Macroeconomic             as needed
                                              Theory, International Economics

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  Glenn             Geosciences         PhD      Quaternary Geology, Climate             as needed
  Thackrey                                       Change
  Leif Tapanila     Geosciences         PhD      Paleontology                            as needed

  Daniel Ames       Geosciences         PhD      Hydrogeology, Geotechnologies,          as needed
                                                 Computer Modelling
  Paul Link         Geosciences         PhD      Historical Geography, Regional          as needed
                                                 Geology
  Ben Crosby        Geosciences         PhD      Geomorphology, Polar surface            as needed
                                                 processes, Climate Change
  Sarah             History             PhD      Historical Geography, GIS, spatial      as needed
  Hinman                                         methods,
  Jack Owens        History             PhD      Spanish Empire, Historical GIS,         as needed
                                                 Social Networks
  Kevin Marsh       History             PhD      United States - West, Idaho,            as needed
                                                 Environmental
  Laura             History             PhD      North American and Mountain             as needed
  Woodworth-                                     West, Women, Native Americans
  Ney
  Stephanie         History             PhD      Anglo-Norman England                    as needed
  Christelow
  Dewayne           Mathematics         PhD      Data analysis and statistical           as needed
  Derryberry                                     modeling
  Leonid Hanin      Mathematics         PhD      Mathematical modeling,
                                                 biostatistics
  Dan Dale          Physics             PhD      Medium-Energy & Applied                 as needed
                                                 Nuclear Physics
  Frank             Physics             PhD      Applied nuclear physics                 as needed
  Harmon
  Alan Hunt         Physics             PhD      Applied nuclear physics                 as needed

  Phil Cole         Physics             PhD      Medium-Energy & Applied                 as needed
                                                 Nuclear Physics
  Eddie Tartar      Physics             PhD      Nuclear physics                         as needed

  Tony Forest       Physics             Ph.D.    Intermediate Energy Experimental        as needed
                                                 Nuclear Physics
  Dustin            Physics             Ph.D.    Intermediate energy Experimental        as needed
  McNulty                                        Nuclear Physics
  Yoojung Kim       Physics             Ph. D.   Accelerator Physics                     as needed

  Steve             Physics             PhD      Physics education and teacher           as needed
  Shropshire                                     training
  Mark McBeth       Political Science   DA       Public Policy Analysis                  as needed

  Donna             Political Science   PhD      Environmental Politics & Policy         as needed
  Lybecker
  Robert Forbis     Political Science   PhD      Environmental Law & Regulation          as needed

  Juliet Carlisle   Political Science   PhD      Environmental and Energy Politics       as needed

  James             Political Science   PhD      State & Local Government, Water         as needed
  Newman                                         Resource Politics & Policy-
                                                 proposed

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  Gesine Hearn       Sociology               PhD,    Sociology of Health and Illness;        as needed
                                             RN      Medical Sociology; Qualitative
                                                     Research methods;
  Gregory            Sociology               PhD     Social Institutions, Social Theory      as needed
  Leavitt

  No new faculty are required to run the programs.




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       c.   Students matriculating into this program.

            The student who will matriculate into this program will be a student with a BS/BA and a
            MS/MA degree in hand from one or more of the participating fields or related disciplines.
            Many of these students will be professionals already employed by Federal and State agencies,
            by private industry, or by NGOs. Some of these students will be ongoing graduate students
            currently in MA/MS programs at ISU or elsewhere. A third group will be academically
            focused young scholars intrigued by the integrative approached offered by this form of
            program.

       d. Infrastructure support

  Staff Support: will be reassigned with existing staff based on current needs.

  Teaching Assistance: not needed.

  Graduate Students: We have already identified 13 students who will enter the program in the first
  year.

  Library: The library has sufficient resources to support the research needs of the program. Additional
  funds will be a reallocation from existing accounts.

  Equipment: All of the laboratories currently accessible to students in Physics, Chemistry,
  Anthropology, Geosciences, Biological Sciences, and in other areas will also be accessible to the
  students in this program per individual faculty supervision.

  Centers:
                o   Idaho Museum of Natural History and its laboratories and collections.
                o   Idaho Accelerator Center and its laboratories and equipment.
                o   Center for Archaeology, Materials, and Applied Spectroscopy and its suite of mass
                    spectrometers, scanning electron microscope, and other instruments.
                o   Informatics Research Institute and its computing and database facilities.
                o   GIS Training and Research Center and its instrumentation.

       e.   Future plans – discuss future plans for the expansion or off-campus delivery of the proposed
            program.

            We have no plans to offer this program online.




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  3.    Duplication

            In consultation with the University of Idaho, we have identified one thematic and research
            related program in the region. The Environmental Science Program, directed by Dr. Stephen
            Mulkey, is a virtual program much like the proposed program in Social and Environmental
            Dynamics, in that faculty from a suite of Departments participate in the curriculum. It is
            interdisciplinary and includes many of the research and education areas identified in this
            proposal. In consultation with Dr. Mulkey, and Dr. Margrit von Braun, former Dean of the
            College of Graduate Studies at the University of Idaho, we have recognized a number of
            areas of potential collaboration that will build on the strengths of each program, especially in
            regards to the research depth of the Natural Sciences programs at the University of Idaho
            and the interdisciplinary breadth of the Social Sciences programs at Idaho State University.
            Given our different strengths and emphases, we envision opportunities for research
            collaboration and the future exchange of students and scholars.

            It is well known that when a PhD student, one who already has a Master’s degree, chooses
            an institution for the PhD, that choice is almost never based on the University. Rather, a
            student chooses a PhD program for one of two primary reasons. The most common is an
            individual professor. Since this is a research degree, students seek out the particular faculty
            member, or group of faculty, who best represents their individual research interests. Second,
            a student chooses a university that is local; because for work, family, or other factors, the
            student cannot travel to another university. Thus, there is no opportunity for overlap because
            ISU will be drawing on a student population that is largely based in the southeast Idaho and
            thus, this constituency will not draw away from students who would normally attend the
            University of Idaho. Furthermore, the majority of students who come to this program will be
            coming to work with an individual faculty member, and until we have joint faculty between
            the universities, this creates no opportunity for competition. Serving a regional constituency
            while creating statewide research and educational collaborations will be a highlight of the
            proposed program.

  4.    Centrality

            The proposed program fits within Idaho State University's role as a Doctoral High Research
            university serving the needs of the region, State of Idaho, and western North America. It will
            support the SBOE's mission and policy through offering a broad, interdisciplinary degree
            that will train Idaho students in the fundamental skills and knowledge necessary to become
            superior researchers and scientists. The SED faculty has an unparalleled breadth of
            knowledge and research interests that will provide the SED Ph.D. student with a range of
            options in forming a core committee for research and education. Building on the core course
            sequence and a strong graduate committee, the incoming student, who will already have an
            MA or MS in one of the represented fields; may specialize in one or more of a variety of
            research areas by working with his/her advisor to create an individually tailored
            specialization area. Each student will create a Ph.D. committee that will include at least three
            different departments, ensuring the breadth necessary for such a program.

            A sub-group of this faculty directly supports ISU's SBOE mandated health mission. In fields
            ranging from rural health, social aspects of contaminants and environmental degradation,
            medical anthropology, biochemistry, mass spectrometry, paleo-epidemiology, and a suite of
            other topics, students will be encouraged to investigate health related research that has a
            strong human and landscape component - all areas that fall under the rubric of social
            dynamics and biocomplexity.




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     5.    Demand

     a.    The changing workforce needs of the State of Idaho and the western region of the United States
           dictate changing preparation for the professional worker. Positions in green and environmentally
           based industries are projected to increase within Idaho during the next five years. Idaho’s
           Department of Labor reports that the number one “Hot Industry” for 2008-2018 is the
           Professional, Scientific, and Technical Services, the sector where SED graduates could expect to
           work, which is expected to add nearly 11,000 positions, a 32.92% increase.4 In addition, Idaho’s
           green economy, another potential job market for SED graduates, is expected to grow
           dramatically. Idaho’s “greenest” industries are forecasted to add an additional 20,680 jobs, for an
           increase of 23%. Research and development in the Physical, Engineering and Life Sciences and
           administrative and general management green industry consulting positions—most of which
           require an advanced degree—are expected to add an additional 550 jobs in Idaho by 2018.
           Research and development professionals in green industry in Idaho earned $92,800 per position
           on average in 2010.5

           The initial assessment of the proposed Ph.D. program was a response to a number of INL staff
           who approached us seeking access to a Ph.D. program at ISU in the human-based sciences. At
           this point, a number of unstructured interviews were conducted by Dr. Maschner in order to
           assess local and regional demand. It took little effort to find over a dozen highly qualified
           prospective Ph.D. students in need of such a program. Further, recent successes in creating
           quality MS students funded through large external grants, and the recognition that those students
           would stay at ISU for the Ph.D. if a program existed, has spurred the creation of this proposal.




 4   Idaho Department of Labor, “Idaho Hot Industries and Hot Jobs, 2008-2018,” February 2011.
 5   Idaho Department of Labor, “Idaho Green Projections and Economic Impact, 2011,” pp. 3-4.
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 Demand for this program comes from three areas. The first is the Idaho National Laboratory, which
 has a number of scholars seeking terminal degrees in human-based sciences yet has no regional outlet
 for those researchers. We have identified two students from the INL that will enter the program upon
 its approval. The second source comes from the regional area, where we have identified another 9
 students who will apply when this program is in place to further their careers in the eastern Idaho
 region (this includes three students from the Fort Hall Reservation). But an important source of
 students will come from outside of Idaho as increased external grant production attracts quality
 graduate students to Idaho State University. We have MA/MS students currently in place working on
 major grants that would stay at ISU if we had such a program, but currently must leave ISU to seek
 terminal degrees. Since the program does not overlap with any other programs at ISU, we do not
 anticipate that students will switch from existing programs to this one. Over the long-term, the State
 of Idaho will need advanced graduates with the skills that this program will create. These graduates
 will be at the forefront for solving some of the State’s most pressing problems.


       b. Students. We have identified 11 students in eastern Idaho who will apply to this program
          when it is implemented. All are considered new enrollment. The highest demand will come
          from the INL, Federal agencies such as the BLM and Forest Service, Ft. Hall Reservation,
          private contractors and environmental firms, and students who for various reasons cannot
          leave SE Idaho.

          c. Expansion or extension. Not applicable.




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  6. Resources – fiscal impact and budget

  I.    PLANNED STUDENT ENROLLMENT

                                             FY   13                               FY    14                              FY   15

                                     FTE          Headcount                 FTE              Headcount              FTE        Headcount

       A. New enrollments            11           11                        18           18                         26        26

       B. Shifting enrollments       0            0                         0            0                          0         0


  BUDGET                                                 2013       2014            2015       Three Year Total
  Work Study office assistant, 15 hours/week,
                                                        $4,160     $4,160               $0                 $8,320
  $10 per hour. $4.00 / hr cost to program.
  benefits @ 8.9%                                         $370       $370              $0                    $740
  .5 Office Specialist 1**                                  $0         $0          $9,000                  $9,000
  benefits @ 40%                                            $0         $0          $3,600                  $3,600
  Office operating (from Academic Affairs)              $2,000     $2,000          $2,000                  $6,000
  Library (from Museum allocation)                      $1,500     $1,500          $1,500                  $4,500
  GRAND TOTAL                                           $8,030     $8,030         $16,100                 $32,160


  PROJECTED TUITION REVENUE                              2013       2014            2015       Three Year Total
  In State Students Full Time ($3924 /
                                                           11         16                22                    49
  semester)
  In State Revenue ($7848 each)                        $86,328   $125,568        $172,656                $384,552
  Out of State Students ($9174 / semester)                   0          2               4                       6
  Out of State Revenue ($18348 each)                        $0    $36,696         $73,392                $110,088
  TOTAL                                                $86,328   $162,264        $246,048                $494,640


  PROJECTED DIRECT PROGRAM
                                                         2013       2014            2015       Three Year Total
  REVENUE
  Students Full Time                                       11         18              26                      55
  Project Annual Credit Hours                             198        324             468                     990


   We have identified 11 students who will apply to the program in the first year.
   **Graduate assistant support will be provided to the program from existing GA
   resources. If warranted by enrollment, additional office support will be provided
   from reallocation during 2015.




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  II.        EXPENDITURES
                                                FY    2013                     FY    2014                        FY    2015

                                          FTE               Cost         FTE                  Cost         FTE                  Cost

        A. Personnel Costs

           1. Faculty                            0                  0      0                      0        0                0

           2. Administrators                     0                  0      0                      0        0                0

           3. Adjunct faculty                    0                 0       0                  0            0            0

           4. Graduate/instructional             5               65000     5              65000            5           65000
              assistants(based on $12524.80)

           5. Research personnel                 0                 0       0                  0            0            0

           6. Support personnel                  0                  0      0                      0        .5           9000

           7. Fringe benefits                    0                 370     0                  370          0            3600

           8. Other: workstudy                   .5               4160    .5                  4160         0                0

             Total FTE Personnel
             And Costs;                          .5              69530    .5               69530           .5         77600

                                                     FY    2013                     FY    2014                    FY     2015

        B. Operating expenditures

           1. Travel                                       0                              0                                 0

           2. Professional services                        0                              0                              0

           3. Other services                               0                              0                                 0

           4. Communications                              500                            500                            500

           5. Utilities                                    0                              0                              0

           6. Materials & supplies                        1000                           1000                           1000

           7. Rentals                                      0                              0                                 0

           8. Repairs & maintenance                        0                              0                                 0

           9. Materials & goods for
              manufacture & resale                         0                              0                                 0

         10. Miscellaneous                                 0                              0                              0

              Total Operating
              Expenditures:                               1500                           1500                           1500




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                                                  FY 2013                          FY     2014                      FY       2015

       C. Capital Outlay

           1. Library resources                        1500                             1500                             1500

           2. Equipment                                500                              500                              500

              Total Capital Outlay:                    2000                             2000                             2000

       D. Physical facilities
          Construction or major
          Renovation                                       0                             0                                   0

       E. Indirect costs (overhead)                        0                             0                                   0

           GRAND TOTAL
           EXPENDITURES:                               73030                            73030                            81100

  III. REVENUES
                                                  FY       2013                    FY     2014                      FY       2015

       A. Source of funds

           1. Appropriated funds --                        0                             0                                   0
              Reallocation – MCO
                                                           0                             0                                   0
           2. Appropriated funds --
              New – MCO                                    0                             0                                   0

           3. Federal funds                                0                             0                                   0

           4. Other grants                                 0                             0                                   0

           5. Fees                                         0                             0                                   0

           6. Other:                                       0                             0                                   0

              GRANT TOTAL
              REVENUES:                                0                             0                                   0


                                                  FY 2013                          FY     2014                      FY       2015

       B. Nature of Funds

           1. Recurring*                                   73030                         73030                               81100

           2. Non-recurring**                              0                             0                                   0

              GRANT TOTAL
              REVENUES:                                73030                            73030                            81100

       *     Recurring is defined as ongoing operating budget for the program which will become part of the base.
       ** Non-recurring is defined as one-time funding in a fiscal year and not part of the base.




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       a.    Faculty and Staff Expenditures

             Project for the first three years of the program, the credit hours to be generated by each faculty
             member (full-time and part-time), graduate assistant, and other instructional personnel. Also indicate
             salaries. After total student credit hours, convert to an FTE student basis. Please provide totals for
             each of the three years presented. Salaries and FTE students should reflect amounts shown on budget
             schedule.

                                                                         FTE                               Projected
             Name,                                Annual               Assignment             Program       Student
             Position,                            Salary                to this               Salary         Credit
                                                   FTE
             And Rank                              Rate                 Program               Dollars            Hours
                                                 Students

            As this is a virtual department with a faculty already positioned within their home
            departments, all faculty will be teaching regular courses in their home departments in which
            SED students may be participating. The two courses required for all SED students will be
            taught by at least six faculty a year each participating at the level of 1.0 or less credit per year
            as negotiated with their individual department Chairs and Deans.

            Project the need and cost for support personnel and any other personnel expenditures for the first
            three years of the program.

            Support will be provided with work study, internship, and graduate assistant funding.




       b.    Administrative Expenditures

             Describe the proposed administrative structure necessary to ensure program success and the cost of
             that support. Include a statement concerning the involvement of other departments, colleges, or
             other institutions and the estimated cost of their involvement in the proposed program.


             Name,                   Annual                 FTE Assignment         Program      Percent of
             Position,               Salary                  to this                Salary      Salary Dollars
             And Rank                Rate                     Program               Dollars     to Program

             The SED program will have a Director who will be responsible for administrating the
             program. The Director, as in any program, works with an Administrative Assistant to
             Chair meetings of the program committee, coordinate review of applications, and other
             normal duties associated with degree programs. Each college Dean has committed to a
             two course release for the administrator should that administrator be from their college.
             The Director will be supported by a SED committee made up of representatives from the
             participating departments. The Director position will rotate among the colleges. This will
             be a .3 FTE Director position.

             The administration at ISU has committed five graduate assistantships to support the
             program.


       c.   Operating Expenditures (travel, professional services, etc.) Briefly explain the need and cost for
            operating expenditures.

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            Modest budgets for communications and materials have been included to cover minor
            administrative needs of the program.


       d.   Capital Outlay

            (1) Library resources




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 (a) Evaluate library resources, including personnel and space. Are they adequate for the operation of
 the present program? If not, explain the action necessary to ensure program success.

                The library resources are adequate.

                (b) Indicate the costs for the proposed program including personnel, space, equipment,
                    monographs, journals, and materials required for the program.

                $1500 from the IMNH library allocation will support the program
                from journals.


                (c) For off-campus programs, clearly indicate how the library resources are to be provided.

                Not applicable.

            (2) Equipment/Instruments

                Describe he need for any laboratory instruments, computer(s), or other equipment. List
                equipment, which is presently available and any equipment (and cost) which must be obtained to
                support the proposed program.

                Dozens of instruments in the Departments of Chemistry, Physics, Biological Sciences,
                Geosciences, Anthropology, and the various participating centers provide all necessary
                instruments to support the proposed program. A small equipment budget has been
                included to address graduate support and/or work study needs.

       e.   Revenue Sources

            (1) If funding is to come from the reallocation of existing state appropriated funds, please indicate
                the sources of the reallocation. What impact will the reallocation of funds in support of the
                program have on other programs?

                There will be no impact on other programs.

            (2) If an above Maintenance of Current Operations (MCO) appropriation is required to fund the
                program, indicate when the institution plans to include the program in the legislative budget
                request.

                None required.

            (2) Describe the federal grant, other grant(s), special fee arrangements, or contract(s) to fund the
                program. What does the institution propose to do with the program upon termination of those
                funds?

                Not applicable.




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  Appendix 1: Courses Available to SED Students.

  ANTH 5501 History and Theory of Socio-cultural Anthropology 3 credits. Survey of the development of anthropology, various
  schools of thought, important personalities, and concepts that have contributed to anthropology over time. PREREQ: PERMISSION
  OF INSTRUCTOR.

  ANTH 5502 Ecological Anthropology 3 credits. Interaction of human bio-cultural systems and environment. Relations of natural
  resources, technological inventories, social organization, cultural categories. Native resource management practices. PREREQ:
  PERMISSION OF INSTRUCTOR.

  ANTH 5503 Method and Theory in Archaeology 3 credits. History of the development of current methods and theory in
  archaeology and contemporary applications. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5504 Material Culture Analysis 3 credits. Method and analyses used in archaeology and anthropology to understand the
  relationship between objects and culture. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5505 Analytical Techniques Laboratory 1 credit. Analytical techniques laboratory to accompany ANTH 5504. Students
  will complete an assigned project in material culture analysis. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5506 American Indian Health Issues 3 credits. An overview of health concerns, both current and past, of American Indian
  people, and the biological and sociocultural factors which influence health status. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5507 Anthropology of Global Health 3 credits. How cultures define health and illness, and how these definitions ultimately
  influence the health status of individuals. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5508 Special Topics in Medical Anthropology 3 credits. Rotating topics, including international health issues, ethno-
  psychiatry, ethno-medicine and non-western healing systems. May be repeated for a maximum of 6 credits. PREREQ: PERMISSION
  OF INSTRUCTOR.

  ANTH 5509 Clinical Medical Anthropology 3 credits. Explores the culture of biomedicine and the beliefs of patients. Topics
  include doctor/patient communication, cultural competency, cultural construction of risk, critiques of high-tech medicine and the
  international pharmaceutical industry.

  ANTH 5510 Introduction to Cultural Resources Management 3 credits. Introduction to CRM reviewing historic preservation and
  federal legislation as they pertain to archaeology; practical experience in site survey and recording. PREREQ: PERMISSION OF -
  INSTRUCTOR.

  ANTH 5513 Old World Archaeology 3 credits. Prehistory of the Old World. Precise areal focus and periods may vary. Includes
  both theory and exposition. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5514 New World Archaeology 3 credits. Examination of the prehistory of the Americas with emphasis on the North
  American Continent. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5530 Human Origins and Diversity 3 credits. Examines human origins, adaptations and biological diversity within the
  context of evolutionary processes. Primate lineage will be investigated. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5532 Human Osteology 3 credits. Provides a working knowledge of skeletal anatomy, primarily focusing on identification of
  individual bones. Other topics include: osteogenesis, pathologies and applications of knowledge and technique. PREREQ:
  PERMISSION OF INSTRUCTOR.

  ANTH 5539 Principles of Taphonomy 3 credits. Effects of processes which modify organisms between death and the time the
  usually fossilized remains are studied. Emphasis on vertebrates. Cross-listed with BIOL 5539 and GEOL 5539. PREREQ:
  PERMISSION OF INSTRUCTOR.

  ANTH 5549 Methods and Techniques of Ethnographic Field Research 3 credits. Participant observation, field notes, data types,
  analytical procedures, interviewing skills, oral history, report writing. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5550 Introduction to Sociolinguistics 3 credits. Study of the patterned covariation of language and society, social dialects
  and social styles in language; problems of bilingualism, multilingualism, creoles and language uses. Cross-listed as ENGL 5588.
  PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5555 Introduction to Phonetics 3 credits. Introduction to descriptive linguistics focusing on phonetics and phonetic
  phenomena of English and the other languages of the world. Extensive practice in perception and production of such phenomena.
  Cross-listed as LANG 5555.

  ANTH 5556 Introduction to Phonology and Morphology 3 credits. Phonological theory and analysis; current theories in
  morphology. Phonological rules, representations, underlying forms, derivation, justification of phonological analyses; morphological
  structure, derivational and inflectional morphology; relation of morphology to phonology. Cross-listed as LANG 5556.




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  ANTH 5558 Historical Linguistics 3 credits. The methods and theories of the historical study of language. The comparative method,
  internal reconstruction, linguistic change over time, genetic typology of languages, and applications to prehistory.

  ANTH 5559 Linguistic Field Methods 3 credits. Practical experience in linguistic analysis of a language using data elicited from a
  native speaker. May be repeated up to 6 credits. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5563 Applied Statistics in Anthropology 3 credits. Practical applications of commonly used statistical analyses in
  anthropology. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5564 Advanced Analytical Methods in Anthropology 3 credits. Examination and practical experience in applying advanced
  quantitative and qualitative methods and analyses in anthropological research.

  ANTH 5572 Native American Arts 3 credits. Survey of Native American arts and industries, including prehistoric, ethnographic,
  and contemporary venues. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5574 Special Topics in Indian Education 3 credits. Rotating review of topics dealing with issues in Indian education.
  Consult current schedule of classes for exact course being taught. May be repeated.

  ANTH 5578 Federal Indian Law 3 credits. Examination of tribal governments; their relationship with the federal government;
  sovereignty, jurisdictional conflicts over land
  and resources; and economic development. Cross-listed as POLS 5578.

  ANTH 5579 Tribal Governments 3 credits. Complex legal position of Indian tribes as self-governing entities; principles of inherent
  powers; governmental organization, lawmaking, justice, relation to state and federal government. Cross-listed as POLS 5579.

  ANTH 5580 Varieties of American English 3 credits. In-depth study of various dialects of American English, including historical
  evolution of different dialects, effects of migration on dialects, and influences of non-English immigrant languages on development of
  American English. Field work studying the Snake River dialects of Idaho. Cross-listed as ENGL 5580.

  ANTH 5581 Specializations in Anthropology 3 credits. Rotating specialized topics such as applied anthropology, proxemics,
  ethnology, religion, international development. See current class schedule for titles. May be repeated up to 6 credits. PREREQ:
  PERMISSION OF INSTRUCTOR.

  ANTH 5582 Independent Problems in Anthropology 1-3 credits. Investigation of an anthropological problem chosen by the student
  and approved by the staff. May be repeated up to 6 credits.

  ANTH 5583 Field Research 3 credits. Practical experience in field research. May be repeated for up to 6 credits. PREREQ:
  PERMISSION OF INSTRUCTOR.

  ANTH 5585 Anthropology of War and Violence 3 credits. Survey of war and violence from evolutionary foundations through
  modern representations. The course covers violence and war among chimpanzees, the genetics and biochemistry of violence, the role
  of evolution in making humans aggressive, and the history and ethnography of violent conflict around the world.

  ANTH 5586 Archaeology Field School 1-9 credits. Practical field and laboratory training in archaeological excavation techniques
  and methods of analysis. May be repeated to a total of 9 credits. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5587 Ethnographic Field School 1-6 credits. Supervised fieldwork in cultural anthropology in a given ethnographic setting
  where students and faculty work on a specific set of field problems. May be repeated to a total of 6 credits. PREREQ: PERMISSION
  OF INSTRUCTOR.

  ANTH 5591 Archaeology Laboratory Analysis 3 credits. Directed analysis of archaeological remains and report writing. May be
  repeated up to 6 credits. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5594 Visual Anthropology 3 credits. Documentary and ethnographic filmmaking techniques including story structure,
  interviewing, audio and lighting, camera handling, composition, POV, and editing. Anthropological critiques of visual representation.
  Students create their own short film for a final project. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 5595 Department Colloquium 1 credit. Presentations of current research issues in Anthropology by faculty and students.
  May be repeated.

  ANTH 5597 Professional Education Development Topics. Variable credit. A course for practicing professionals aimed at the
  development and improvement of skills. May not be applied to graduate degrees. May be repeated. May be graded S/U.

  ANTH 6605 Seminar in Linguistic Anthropology 3 credits. Discussion of theories, methods, and results in linguistic anthropology.
  PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 6610 Seminar in Medical Anthropology 3 credits. Discussion of current topics within the various specializations of medical
  anthropology. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 6615 Seminar in Biological Anthropology 3 credits. Discussion of theories, methods, and results in biological anthropology.




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  PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 6625 Seminar in Sociocultural Anthropology 3 credits. Discussions of theories, methods, and results in sociocultural
  anthropology. PREREQ: PERMISSION OF INSTRUCTOR.

  ANTH 6635 Seminar in Archaeology 3 credits. Studies in current theories, methods, and results in archaeological anthropology.
  PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 5504 Plant Physiology 4 credits. Study of plant physiological processes including water relations, mineral nutrition, -
  photosynthesis, respiration, translocation of photosynthate, secondary compounds and phytohormones. PREREQ: BIOL 1101 AND
  BIOL 1102, AND ONE YEAR OF COLLEGE CHEMISTRY.

  BIOL 5505 Plant Form and Function 3 credits. Integrated studies of anatomical and physiological adaptations of plants to their
  natural environment. Data collection and analysis will be emphasized. PREREQ: BIOL 102 OR BIOL 2203. COREQ: BIOL 5505L.

  BIOL 5505L Plant Form and Function Lab 0 credits. Assignments to apply principles from BIOL 5505. COREQ: BIOL 5505.

  BIOL 5506 Plant Diversity and Evolution 4 credits. Study of the reproduction, structure, development, evolution, and classification
  of the fungi, algae, bryophytes, and vascular plants. Lectures, laboratories. PREREQ: BIOL 1101 AND BIOL 1102. COREQ: BIOL
  5506L.

  BIOL 5506L Plant Diversity and Evolution 0 credits. Assignments to apply principles from BIOL 5506. COREQ: BIOL 5506

  BIOL 5508 Plant Ecology 3 credits. Major factors limiting plant growth and distribution with emphasis on adaptation and response
  at the individual, population, and community levels. PREREQ: BIOL 1101 AND BIOL 1102. COREQ: BIOL 5508L.

  BIOL 5508L Plant Ecology Lab 0 credits. Assignments to apply principles from BIOL 5508. COREQ: BIOL 5508.

  BIOL 5512 Systematic Botany 4 credits. Study of classification and evolution of flowering plants; techniques of phylogeny
  reconstruction based on molecular and morphological characters. Collection/identification of local flora. Field trips. PREREQ: BIOL
  1101 AND BIOL 1102. COREQ: BIOL 5512L.

  BIOL 5512 Systematic Botany Lab 0 credits. Assignments to apply principles from BIOL 5512. COREQ: BIOL 5512.

  BIOL 5515 Human Neurobiology 4 credits. Cellular-to-organismal structure and function of the human central nervous system
  (CNS), and CNS pathologies. PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 5515L Human Neurobiology Lab 1 credit. Detailed examination of the gross anatomy and pathways of the human central
  nervous system. PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 5516 Population/Community Ecology 4 credits. Introduces quantitative analysis of populations and communities,
  emphasizing demography, distribution, abundance, spatial and temporal dynamics, biodiversity, coexistence, and applications to
  conservation and land use decision-making. Includes data collection and analysis. PREREQ: BIOL 2209. COREQ: BIOL 5516L.

  BIOL 5516L 0 credits. Assignments to apply principles from BIOL 5516. COREQ: BIOL 5516.

  BIOL 5517 Organic Evolution 3 credits. An integrated study of evolution as a unifying concept in biology. An examination of
  patterns and processes that affect the origin and diversification of species through time. PREREQ: BIOL 3358.

  BIOL 5518 Ecological Topics 1 credit. Flexible use of seminars, lectures, and laboratory/field work dealing with current issues in
  ecology. Topic/emphasis varies. May be repeated until a maximum of 3 credits is earned. PREREQ: BIOL 2209 OR PERMISSION
  OF INSTRUCTOR.

  BIOL 5519 Mammalian Histology 4 credits. Study of human animal tissues, including structural and functional characteristics of
  tissues and organs. PREREQ: BIOL 2206, BIOL 2207, OR BIOL 3303 OR BIOL 3301 AND BIOL 3302. COREQ: BIOL 5519L.

  BIOL 5519L Mammalian Histology 0 credits. Assignments to apply principles from BIOL 5519. COREQ: BIOL 5519.

  BIOL 5520 Musculo-Skeletal Anatomy 2 credits. Study of human body structure emphasizing muscular system and its relationship
  to axial and appendicular skeleton. Focus on extremities, thorax, and pelvis with applications toward normal, diseased and
  rehabilitative functions. PREREQ: BIOL 3301 AND BIOL 3302.

  BIOL 5523 General Parasitology 3 credits. Study of the parasitic symBIOLes of animals, plants and other organisms focusing on
  concepts, principles, and consequences of such interactions and the coevolutionary processes by which they are created. PREREQ:
  BIOL 1101 AND BIOL 1102.

  BIOL 5526 Herpetology 3 credits. The biology of amphibians and reptiles: lecture topics include evolutionary history, functional
  morphology, physiological ecology, biogeography, reproductive, and population ecology. Laboratories and field trips cover
  systematic, natural history, and collecting/sampling techniques. PREREQ: BIOL 2209. COREQ: BIOL 5526L.




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  BIOL 5526L Herpetology 0 credits. Assignments to apply principles from BIOL 5526. COREQ: BIOL 5526.

  BIOL 5527 Ichthyology 3 credits. The biology of fishes; lecture topics include evolutionary history, functional morphology,
  physiological ecology, and biogeography. Laboratory and weekend field trips cover identification, life history and collecting
  techniques. Emphasis on Idaho species. PREREQ: BIOL 2209. COREQ: BIOL 5527L.

  BIOL 5527L Ichthyology Lab 0 Credits. Assignments to apply principles from BIOL 5527. COREQ: BIOL 5527.

  BIOL 5531 General Entomology 3 credits. Study of structure, development, classification, and life histories of insects, including
  ecological, economic and management considerations. An insect collection may be required. Field trips. PREREQ: BIOL 101 AND
  BIOL 102. COREQ: BIOL 5531L.

  BIOL 5531L General Entomology Lab 0 credits. Assignments to apply principles from BIOL 5531. COREQ: BIOL 5531.

  BIOL 5532 Biochemistry 3 credits. Comprehensive discussion/presentation of structure, function and metabolism of biological
  macromolecules and their constituents, including energetics, regulation, and molecular biology, with emphasis on critical analysis of
  biochemical issues PREREQ: Organic Chemistry or Introduction to Biology OR PERMISSION OF INSTRUCTOR.

  BIOL 5533 Microbial Physiology 3 credits. Comparative physiology of microorganisms, including structure//function, metabolic
  diversity, enzyme mechanisms of microbial metabolism, and physiology of extreme organisms. Lectures, Class Exercises. PREREQ:
  Microbiology OR PERMISSION OF INSTRUCTOR. COREQ: BIOL 5533L.

  BIOL 5533L Microbial Physiology Lab 1 credit. Laboratory exercises in comparative physiology of microorganisms. COREQ:
  BIOL 5533.

  BIOL 5534 Microbial Diversity 3 credits. Enrichment, cultivation, and isolation of prokaryotes from various metabolic groups and
  environments. Microorganisms will be identified using classical microbial techniques and modern molecular methodologies.
  PREREQ: Microbiology and BIOL 5533 OR PERMISSION OF INSTRUCTOR. COREQ: BIOL 5534L.

  BIOL 5534L Microbial Diversity Lab 1 credit. Enrichment, cultivation and isolation of prokaryotes from various metabolic groups
  and environments. COREQ: BIOL 5534.

  BIOL 5535 Vertebrate Paleontology 4 credits. Phylogenetic history of the vertebrates outlined in the light of morphology,
  classification, evolution, paleoecology, and the significance of fossils. Field trips. Cross-listed as GEOL 5535. PREREQ: GEOL 5531
  OR BIOL 3314 OR EQUIVALENT.

  BIOL 5538 Ornithology 3 credits. Study of the origin, evolution, structure, habits, adaptations, distribution, and classification of
  birds. Field trips. PREREQ: BIOL 1101 AND BIOL 1102.

  BIOL 5539 Principles of Taphonomy 3 credits. Effects of processes which modify organisms between death and the time the
  usually fossilized remains are studied. Emphasis on vertebrates. Cross-listed with ANTH 5539 and GEOL 5539. PREREQ:
  PERMISSION OF INSTRUCTOR.

  BIOL 5540 Human Gross Anatomy 4 credits. Comprehensive regional study of gross human anatomy with emphasis on the upper
  limb, thorax, abdomen, pelvis and perineum. Designed for the first year dental students and complements BIOL 5550. Lecture and -
  laboratory. COREQ: BIOL 5540L.

  BIOL 5540L Human Gross Anatomy 0 credits. Assignments to apply principles from BIOL 5540. COREQ: BIOL 5540.

  BIOL 5541 Mammalogy 3 credits. General study of mammals including classification, identification, habits, ecology, economics,
  and techniques of study, with emphasis on North American forms. Field trips. PREREQ: BIOL 2209. COREQ: BIOL 5541L.

  BIOL 5541L Mammalogy Lab 0 credits. Assignments to apply principles from BIOL 5541. COREQ: 5541.

  BIOL 5542 Plant and Animal Interactions 3 credits. Coevolution of plant and animal form and function
  emphasizing pollination, herbivory, parasitism, frugivory/seed dispersal, and optimal foraging.

  BIOL 5543 Endocrinology 3 credits. Study of the anatomy and physiology of the ductless glands and the properties and uses of
  natural and synthetic hormones. PREREQ: BIOL 3303.

  BIOL 5545 Biochemistry I 3 credits. Introduction to basic aspects of biochemical systems, including fundamental chemical and
  physical properties of biomolecules. Enzymology including allosterism, metabolic regulation, bioenergetics, and carbohydrate
  metabolism. PREREQ: Introduction to Biology and Organic Chemistry OR PERMISSION OF INSTRUCTOR.

  BIOL 5546 Selected Topics in Physiology 1 credit. Selected topics in physiology for dental students: blood coagulation-
  complement-kinin systems, prostaglandin and related substances, vitamins, steroids, mucopolysaccharides, collagen and other
  extracellular matrix molecules and cyto-and molecular genetics.

  BIOL 5547 Biochemistry II 3 credits. Functional continuation of 5545. Lipid, amino acid and nucleotide metabolism. Emphasis is




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  on metabolic regulation, metabolic dysfunction, biochemical mechanism of hormone action, biochemical genetics, protein synthesis,
  and metabolic consequences of genetic defects. PREREQ: BIOL/CHEM 5545.

  BIOL 5548 Advanced Experimental Biochemistry 2 credits. Advanced laboratory projects designed to emphasize techniques of
  qualitative and quantitative biochemical analysis. PREREQ: BIOL 5537/CHEM 5538. COREQ: BIOL/CHEM 5547.

  BIOL 5549 Human Physiology I 4 credits. First of a two-course sequence. Physiology of the nervous, muscular, circulatory,
  respiratory, and excretory systems. PREREQ: BIOL 2202; CHEM 1111, CHEM L1111, CHEM 1112, CHEM L1112; COREQ: BIOL
  5525.

  BIOL 5551 Immunology 3 credits. Fundamental concepts of antibody-mediated and cell-mediated mechanisms of immunity. In-vivo
  and in-vitro antigen-antibody interactions are discussed. PREREQ: Microbiology OR PERMISSION OF INSTRUCTOR.

  BIOL 5551L Immunology Laboratory 1 credit. Selected laboratory experiments to accompany BIOL 5551 Immunology. PREREQ
  OR COREQ: BIOL 5551. OPEN TO NON-MAJORS BY SPECIAL PERMISSION.

  BIOL 5554 Advanced Immunology 3 credits. Detailed study of selected areas of immunobiology. Course content will vary with
  current demand. Students will lead discussions and present current literature. PREREQ: BIOL 5551 AND PERMISSION OF
  INSTRUCTOR. COREQ: BIOL 5554L.

  BIOL 5555 Pathogenic Microbiology 3 credits. How the medically important bacteria, viruses and fungi interact with the host to
  produce disease, including microbe characteristics, pathogenesis, pathological processes, prevention, and treatment methods.
  PREREQ: Microbiology OR PERMISSION OF INSTRUCTOR.

  BIOL 5555L Pathogenic Microbiology Laboratory 2 credits. Will emphasize procedures for the isolation and identification of
  pathogenic bacteria. Clinical specimens will be provided for use in identification of unknowns. PREREQ OR COREQ: BIOL 5555.

  BIOL 5556 Human Physiology II 4 credits. Physiology of gastrointestinal, endocrine, and reproductive systems. Includes studies of
  acid-base balance, peripheral circulation, shock, and temperature regulation. PREREQ: BIOL 5549 OR EQUIVALENT.

  BIOL 5559 Fish Ecology 3 credits. Study of the behavior, habitat use, population dynamics, and management of freshwater fishes,
  especially salmon and trout. Laboratory and weekend field trips emphasize sampling techniques and data analysis. PREREQ: BIOL
  2209, BIOL 3315, BIOL 5527.

  BIOL 5559L Fish Ecology Lab 0 credits. Assignments to apply principles from BIOL 5559.

  BIOL 5560 Neuroscience 4 credits. Comprehensive presentation of the anatomy of the central nervous system, the brain and spinal
  cord. Combined lecture and laboratory demonstration. PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 5560L Neuroscience Lab 1 credits. Detailed examination of the gross anatomy and pathways of the human central nervous
  system. PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 5561 Advanced Genetics 3 credits. Detailed and critical consideration of selected genetic topics with emphasis on recent
  advances. PREREQ: Genetics AND PERMISSION OF INSTRUCTOR.

  BIOL 5562 Freshwater Ecology 3 credits. Study of the interaction of physical and biotic factors in aquatic communities. Field trips.
  PREREQ: BIOL 2209. COREQ: BIOL 5562L.

  BIOL 5563 Human Pathophysiology 4 credits. The study of basic processes underlying diseases with an emphasis on correlating
  anatomical, functional, and biochemical alterations with clinical manifestations. Laboratory required. PREREQ: BIOL 3301 AND
  BIOL 3302, OR PERMISSION OF INSTRUCTOR. COREQ: BIOL 5563L.

  BIOL 5563L Human Pathophysiology 0 credits. Assignments to apply principles from BIOL 5563. COREQ: BIOL 5563.

  BIOL 5564 Lectures in Human Physiology 4 credits. Physiology of the nervous, muscular, circulatory, respiratory, and excretory
  systems. PREREQ: BIOL 3301, BIOL 3302, AND ONE YEAR OF COLLEGE CHEMISTRY.

  BIOL 5569 Special Topics in Microbiology 1-4 credits. Study of selected topics in microbiology. Course contents will vary with
  topics selected. May be repeated with departmental approval for non-repetitive course content. PREREQ: PERMISSION OF
  INSTRUCTOR.

  BIOL 5573 Applied and Environmental Microbiology 3 credits. Concepts in applied microbiology and microbial ecology,
  including fermentation, biotechnology, and ecophysiology. COREQ: BIOL 5573L.

  BIOL 5575 General Virology 3 credits. Introduction to the general principles of virology through consideration of structure,
  genetics, replication and biochemistry of animal and bacterial viruses. PREREQ: COMPLETION OF 90 CREDITS.

  BIOL 5576 Ecology of Water Pollution 3 credits. Study of the causes of pollution and their effects on the aquatic environment and
  its inhabitants. Special consideration will be given to the biological and chemical assessment of pollution in streams and to its control.
  Field work. PREREQ: BIOL 5562 OR PERMISSION OF DEPARTMENT. COREQ: BIOL 5576L.




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  BIOL 5576L Ecology of Water Pollution Lab 0 credits. Assignments to apply principles from BIOL 5576. COREQ: BIOL 5576.

  BIOL 5581-5582 Independent Problems 1-4 credits. Individual problems will be assigned to students on the basis of interest and
  previous preparation. May be repeated. PREREQ: A MINIMUM OF TWO COURSES IN BIOLOGICAL SCIENCES AND
  PERMISSION OF INSTRUCTOR.

  BIOL 5586 Human Systemic Physiology 5 credits. One semester human physiology course emphasizing the function and regulation
  of the muscular, skeletal, circulatory, respiratory, urinary, reproductive, and immune systems. PREREQ: CHEM 1111, CHEM L1111,
  CHEM 1112, CHEM L1112; BIOL 3301 AND BIOL 3302 OR EQUIVALENT. COREQ: BIOL 5586L.

  BIOL 5586L Human Systemic Physiology 0 credits. Assignments to apply principles from BIOL 5586. COREQ: BIOL 5586.

  BIOL 5588 Advanced Radiobiology 3 credits. An advanced-level class covering aspects of molecular radiobiology, teratogenesis, -
  oncogenesis, and acute radiation illnesses. It also considers nonstochastic radiation effects and the epidemiology of radiation
  exposures. Cross-listed as PHYS 5588. PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 5589 Field Ecology 3 credits. An intensive field of study of at least one biogeographical region to increase students’
  knowledge of and skill with field sampling techniques, field-study design, data collection and analysis, and report preparation.
  PREREQ: BIOL 2209.

  BIOL 5595 Ethology 3 credits. Behavior of animals and the evolutionary mechanisms that dictate behavioral patterns. PREREQ:
  UPPER DIVISION OR GRADUATE STATUS.

  BIOL 5521 Ecological Concepts 3 credits. Major concepts in ecology in relation to environmental degradation, pollution, hazardous
  materials, and environmental management. Credit may not be used for a graduate degree in biology.

  BIOL 6601 Animal Behavior 3 credits. Behavior and social organization of animals with particular attention to the vertebrates.
  Lecture, laboratory, and field work. PREREQ: GRADUATE STANDING AND PERMISSION OF DEPARTMENT.

  BIOL 6602 Advanced Plant Physiology 3 credits. Study of interrelationships of soil, water, and minerals in the nutrition of plants.
  PREREQ: BIOL 5504.

  BIOL 6603 Comparative Physiology 3 credits. Study of the ways in which organisms meet their functional requirements. Lecture
  and laboratory. PREREQ: GRADUATE STANDING AND PERMISSION OF DEPARTMENT.

  BIOL 6604 Advanced Limnology: Streams and Biotic Production 3 credits. Study of the ecology of streams; chemical, physical,
  and geological aspects in relation to biota. The production of organic matter in flowing water is emphasized, including the tracing of
  food chains and food webs and the construction of energy budgets. Field trips. PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 6605 Biometry 4 credits. Application of descriptive and analytical statistical methods to experimental design and biological
  research. PREREQ: MATH 1143 OR EQUIVALENT OR PERMISSION OF INSTRUCTOR.

  BIOL 6606 Scientific Writing 3 credits. Review of basic principles of grammar, organization, style, and persuasive argument as
  applied to specific areas of scientific writing. Each student will write proposals, technical reports and review manuscripts, and reviews
  of proposals and manuscripts.

  BIOL 6607 Environmental Physiology 3 credits. Study of the physiological mechanisms and interrelated behavioral patterns by
  which animals respond to environmental factors. PREREQ: GRADUATE STANDING AND PERMISSION OF INSTRUCTOR.

  BIOL 6610 Principles of Molecular Biology 3 credits. Introduction to subcellular biology and molecular genetics. DNA replication,
  cell division, the genetic code, transcription, translation, enzyme function, and control mechanisms in procaryotic and eucaryotic cells.
  PREREQ OR COREQ: BIOL 5532.

  BIOL 6613 Biogeography 3 credits. Discussion of patterns of distribution of species and their historical and ecological causes.
  Includes research project.

  BIOL 6614 Evolutionary Ecology 3 credits. Evolutionary theory applied to ecological processes, including selection theory,
  ecological genetics, life-history evolution and coevolution. PREREQ: BIOL 2209, BIOL 3358, BIOL 5517.

  BIOL 6616 Advanced Community Ecology 4 credits. Historical and contemporary concepts and methods in community ecology
  and its interface with other fields, including molecular biology, informatics, conservation, social sciences, and landscape and
  ecosystem ecology. Emphasizes quantitative models and data analysis.

  BIOL 6621 Advanced Methods in Microbiology 3 credits. PREREQ: GRADUATE STANDING AND PERMISSION OF
  INSTRUCTOR.

  BIOL 6623 Soil and Ground Water Bioremediation 3 credits. Theoretical and applied aspects of biological treatment for
  contaminated subsurface systems.




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  BIOL 6624 Microbial Ecology 3 credits. Ecological principles applied to microorganisms. PREREQ: GRADUATE STANDING
  AND A COURSE IN MICROBIOLOGY.

  BIOL 6628 Cytology and Cell Physiology 4 credits. Advanced study of the functions and structural components of cells. Lecture
  and laboratory. PREREQ: GRADUATE STANDING AND PERMISSION OF INSTRUCTOR.

  BIOL 6629 Basic Concepts in Biology 3 credits. Considerations of fundamental concepts of biology, their origin and development.
  PREREQ: PERMISSION OF INSTRUCTOR.

  BIOL 6631-6632 Advanced Systematic Botany 3 credits. Classification of plants as it rests on morphological, chemical, ecological,
  and genetic bases. PREREQ: BIOL 5512.

  BIOL 6633 Advanced Microbial Physiology 3 credits. Advanced topics in microbial physiology and biochemistry. PREREQ: BIOL
  5532 AND PERMISSION OF INSTRUCTOR.

  BIOL 6648 Graduate Problems 1-9 credits per semester (may be repeated). Thesis related research. PREREQ: GRADUATE
  STANDING AND PERMISSION OF INSTRUCTOR. Graded S/U.

  BIOL 6651 Advanced Studies in Ecology 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing with
  ecological relationships. May be repeated.

  BIOL 6652 Advanced Studies in Physiology 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing with
  problems in physiology. May be repeated.

  BIOL 6653 Advanced Studies in Vertebrate Zoology 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing
  with problems in vertebrate zoology.

  BIOL 6654 Advanced Studies in Invertebrate Zoology 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing
  with problems in invertebrate zoology. May be repeated.

  BIOL 6655 Advanced Studies in Vertebrate Paleontology 2-6 credits. Flexible use of seminars, lectures, and laboratory work
  dealing with problems in vertebrate paleontology. May be repeated.

  BIOL 6656 Advanced Studies in Systematic Biology 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing
  with problems in systematic biology. May be repeated.

  BIOL 6657 Advanced Studies in Plant Biology 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing with -
  problems in plant biology. May be repeated.

  BIOL 6658 Advanced Studies in Limnology 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing with
  problems in limnology. May be repeated.

  BIOL 6659 Advanced Studies in Genetics 2-6 credits. Flexible use of seminars, lectures, and laboratory work dealing with
  problems in genetics. May be repeated.

  BIOL 6660 Selected Topics in Biochemistry 3 credits. Detailed study of selected areas of biochemistry. Course content will vary
  with
  current demand. PREREQ: BIOL 5532 OR PERMISSION OF INSTRUCTOR.

  BIOL 6661 Advanced Studies in Environmental Physiology 2-6 credits. Flexible use of seminars, lectures, and laboratory work
  dealing with problems in environmental physiology. May be repeated.

  BIOL 6662 Advanced Studies in Developmental Biology 2-6 credits. Flexible use of seminars, lectures, and laboratory work
  dealing with problems in developmental biology. May be repeated.

  BIOL 6679 Electron Microscopy 5 credits. Introduction to uses of the electron microscope in biological research. Designed to
  develop proficiency in use and operation of the electron microscope, specimen preparation for electron microscopy, and photographic
  skills as applied to electron microscopy. In addition, students will develop a special project for individual study. Enrollment limited to
  students who have a demonstrated need to learn electron microscopy techniques. PREREQ: BIOL 5579, GRADUATE STANDING,
  AND PERMISSION OF INSTRUCTOR.

  BIOL 6687 Environmental Science and Pollutants 3 credits. Structure and function of ecosystems, sources and characteristics of
  hazardous materials, mechanisms and pathways of pollutant transport and degradation, mechanisms of pollutant impact on ecosystems
  and human health. PREREQ: BIOL 5521, AN UNDERGRADUATE ECOLOGY COURSE, OR EQUIVALENT.

  BIOL 6691 Seminar 1 credit. Review of current research and literature. May be repeated until a maximum of 4 credits is earned.
  Graded S/U.

  BIOL 6692 Seminar 1 credit. Review of current research and literature. May be repeated until a maximum of 4 credits is earned.
  Graded S/U.




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  CHEM 5507 Inorganic Chemistry II 2 credits. Structure and reactivity of inorganic compounds including coordination compounds;
  acid-base chemistry and nonaqueous solvent systems; organometallic chemistry and other special topics of current interest. PREREQ:
  CHEM 2211, CHEM 3352, OR PERMISSION OF INSTRUCTOR.

  CHEM 5533 Environmental Chemistry 2 credits. This course applies chemical principles and calculation to investigate
  environmental issues. Natural systems, environmental degradation and protection, and the methodology of chemical detection and
  monitoring, PREREQ: CHEM 2232 AND CHEM 2234, OR PERMISSION OF INSTRUCTOR.

  CHEM 5537 Environmental Chemistry Laboratory 1 credit. This laboratory course utilizes both structured and self-designed field
  and classroom experiments to emphasize principles of environmental chemistry. COREQ: CHEM 5535, OR PERMISSION OF
  INSTRUCTOR.

  CHEM 5538 Experimental Biochemistry 1 credit. Laboratory course including both qualitative and quantitative experiments.
  Cross-listed as BIOL 5538. PREREQ or COREQ: BIOL 5532 or BIOL/CHEM 5545

  CHEM 5545 Biochemistry I 3 credits. Introduction to basic aspects of biochemical systems, including fundamental chemical and
  physical properties of biomolecules. Enzymology including allosterism, metabolic regulation, bioenergetics, and carbohydrate
  metabolism. Cross-listed as BIOL 5545. PREREQ: Introduction to Biology and Organic Chemistry OR PERMISSION OF -
  INSTRUCTOR.

  CHEM 5547 Biochemistry II 3 credits. Functional continuation of 5545. Lipid, amino acid and nucleotide metabolism. Emphasis is
  on metabolic regulation, metabolic dysfunction, biochemical mechanism of hormone action, biochemical genetics, protein synthesis,
  and metabolic consequences of genetic defects. Cross-listed as BIOL 5547. PREREQ: BIOL/CHEM 5545

   CHEM 5553 Modern Experimental Physical Chemistry 2 credits. Magnetic, optical, and electrical properties of materials,
  calorimetry, voltammetry, optical and laser spectroscopic techniques. PREREQ: CHEM 3334 AND CHEM 3352.

  CHEM 5581-5582 Independent Problems in Chemistry 1-4 credits each. Directed library and laboratory research. Courses may be
  repeated to a maximum of 6 credits. PREREQ: CHEM 3352.

  CHEM 5591 Seminar 1 credit. A formal introduction to the chemical literature including electronic methods of literature searching.
  A detailed treatment of methods for presenting scientific seminars including a full-length student presentation on selected library or
  laboratory research. COREQ: CHEM 5581, 5582, 4485, OR PERMISSION OF INSTRUCTOR.

  CHEM 6601 Seminar 1 credit. Oral reports of current literature and research in chemistry. This course may be taken multiple times
  as determined by degree requirements. Graded S/U.

  CHEM 6609 Advanced Inorganic Chemistry 3 credits. Synthesis, reactions, spectroscopic characterization methods, and
  application of transition metal complexes. Foci will vary and may include metal carbon bond transformations, bioinorganic chemistry,
  or materials chemistry. PREREQ: Chem 5507 OR PERMISSION OF INSTRUCTOR.

  CHEM 6621 Organic Reactions 3 credits. Advanced study of organic chemical reactions with emphasis on synthetic applications.
  PREREQ: CHEM 3302.

  CHEM 6630 Advanced Analytical Chemistry 3 credits. Advanced treatment of standards, sampling, special methods of analysis,
  and methods of separation. PREREQ: CHEM 3302, CHEM 3304, CHEM 3334 AND CHEM 3352, OR PERMISSION OF -
  INSTRUCTOR.

  CHEM 6650 Thesis 1-10 credits. Graded S/U.

  CHEM 6655 Advanced Physical Chemistry 3 credits. Introductory material from quantum chemistry and statistical mechanics with
  applications in chemical thermodynamics. PREREQ: CHEM 3352, OR PERMISSION OF INSTRUCTOR.

  CHEM 6671 Advanced Organic Chemistry 3 credits. Kinetics and mechanisms in organic reactions. PREREQ: CHEM 3302 AND
  CHEM 3352, OR PERMISSION OF INSTRUCTOR.

  ECON 5504 Game Theory 3 credits. A mathematical modeling technique used to describe the behavior of interdependent economic
  agents. We define Nash equilibria in games with varying information structures: normal and extensive form games of perfect,
  imperfect and incomplete information. PREREQ: ECON 2210 AND ECON 2202.

  ECON 5509 Industrial Organization 3 credits. Industrial organization extends the theory of the firm to examine firms’ strategic
  behavior, including methods to differentiate products and aggressive prizing schemes, and the government’s response to these
  activities. PREREQ: ECON 2210 AND ECON 2202.

  ECON 5511 Political Economy 3 credits. A critical introduction to the relationship between economic institutions and social
  analysis. The social implications of different views on economic concepts, such as the division of labor, capital, and value, are
  investigated from a classical, neoclassical and an institutional perspective.

  ECON 5533 Economic Development 3 credits. Theories and principles of economic development, characteristics, and problems of




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  underdeveloped and developing countries, alternative techniques and policies for the promotion of growth and development.

  GEOL 5502 Geomorphology 4 credits. Process-response approach to landforms and landscapes. Historical perspectives, endo- and
  exogenetic processes, equilibrium and relict landforms. Emphasis on interrelations among various geologic sub-disciplines. Field trips,
  some lab exercises. PREREQ: GEOL 3313 OR PERMISSION OF INSTRUCTOR.

  GEOL 5502L Geomorphology Laboratory 0 credits.

  GEOL 5503 Principles of Geographical Information System 3 credits. Study of GIS fundamentals, introduction to GPS, databases,
  and metadata. Practical application of ESRI ArcView®. Build, edit, and query a GIS; basic spatial analysis. Requires competence in
  computer operating systems. PREREQ: CIS 1101 OR INSTRUCTOR APPROVAL; COREQ: GEOL 5503L.

  GEOL 5503L Principles of GIS Laboratory 0 credits. Computer lab assignments to apply principles from GEOL 5503.

  GEOL 5504 Advanced Geographic Information Systems 3 credits. Study of relational databases, including spatial analysis, and
  remote sensing. Practical application of Arc/Info and Idrisi. Exercises include digitizing, querying, digital terrain modeling, and image
  processing. PREREQ: GEOL 5503, GEOL 5503L OR PERMISSION OF INSTRUCTOR.

  GEOL 5506 Environmental Geology 3 credits. Humans and the environment. Topics include: industrial exploitation of fossil fuels,
  energy sources, soils, water and other materials, environmental health, pollution, waste disposal, hazards, disasters, and land use.
  PREREQ: GEOL 1100 OR GEOL 1101.

  GEOL 5507 GPS Application in Research 3 credits. Overview of satellite positioning systems usage. Topics include GPS theory,
  basic mapping concepts, use of mapping grade receivers for GIS data collection, and processing of carrier phase data for high
  precision applications.

  GEOL 5508 GeoTechnology Seminar 2 credits. GIS applications in natural and social sciences; ethical and legal issues, current
  status and recent advances in GeoTechnology. Lectures, discussion, readings. PREREQ: GEOL 5503, GEOL 5503L OR
  PERMISSION OF INSTRUCTOR.

  GEOL 5509 Remote Sensing 3 credits. Fundamentals and applications of single frequency, multispectral, and hyperspectral remote
  sensing for physical, natural, engineering, and social sciences. Emphasis on acquiring, processing, integrating, and interpretation of
  imagery. Requires competence in computer operating systems.

  GEOL 5510 Science in American Society 2 credits. Observational basis of science; technology’s historical influences on scientific
  developments; perceptions of science in contemporary America; tools/strategies for teaching science. Cross-listed as PHYS 5510.
  PREREQ: JUNIOR STANDING AND PERMISSION OF INSTRUCTOR.

  GEOL 5515 Quaternary Global Change 3 credits. Use and interpretation of landforms, sediments, and fossil life in the
  reconstruction of Quaternary events, environment, and climates. PREREQ: PERMISSION OF INSTRUCTOR.

  GEOL 5516 Global Environmental Change 3 credits. Analysis of the causes and effects of both natural and human-induced
  environmental change. Integrates knowledge from other Earth Systems Science Courses, and examines and analyzes relevant
  problems in global environmental change using scientific methods. PREREQ: GEOL 1115, GEOL 1115L, GEOL 2310, GEOL 5506,
  and BIOL 2209.

  GEOL 5517 General Soils 3 credits. Formation, morphology, and distribution of soils, including developments in soil classification.
  PREREQ: GEOL 1100 OR GEOL 1101 OR GEOL 1115, OR PERMISSION OF INSTRUCTOR.

  GEOL 5520 Principles of Geochemistry 3 credits. Chemistry of the earth; discussion of factors controlling abundance, distribution,
  and migration of chemical elements within the earth. PREREQ: GEOL 2211, AND CHEM 1111, CHEM L1111, CHEM 1112, CHEM
  L1112, OR PERMISSION OF INSTRUCTOR.

  GEOL 5527 Information Technology for GIS 3 credits. Study of servers, networks, system administration, relational database
  design and management, spatial database engines, and serving maps on the internet. The course uses traditional lectures along with
  demonstrations, and hands-on exercises. PREREQ: GEOL 5503, GEOL 5503L OR PERMISSION OF INSTRUCTOR.

  GEOL 5528 Programming for GIS 3 credits. Course introduces students to Visual Basic programming for GIS. Students will learn
  the fundamentals of object oriented programming, rapid application development, basic coding, help documentation, and compiling.
  Students will complete a project where they develop a GIS utility of their choice. PREREQ: MATH 1147 AND GEOL 1100 OR 1101,
  OR PERMISSION OF INSTRUCTOR.

  GEOL 5530 Principles of Hydrogeology 3 credits. Surface and groundwater occurrence, movement and recovery, water quality and
  pollution, well construction principles, and computer modeling. PREREQ: GEOL 1100 OR GEOL 1101, OR PERMISSION OF
  INSTRUCTOR.

  GEOL 5551 Field Methods in Environmental Sciences 3 credits. Practical application of field methods with an Earth systems
  focus. Analysis of topographic and vegetational data, hydrologic methods, riverine processes and habitat, and soil characteristics,
  emphasizing use of GIS, GPS, remote sensing and other geotechnologies. Two-week summer course at Lost River Field Station.
  PREREQ: GEOL 5503 and GEOL 5503L, and either GEOL 5515 or GEOL 5516, and BIOL 2209.




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  GEOL 5571 Historical Geography of Idaho 3 credits. Influences of geography and geology on Idaho’s economic, political and
  cultural history. May be team taught and include field trips, discussion sections. Cross-listed as HIST 5571 and POLS 5571.

  GEOL 5580 Special Topics in GIS 1-3 credits. Visual Basic programming for GIS. May be repeated. PREREQ: GEOL 5503 and
  GEOL 5503L OR PERMISSION OF INSTRUCTOR.

  GEOL 5581 GeoTechnology Internship 1-3 credits. Choose a project with either natural resource or municipal GIS emphasis and
  work with real-world data at the internship’s off-campus location. Projects focus on using/creating geotechnical data. PREREQ:
  GEOL 5503 and GEOL 5503L OR PERMISSION OF INSTRUCTOR.

  GEOL 5591 Seminar 1 credit. Field trip or discussion of current geologic literature and geologic problems. May be repeated until 3
  credits are earned. PREREQ: PERMISSION OF INSTRUCTOR. Graded S/U.

  GEOL 6602 Advanced Geomorphology 3 credits. Seminar in the treatment of theoretical concepts in classical and modern
  geomorphology.

  GEOL 6603 Geologic Writing Seminar 1 credit. Review of quality geologic writing practices; extended field trip and introduction
  to regional geology. Topics include databases, abstracts, stratigraphic terminology, grant proposals, thesis prospecti, and use of
  reference library. Required for all Geosciences graduate students.

  GEOL 6604 Watershed Modeling 3 credits. Use of geographic information systems and integrated simulation models to study the
  hydrologic cycle, water quality, agricultural and industrial impacts, environmental and related issues at the watershed scale.
  PREREQ: GEOL 5404.

  GEOL 6606 Geostatistical Spatial Data Analysis and Modeling 4 credits. Description, analysis and modeling of spatial data in the
  geosciences, emphasizing hands-on application of geostatistical software tools for spatial analysis and probabilistic modeling in
  petroleum and groundwater reservoirs, environmental remediation, and mining or any application involving spatially-varying data.
  PREREQ: PERMISSION OF INSTRUCTOR.

  GEOL 6607 Spatial Analysis 3 credits. This course focuses on advanced techniques for spatial data analysis covering issues in
  sampling, characterizing, visualizing, exploring and modeling spatial data. Techniques for point patterns, continuous data, area data,
  and spatial interaction data will be emphasized. PREREQ: GEOL 5503, MATH 1170/1175, AND A BASIC STATISTICS CLASS
  (e.g., MATH 2253) OR PERMISSION OF INSTRUCTOR.

  GEOL 6609 Advanced Image Processing 1 credit. An advanced-level course in image processing techniques, such as using
  transforms, filters, and classifiers for data derived in the visible, infrared, and microwave. Specific topics include preprocessing,
  endmember analysis, classification (including spectral unmixing), and accuracy assessment. Practical application of theory for
  graduate student theses and dissertations. PREREQ: GEOL 5509.

  GEOL 6617 Environmental Geochemistry 3 credits. Geochemistry of environmental systems. Emphasis given to low-temperature
  water-rock interactions, including sorption processes, retardation, reaction kinetics and reaction-mass transport modeling. Cross-listed
  as CHEM 6617. PREREQ: CHEM 1112 AND GEOL 5520 OR CHEM 3351.

  GEOL 6628 Advanced GIS Programming 3 credits. Course focuses on Visual Basic for Applications (VBA) programming for
  ArcGIS. Students will learn to navigate, interact, and utilize ArcObjects to customize ArcGIS and to create and distribute their own
  customizations (i.e., dll). PREREQ: GEOL 5503, GEOL 5528, AND PERMISSION OF INSTRUCTOR.

  GEOL 6630 Advanced Hydrogeology 3 credits. Advanced topics in hydrogeology, including precipitation and stream flow, soil
  moisture, principles and modeling of groundwater flow, migration of wastes in both saturated and unsaturated zones, design and
  impact of production wells, water chemistry. PREREQ: GEOL 5530 OR EQUIVALENT.

  GEOL 6648 Research Problems 1-6 credits. Independent research on non-thesis subject matter, subject to approval of the staff
  before results receive credit. Course may be repeated until 10 credits are earned.

  GEOL 6650 Thesis 1-9 credits. Ordinarily a fieldproblem with supporting laboratory work undertaken by the student with approval
  of the geology graduate faculty, and after a thesis prospectus has been accepted. May be repeated. Graded S/U.

  GEOL 8850 Doctoral Dissertation (Ph.D. in Engineering and Applied Science) variable credits. Research toward and completion
  of the dissertation. May be repeated Graded S/U.

  HIST 5505 Problems in History 3 credits. A thorough consideration of historical problems, particularly from a comparative
  perspective. Designed to give deeper insight into problems, issues, and topics which are treated more generally in other courses. May
  be repeated with different content.

  HIST 5521 Federal Indian Relations 3 credits. This course provides a legal-historical examination of the relationship between
  North American tribal peoples and the U.S. federal government between 1750 and the present. Special emphasis will be placed on
  Indian removal, assimilation policy, treaty negotiation, the Dawes Severalty Act, education policy, Indian reorganization policy, and
  termination.




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  HIST 5523 Idaho History 3 credits. A survey of the social, cultural, environmental, and political history of Idaho from pre-contact
  indigenous cultures to the present, emphasizing Idaho’s relation to other states and regions in the West.

  HIST 5525 Women in the North American West 3 credits. Comparative examination of the varied experiences of women in the
  North American West. Analyzes perceptions of women and women’s views of themselves, women’s activism, and women’s cultural
  activities. Places special emphasis on the use of non-textual historical sources in uncovering the past lives of North American western
  women.

  HIST 5527 North American West 3 credits. History of the North American West from pre-contact indigenous cultures to the
  present, with an emphasis on exploration, settlement, ethnic groups, borderlands, environment, federal policy, and cultural depictions.

  HIST 5530 Global Environmental History 3 credits. Comparative examinations of historical interactions between humans and
  environmental factors in various time periods and regions throughout the world, and an assessment of their impacts on historical
  change.

  HIST 5535 Colonial Frontiers in America and Africa 3 credits. A comparative examination of exploration, conquest, and
  resistance, and the interaction of cultures in frontier settings. Examines both the realities of the frontier and their impact on Western
  thought and imagination.

  HIST 5544 Victorian England and After 3 credits. England, 1837 to the present. An examination of the cultural, social, political,
  and economic history of the most prosperous and productive period of English history including British national and imperial decline
  in the twentieth century.

  HIST 5548 Medieval Social and Economic History 3 credits. Analyzes the impact of political instability, migration and
  environment upon Europeans (AD 200 - 1400).

  HIST 5561 Independent Study: U.S. 1-3 credits. Selected readings in areas and periods not covered by the regular curriculum
  offerings. May be repeated. PREREQ: PREVIOUS UPPER-DIVISION COURSE WORK IN THE SUBJECT AREA, WITH A
  MINIMUM GRADE OF A-; GPA OF 3.5 IN ALL HISTORY COURSES; PERMISSION OF INSTRUCTOR; AND APPROVAL
  BY THE DEPARTMENT CHAIR.

  HIST 5562 Independent Study: Europe 1-3 credits. Selected readings in areas and periods not covered by the regular curriculum
  offerings. May be repeated. PREREQ: PREVIOUS UPPER-DIVISION COURSE WORK IN THE SUBJECT AREA, WITH A
  MINIMUM GRADE OF A-; GPA OF 3.5 IN ALL HISTORY COURSES; PERMISSION OF INSTRUCTOR; AND APPROVAL
  BY THE DEPARTMENT CHAIR.

  HIST 5563 Independent Study: World Regions 1-3 credits. Selected readings in areas and periods not covered by the regular
  curriculum offerings. May be repeated. PREREQ: PREVIOUS UPPER-DIVISION COURSE WORK IN THE SUBJECT AREA,
  WITH A MINIMUM GRADE OF A-; GPA OF 3.5 IN ALL HISTORY COURSES; PERMISSION OF INSTRUCTOR; AND
  APPROVAL BY THE DEPARTMENT CHAIR.

  HIST 5571 Historical Geography of Idaho 3 credits. Influences of geography and geology on Idaho’s economic, political and
  cultural history. May be team taught, and includes field trips, discussion sections. Cross-listed as GEOL 5571 and POLS 5571.

  HIST 5578 Imperialism and Progressivism 3 credits. A study of the world 1880-1920. Movements of change within the West,
  Third World responses to the Western challenge, and global crisis.

  HIST 5579 Disease and U.S. Public Health 3 credits. A survey of health, disease, and public health developments in American
  history. The course takes a broad approach to health, but includes the development of public health offices, the role of disease in
  society, specific diseases and related eradication programs, and questions related to health, equity, and civil liberties.

  HIST 5589 GIS for Social Sciences 3 credits. An introduction to geographic information systems theory and applications focusing
  on subjects related to human systems in historical context (census, health, urban communities, etc.). Students will work directly with
  GIS software and learn foundational data management and processing skills along with introductory spatial analysis. Requires
  competence in computer operating systems.

  HIST 5590 Cartography: History and Design 3 credits. History of how map-makers represent geographic, spatial data. Special
  attention to the elements of successful cartographic design.

  HIST 5590L Cartography Lab 1 credit. Focuses on the application of Cartographic design concepts and techniques discussed in
  lecture. Provides students with hands-on practice designing map products of publication quality.

  HIST 6600 Graduate Proseminar 3 credits. Introduction to graduate studies. Focus on contemporary historiographical debates,
  with emphasis on understanding significant developments in the profession. May be repeated with different topics.

  HIST 6610 Geographic Information Systems in Historical Studies 3 credits. Introduction to the use of GIS in historical studies.
  Detailed examination of major projects around the world, of handling uncertainty and fragmentary data, and of problems of
  interoperability in integrating data about a place and sharing data from different studies. Practice in using primary sources in
  conjunction with GIS and related Information Technologies and in creating and using geographically integrated history databases.
  PREREQ: TRAINING IN GEOGRAPHICAL INFORMATION SYSTEMS.




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  HIST 6621 Seminar: Interdisciplinary Topics in Social Sciences 3 credits. Examination of selected topics in the social sciences
  from the analytic orientations and perspectives common and peculiar to the disciplines of political science, economics, sociology, and
  history.

  HIST 6642 Conferences and Grants 3 credits. Emphasizes visual and oral skills for disseminating research to professional
  audiences. Students will develop and organize a campus-wide colloquium highlighting graduate research. Provides an introduction to
  grant writing with a focus upon funding sources for the social sciences and humanities.

  HIST 6645 Independent Research Project 1-6 credits. Individual research project employing Geographic Information Systems.
  Topic selected by the student. May be repeated up to six credits. PREREQ: PERMISSION OF INSTRUCTOR WHO WILL DIRECT
  THE PROJECT AND OF THE STUDENT’S HISTORICAL RESOURCES MANAGEMENT GRADUATE COMMITTEE.

  HIST 6650 Thesis 1-9 credits. Open to students seeking the M.A. in Historical Resources Management with the thesis option. May
  be repeated. Graded S/U.

  HIST 6664 Graduate Internship 3-12 credits. Supervised experience in the application of Geographic Information Systems (GIS)
  and other relevant Information Technologies to a historical project in a collaborative work environment. May be repeated. PREREQ:
  PERMISSION OF INSTRUCTOR WHO WILL DIRECT THE INTERNSHIP AND OF THE STUDENT’S HISTORICAL
  RESOURCES MANAGEMENT GRADUATE COMMITTEE.

  PHYS 5505 Advanced Laboratory 2 credits. Experiments in radiation detection and measurement, nuclear spectroscopy including
  x-ray and gamma spectroscopies, neutron activation and ion beam methods. Available to Geology, Engineering, Health Physics, and
  Physics majors. PREREQ: PERMISSION OF INSTRUCTOR.

  PHYS 5509 Introductory Nuclear Physics 3 credits. A course in Nuclear Physics with emphasis upon structural models,
  radioactivity, nuclear reactions, fission and fusion. PREREQ: KNOWLEDGE OF ELEMENTARY QUANTUM MECHANICS AND
  DIFFERENTIAL EQUATIONS OR PERMISSION OF INSTRUCTOR.

  PHYS 6615 Neutron Activation Analysis 4 credits. Theory and use of neutron activation methods for quantitative chemical analysis
  of natural and synthetic materials. Applications in geologic systems with be emphasized. Cross-listed as CHEM 6615, GEOL 6615.
  PREREQ: PERMISSION OF INSTRUCTOR.

  POLS 5501 Political Parties and Interest Groups 3 credits. The nature and development of political parties and pressure groups as
  exemplified in the United States.

  POLS 5504 The Legislative Process 3 credits. Nature and functions of the U.S. Congress. Topics covered: Legislative campaigns,
  the politics of law-making, congressional investigations, and major problems facing the Congress.

  POLS 5527 Voting and Public Opinion 3 credits. Analysis of the way citizens and government communicate with each other.
  Elections, public opinion, and media influence are studied.

  POLS 5506 Intergovernmental Relations 3 credits. Analysis of patterns of intergovernmental relations including changing patterns
  of program and fiscal responsibility in the federal system. The emerging role of new federal structures, state and substate regional
  organizations will be reviewed in the context of “new” federalism and its implications for intergovernmental relationships.

  POLS 5508 Metropolitan and Urban Studies 3 credits. Analysis of metropolitan and smaller urban systems with emphasis on
  relationships among general groups, political organizations and institutions. Federal, state and interlocal programs will serve as a focus
  for analyzing particular problems of metropolitan and urban systems in the 20th century.

  POLS 5509 Community and Regional Planning 3 credits. Steps involved in planning will be analyzed in the context of community
  and regional decision-making processes. Two perspectives will be stressed—that of the decision-maker, the social structure within
  which the decision-maker operates and strategies for implementing decision; and that of the citizen or group interest which lies outside
  the power structure of the community. Each perspective will be used as a framework for analyzing power configurations, techniques
  of identifying patterns of decision making, and various forms of citizen participation.

  POLS 5553 Public Policy Analysis 3 credits. Theoretical and practical analyses of public policies, including theories of policy
  formation and their political implementation through governmental institutions. Case studies will provide the means of analyzing
  specific policy problems.

  POLS 5555 Environmental Politics and Policy 3 credits. Study of the political forces affecting environmental policy and
  investigation of several specific policies affecting the environment, such as pollution control, energy production, hazardous chemicals,
  and the public lands.

  POLS 5566 Public Lands Policy 3 credits. Analysis of the historical and contemporary use and disposition of the federal public
  lands. The agencies that manage the public lands, major laws, and regulations and the political conflict that surrounds their use and
  conservation.

  POLS 5578 Federal Indian Law 3 credits. Examination of tribal governments; their relationship with the federal government;
  sovereignty, jurisdictional conflicts over land and resources; and economic development. Cross-listed as ANTH 5578.




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  POLS 5579 Tribal Government 3 credits. Complex legal position of Indian tribes as self-governing entities; principles of inherent
  powers; governmental organization, lawmaking, justice, relation to state and federal government. Cross-listed as ANTH 5579.

  POLS 5512 Modern Political Analysis 3 credits. Methods of political inquiry and theories and doctrines of politics, with emphasis
  on modern developments.

  POLS 5519 Political Research Methods 3 credits. This class investigates the theory and application of various research methods and
  statistical techniques common to the social sciences, with particular reference to their use in political inquiry.

  POLS 5519L Political Research Methods Lab 1 credit. Application of, and practice in research methods.

  POLS 5505 Administrative Process 3 credits. Analysis of the principles of public administration with an introduction to theories of -
  organization and administration.

  POLS 5541 Administrative Law 3 credits. Introductory survey of the legal principals defining governmental administrative
  processes. Topics include judicial review, tort liability of governments and offices, rules and rule-making, due process, and the limits
  of administrative discretion.

  POLS 5567 State and Local Administration 3 credits. Seminar in the practice and principles of state, municipal, and sub-state
  management. Emphasis is given to the evolution of interaction between different branches of sub-national government.

  POLS 5542 Constitutional Law 3 credits. Analysis of opinions of the United States Supreme Court concerning the distribution of
  authority between the national government and the states and the relationship among the branches of the national government.

  POLS 6606 Environmental Law and Regulation 3 credits. Federal, state, and local environmental regulations addressing
  environmental impact assessment; water and air pollution control, hazardous waste, resource recovery, reuses, toxic substances,
  occupational safety and health radiation, siting, auditing, liability. Cross-listed as ENGR 6606. PREREQ: PERMISSION OF
  INSTRUCTOR.

  POLS 6616 Seminar: Public Administration and Public Policy 3 credits. Analysis of selected topics and academic literature in
  public administration and public policy.

  POLS 6620 Seminar: Philosophy of Social Science 3 credits. The application of mathematical and scientific methods to the study of
  social, economic, and political life will be considered through the reading of certain seminal writings. Attention will be given to the
  fundamental assumptions about the nature of scientific rationality. Required of all D.A. students.

  POLS 6621 Seminar: Interdisciplinary Topics in Social Science 3 credits. Examination of selected topics in the social sciences
  from the analytic orientations and perspectives common and peculiar to the disciplines of political science economics and sociology.
  Required of all D.A. students.

  POLS 6622 Public Administration Research Methods 3 credits. Emphasis on the role of research methodology in administrative
  decision-making. Topics to be covered include modeling, evaluation design, ethics, sampling, data collection, data processing, data
  analysis, and report writing.

  POLS 5501 Political Parties and Interest Groups 3 credits. The nature and development of political parties and pressure groups as
  exemplified in the United States.

  POLS 5504 The Legislative Process 3 credits. Nature and functions of the U.S. Congress. Topics covered: Legislative campaigns,
  the politics of law-making, congressional investigations, and major problems facing the Congress.

  POLS 5527 Voting and Public Opinion 3 credits. Analysis of the way citizens and government communicate with each other.
  Elections, public opinion, and media influence are studied.

  SOC 5503 Contemporary Sociological Theory 3 credits. Survey and appraisal of sociological theories since 1945: structural
  functionalism, rational choice, conflict, symbolic interactionism, and phenomenology.

  SOC 5508 Statistical Analysis 3 credits. Emphasizes advanced techniques in research design, data measurement, and multivariate
  analysis utilizing computer application.

  SOC 6601 Sociological Theories 3 credits. A seminar in selected topics in theory which will focus on either historical, comparative
  or contemporary theories. May be repeated for up to 9 credits.

  SOC 6603 Topics in Methods 3 credits. In depth focus on methodological topics relevant and timely to students’ needs and interests.
  May be repeated up to 6 credits.

  SOC 6605 Social Organization 3 credits. A seminar in selected topics of social organization and disorganization which will include
  such themes as complex organization, industrial sociology, community, and urban studies. May be repeated for up to 6 credits.

  SOC 6607 Topics in Diversity 3 credits. A seminar in selected topics of social differentiation such as stratification, minorities, etc.




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  May be repeated for up to 6 credits.

  SOC 6613 Social Behavior 3 credits. A seminar in social interaction which will consider such themes as collective behavior, social
  psychology, deviance, ethnography, and neo-positive approaches to behavioral analysis. May be repeated up to 6 credits.

  SOC 6615 Social Institutions 3 credits. A seminar in selected aspects of medicine, law and crime, media, corporations, sports,
  religion, family, education, and political sociology. May be repeated up to 9 credits.

  SOC 6621 Seminar: Interdisciplinary Topics in Social Science 3 credits. Examination of selected topics in the social sciences from
  the analytic orientations and perspectives common and peculiar to the disciplines of political science, economics and sociology.
  Required of all D.A. students.




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                  IDAHO STATE UNIVERSITY

                            External Reviewers for Notice of Intent
  Program:           SED

          College:           Arts and letters/Science and
          Engineering

  Reviewed by: John C. Dixon; Stephen S. Mulkey


  Please provide comments regarding the following:
  National/Regional need for this proposed program:

  Interdisciplinary programming in the environmental and natural resource sciences is a major emphasis at NSF
  and other Federal agencies. The specific emphasis of this program
  is especially germane because virtually all environmental issues have myriad connections to human dynamics.
  NSF is especially interested in funding research on coupled human and natural systems. Nationwide, such
  programs continue to be rare owing in part to rigidity within traditional academic programs, which limits
  such interdisciplinary
  connections.

  Regionally, Idaho and the states of the Intermountain West are confronted with significant energy and water
  resource development issues that require not only scientific understanding of the resources but especially the
  complex policy and human interaction associated with resource development and sustainability. This kind of
  systems understanding will be increasingly important as climate change unfolds over this century. The complex
  relationship between surface water and ground water is especially crucial to agriculture in southern Idaho.
  Understanding policy and social aspects of human uses of natural resources requires an integrative, synthetic,
  interdisciplinary approach that is more properly called transdisciplinary. NSF is especially interested in
  transdisciplinary research. The SED program has the elements necessary to achieve this kind of research
  programming.

  Although similar programs exist at the University of Idaho and in nearby Utah, these institutions draw
  on largely separate clientele. Thus, we see little competitive overlap between the proposed program and
  existing programs.

  Quality of the proposed curriculum:

  The distinctive character of such interdisciplinary programs at institutions throughout the US rests on the
  ability to leverage synthetic programming from existing curricula. In short, the most effective programs are
  more than a collection of courses derived from different disciplines. As outlined, the current curriculum for
  the SED is weak. The proposed two-




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  semester required seminar is pedagogically acceptable but the content is poorly enunciated and does
  not clearly contain the desired synthesis across disciplines. We recommend that this course contain a
  strong integrative and synthetic component that ties natural and social sciences together. Secondly, the
  curriculum does not address the inherent contrast in the preparation of doctoral students from the
  social and natural sciences. One of the most daunting challenges in development of interdisciplinary
  programming is the difficulty in training students in fundamentally disparate scientific paradigms.
  This is especially true when attempting to link the social and natural sciences around a problem
  oriented research program. Many examples of successful programming now exist, and these usually
  consist of an introductory course or two in which students from different disciplines focus on a series
  of research questions. Moreover, there is an increasing scholarship around the pedagogy of
  interdisciplinary education.
  We feel that the SED curriculum can overcome both of these deficits through a concerted effort at
  curriculum design that includes players from the social and natural sciences.

  Quality of the program faculty in relation to meeting the needs of the proposed program: The
  faculty quality is outstanding overall with a predominance of young, interdisciplinary trained members
  of collaborating departments. Most members of the likely faculty cohort are currently engaged is
  some degree of interdisciplinary research. Moreover, a high proportion of the likely faculty currently
  cooperate in collaborative research across college boundaries. We were especially impressed with the
  active research programs in the social sciences and their apparent readiness to link to the natural
  sciences.

  Quality of Graduate School support:
  There appears to be strong philosophical support for the program on the part of the graduate
  school. Although important, such support in spirit is not sufficient for successful development of a
  new program. As presently described, financial and administrative support appear to be generally
  lacking.

  We specifically recommend that there be competitive graduate student fellowships dedicated to this
  program. Although there appears to be a ready cohort of employer supported graduate students,
  sustaining this program beyond its first few years will require dedicated graduate student fellowship
  line. The SED will never be regionally or nationally competitive for good
  students without such support. We recommend a minimum of eight such lines to be progressively
  phased in over the first four years of the program. The graduate school should commit to this
  ultimate level of support at the outset of the program in order ensure sustained development.

  Quality and evidence of support for Doctoral candidates:
  Individual faculty member support from grants appears to be very strong. Given the nominal
  teaching load of these faculty, the apparent level of extramural funding is remarkable. Overall
  institutional support for doctoral candidates is lacking. We recommend:

          a. Program support in the form of staff and graduate student space. The graduate
          students in this program should be able to report to a central authority (The Director of the
          SED doctoral program) for program information and management. We recommend that
          the students be centrally housed or at least have a central gathering place where the unique
          aspects of their training can be shared. There should be both space and some minimal
          access to staff. Administrative support staff might initially be shared with an existing
          program, while more support is phased in as the graduate student population grows.
          Administration should commit to an ultimate level of support at the outset of the program.




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           b. Development of a reporting structure above the level of the College deans. One of
           the central features of successful interdisciplinary academic programming is the ability of
           such programs to operate university wide. While it would seem that a given College could
           successfully sponsor such programs, experience nationwide shows this not to be
           the case. Resources within a College are ultimately tied to programming within the College,
           and when resources are tight, the linkage of the interdisciplinary program to other Colleges
           will be constrained or eliminated. Funding for students and research must flow freely across
           College boundaries. Moreover, creation of synthetic interdisciplinary curricula generally
           requires more than just the good will of the participating Colleges. University level leadership
           should provide incentives for the creation of these new courses. Some modest funding for
           their creation should be made available from the Graduate School or the Provost. Failure to
           provide for the intellectual and fiduciary mobility of a new interdisciplinary program can
           constrain its development and may even result in its failure, depending on the agendas of the
           participating Chairs and Deans. There are several examples of this at other US institutions.
           We recommend that the SED director report to the Vice President for Academic Affairs, the
           Dean of the Graduate School, or possibly directly to the Provost.

  Level of Institutional support:
     Institutional support is strong philosophically and organizationally, but lacking financially at this
     point in time as indicated above.

       The current teaching loads of faculty involved in graduate education is excessive for any
       graduate program. These teaching loads are especially excessive for fostering doctoral level
       research. We recommend that faculty integral to the success of the program be given reduced
       teaching assignments. This is especially necessary during the early years of the program after an
       initial cohort of student has been recruited.




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                                                                    ATTACHMENT 2




December 19, 2011


Dr. Herbert D. G. Maschner, Professor
Department of Anthropology
Idaho State University
921 S. 8th Avenue, Stop 8005
Pocatello, ID 83209-8005

SUBJECT:         IDAHO NATIONAL LABORATORY AND CENTER FOR ADVANCED ENERGY STUDIES
                 ENDORSEMENT FOR THE PROPOSED INTERDISCIPLINARY PH.D. PROGRAM AT
                 IDAHO STATE UNIVERSITY

Dear Dr. Maschner:

The Idaho National Laboratory (INL) and the Center for Advanced Energy Studies (CAES) are pleased to offer
their endorsement for the proposed interdisciplinary PhD. Program, Social and Environmental Dynamics, at Idaho
State University (ISU).

This program will be a vital component to the efforts to develop the next generation scientists and engineers that
will help to carry out the missions of the INL. Clean energy options for the nation depend on understanding not
only the technologies but also the policy, environmental and socioeconomic implications. It will require an
interdisciplinary approach such as will be offered in the Social and Environmental Dynamics program.

The INL and ISU will also realize more immediate benefits with the implementation of this program. We
anticipate INL employee participation through the Employee Education program administered by INL. We also
anticipate ISU students enrolled in the curriculum would participate in internships at the INL with mentors drawn
from such diverse disciplines as archaeology, history, geosciences, ecology and others. Such examples of the
exchanges will promote valuable training for the students and eventually lead to establishment of a 21st century
workforce for the State of Idaho and INL.

Sincerely,



J. W. Rogers, Jr., Director
Center for Advanced Energy Studies (CAES)

dcw

cc:     R. T. Jacobsen, ISU
        L. S. McCoy, DOE-ID, MS 1235
        A. Vailas, ISU
        J. W. Rogers, Jr. Letter Log (JWR-10-11)




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               INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
                            DECEMBER 13, 2012
BOISE STATE UNIVERSITY


SUBJECT
    Approval of Proposal for a new Online, Self-support Master of Business
    Administration

APPLICABLE STATUTE, RULE, OR POLICY
     Idaho State Board of Education Governing Policies & Procedures, Section III.G.
     4 and 5

BACKGROUND/DISCUSSION
    Boise State University (BSU) proposes to create a self-support, online program
    that will lead to a Master of Business Administration (MBA) degree.

       The proposed program will provide access to a substantial population of potential
       students not presently served by existing MBA programs offered by state
       institutions in Idaho. BSU’s current MBA programs are all face-to-face, and
       consist of a full-time MBA program for individuals just starting a professional
       career; a part-time night MBA program for working professionals; and an
       Executive MBA program for those in middle to senior management positions.

       BSU’s existing programs do not serve working professionals and other potential
       students in southwestern Idaho who cannot easily attend courses on campus.
       The proposed online program will provide access to those potential students who
       are place-bound and/or time-bound. Students in the proposed program are likely
       to be working professionals and should have a similar demographic profile to
       those attending BSU’s part-time program. Thus, the creation of the proposed
       program will substantially broaden access to BSU’s MBA programs for that
       group. BSU estimates an annual potential market of more than 1,000 students in
       southwestern Idaho.

       The primary objective of the proposed program is to develop the future business
       leaders of Idaho, who will graduate with an understanding of the functions of
       business, the ability to formulate competitive business strategies, leadership
       skills, and an understanding of how to generate and commercialize ideas.

       BSU will partner with a private, for-profit organization, Academic Partnerships,
       LLC, to convert BSU’s existing MBA into an online format and will be responsible
       for marketing the program to individuals and organizations that wish to sponsor
       employees. Academic Partnerships approached BSU because they were seeking
       a partner who will offer a high quality, AACSB-accredited MBA program in the
       northwestern United States.

       Academic Partnerships will assist in course design and administration, although
       BSU will retain sole responsibility for the content of courses. The efforts of

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               INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
                            DECEMBER 13, 2012
       Academic Partnerships will greatly increase the visibility of, and therefore access
       to, BSU’s program and will increase their ability to recruit students. BSU will
       retain complete control of and responsibility for the curriculum of the program and
       any intellectual property that may be produced.

       Academic Partnerships is privately held and specializes in working only with
       public institutions. Since its founding only five years ago, Academic Partnerships
       has rapidly grown to become a global company. In addition to a world
       headquarters in Dallas, Texas and regional offices in the United States,
       Academic Partnerships has recently added offices in South America, Asia, Africa,
       and Europe as they expand globally. To date, their course designers have
       assisted more than 600 faculty from public universities convert more than 1,000
       courses to online delivery.

IMPACT
     The program will be self-supporting, and no state appropriated funds will be
     used. Program revenues will cover administrative, instructional, and operating
     costs. The budget represents the need for instructional support staff and some
     hourly student assistants at approximately 9 FTE and $298,800 salary cost for
     the third year. Consistent with the contract agreement, Academic Partnerships
     will receive 45% of revenues.

       The budget includes a University administrative fee calculated as 6% of revenue
       less revenue to Academic Partnerships. Students will be charged $750 per credit
       for the 48 credit program for a total of $36,000 for the entire program. For
       FY2016, the third year of the program, BSU estimates 72 courses will be taught
       to classes with sizes ranging from 17 to 20, for a total of 5204 credit hours
       produced. BSU will offer a corporate discount of 15% and estimates that 50% of
       their students will enroll with such a discount. Local funds totaling $68,291 will
       fund the first year’s planning and development. Those local funds will be repaid
       in the second year of the program consistent with Board Policy V.R.

ATTACHMENTS
    Attachment 1 – Proposal for Online MBA Program                               Page 5
    Attachment 2 – Contract Agreement with Academic Partnerships, LLC            Page 23

STAFF COMMENTS AND RECOMMENDATIONS
     Boise State University (BSU) proposes to create a new self-support, online
     Master of Business Administration (MBA) that is intended to provide access to
     students who cannot attend courses on campus.

       BSU’s proposed online option will not replace existing MBA programs, which are
       currently taught face-to-face. The main distinction between this proposed MBA
       and BSU’s other MBA programs is the target audience and delivery method.
       While BSU will be adding 12 new courses to the curriculum, those will be existing
       courses that are revamped for the structuring and delivery of material.

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                     INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
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       BSU indicates there are approximately 1,039 potential online MBA students in
       their service area who are currently matriculating at out-of-state universities. BSU
       projects that the program will accommodate 40 students to begin in each cohort.
       There will be 6 cohorts with projected enrollment at any one time eventually
       reaching 268.

       The College of Business and Economics at BSU is accredited by the Association
       to Advance Collegiate Schools of Business (AACSB) and the proposed program
       is subject to that accreditation. BSU and ISU offer a few of their traditional MBA
       courses online or in a blended format. BSU and UI have an Executive MBA
       (EMBA) and offer those courses in a face-to-face format. Other institutions such
       as Northwest Nazarene University offers a non-AACSB accredited online MBA
       degree; Washington State University offers the only AACSB-accredited online
       MBA programs in Washington; Portland State offers the only AACSB-accredited
       online MBA program in Oregon; and the University of Wyoming and University of
       Nevada-Reno both offer an online EMBA but no traditional online MBA program.
       The following represents Business Administration programs currently offered:

       Institution   Region   Branch          Program Title             Degree              Method of Delivery
                              Campus                                    Level/Certificate
                                              General Management        EMBA                Face-to-Face
       UI              2      CDA
                                              (EMBA) Self-Support
                                              Business Administration   AS                  classroom/online
       LCSC            2      LEW/CDA
                                              Business Administration   BA, BS              classroom/online
       LCSC            2      LEW/CDA
                                              Business Administration   A.A.                Traditional, Web Enhanced
       NIC             2      Coeur d'Alene
                                                                                            On-line, Hybrid
                                              Business Administration   A.S.                Traditional, Web Enhanced
       NIC             2      Coeur d'Alene
                                                                                            On-line, Hybrid
                                              Business Administration   M.B.A.              Traditional
       BSU             3      Boise           (Executive) Self-
                                              support
                                              Business Administration   M.B.A.              Traditional
       BSU             3      BSU Campus
                                              Business Admin.           MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              (Accounting Emph.)                            Face/Moodle/Asynchronous
                                              Business Admin. (CIS      MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              Emph.)                                        Face/Moodle/Asynchronous
                                              Business Admin.           MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              (Finance Emph.)                               Face/Moodle/Asynchronous
                                              Business Admin. (HCA      MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              Emphasis)                                     Face/Moodle/Asynchronous
                                              Business Admin.           MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              (Management Emph.)                            Face/Moodle/Asynchronous
                                              Business Admin.           MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              (Marketing Emph.)                             Face/Moodle/Asynchronous
                                              Business Admin. (Native   MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              American Bus. Emph.)                          Face/Moodle/Asynchronous
                                              Business Admin.           MBA Emph.           Face-to-
       ISU             5      ISU Campus
                                              (Operation Mgmt Emph)                         Face/Moodle/Asynchronous
                                              Business Administration   PB Cert             Face-to-
       ISU             5      ISU Campus
                                                                                            Face/Moodle/Asynchronous
                                              Business Administration   MBA                 Face-to-
       ISU             5      ISU Campus
                                                                                            Face/Moodle/Asynchronous
                              University      Business Administration   MBA                 Face-to-
       ISU             5
                              Place                                                         Face/Moodle/Asynchronous


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                INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
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       BSU will partner with a private, for-profit organization, Academic Partnerships,
       LLC that will assist in marketing the program, course design, and administration.
       While the contract indicates that additional programs could be added as part of
       the agreement, AP’s services only extend to the proposed online MBA at this
       time. Per the terms of the contract, AP will receive 45% of the tuition for each
       MBA online credit. The contract is for five years and will automatically renew for
       three (3) year terms unless terminated for convenience by giving 270 days’
       notice. Additionally, it’s important to note that even if the agreement is terminated
       or expires; BSU must continue to pay AP for students who enrolled during the
       term, but take online classes after the term has terminated or expired. Any
       additions will be discussed with AP prior to securing their services.

       Board staff worked with BSU to address questions regarding need for proposed
       program, curriculum, and contract with Academic Partnerships. Many of the
       questions and recommendations made by staff have been addressed; however,
       additional changes are needed to the contract that would clearly define on-line
       educational courses and clarify who would develop those. BSU is working with
       Academic Partnerships to vet those additional changes.

       BSU’s request to create a new Online Self-Support Master of Business
       Administration program was not listed on their Five-year Plan for Delivery of
       Academic Programs in the Southwest Region. BSU was asked to provide
       justification for adding the program now and clearly demonstrate the immediate
       need for the program. BSU provides that they were contacted in Spring 2012 by
       Academic Partnerships about the potential partnership and specifies that it was
       well after the deadline for Five-Year Plan submissions when negotiations had
       progressed to a point where they could bring a proposal forward. Not being able
       to respond quickly to the opportunity by Academic Partnerships, will result in
       them partnering with another institution at another state and BSU will lose the
       opportunity to offer an online, AACSB-accredited MBA program in southwestern
       Idaho.

       It is important to note that the University of Idaho has a Master’s of Business
       Administration proposed on their 5-year plan for delivery in Moscow, Idaho with
       anticipated delivery date of summer 2014.

       CAAP recommends approval as presented. Board staff recommends approval
       provided this recommendation and approval does not negatively impact the UI’s
       ability to bring forward their MBA program as it was included in their 5-year plan.

BOARD ACTION
    I move to approve the request by Boise State University to create a new online,
    self-support Master of Business Administration program and to approve the
    contract for services with Academic Partnerships, LLC.

       Moved by __________ Seconded by __________ Carried Yes _____ No _____

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Before completing this form, refer to Board Policy Section III.G., Program Approval and Discontinuance. This
proposal form must be completed for the creation of each new program and each program discontinuation. All
questions must be answered.


1. Describe the nature of the request. Will this program be related or tied to other programs on campus?
   Please identify any existing program, option that this program will replace. If this is request to discontinue an
   existing graduate or doctorate program, provide the rationale for the discontinuance. Describe the teach-out
   plans for continuing students.

    The College of Business and Economics at Boise State University proposes creation of a self-
    support, online program that will lead to a Master of Business Administration (MBA) degree.
    The proposed program will provide access to a substantial population of potential students not
    presently served by our existing MBA programs or by those of our sister institutions. Our current
    MBA programs are all face-to-face, and consist of a full-time MBA program for individuals just
    starting a professional career; a part-time night MBA program for working professionals; and an
    Executive MBA program for those in middle to senior management positions.
    Our existing programs do not serve working professionals and other potential students who
    cannot easily attend courses on campus. The proposed online program will provide access to
    those potential students who are place-bound and/or time-bound. Students in the proposed
    program are likely to be working professionals and should have a similar demographic profile to
    those attending our part-time program. Thus, the creation of the proposed program will
    substantially broaden access to our MBA programs for that group.
    The program will be self-supporting, and no state appropriated funds will be used. Program
    revenues cover instructional, administrative, and operating costs.
    We will partner with a private, for-profit organization, Academic Partnerships, LLC, which will be
    responsible for marketing the program and for assisting in course design and administration. Our
    contract with Academic Partnerships is included as Appendix B. The efforts of Academic
    Partnerships will greatly increase the visibility of, and therefore access to, our program and will
    increase our ability to recruit students.
    Boise State University will retain complete control of and responsibility for the curriculum of the
    program and any intellectual property that may be produced. As stated in the attached contract,
    page 6, Section VI.B: “Ownership of University Materials. The University retains all ownership
    and Intellectual Property rights in the University Materials” and on page 2, Section I.L.: “’University
    Material’ means the (i) Curriculum Materials, (ii) lectures, documentation, and other materials
    created by the University including Developed Materials created by the University and (iii)
    Faculty.”

2. List the objectives of the program. The objectives should address specific needs the program will meet
   and the expected student learning outcomes and achievements. This question is not applicable to requests for
   discontinuance.

   The primary objective of the program is to broaden and deepen the expertise of the business
   leaders of Idaho. Expected learning outcomes include a broad understanding of the functions of
   business, the ability to formulate competitive business strategies, leadership skills, and an
   understanding of how to generate and commercialize ideas. At completion of the program,
   students should be able to enhance the competitiveness of their organizations.


3. Briefly describe how the institution will ensure the quality of the program (i.e., program review).
   Will the program require specialized accreditation? If so, please identify the agency and explain why you do or do
   not plan to seek accreditation. This question is not applicable to requests for discontinuance.
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   The following measures will ensure the high quality of the proposed emphases:
   Regional Institutional Accreditation: Boise State University is regionally accredited by the
   Northwest Commission on Colleges and Universities (NWCCU). Regional accreditation of the
   university has been continuous since initial accreditation was conferred in 1941. Boise State
   University is currently accredited at all degree levels (A, B, M, D).
   Program Review: Internal program evaluations will take place every five years as part of the
   normal departmental review process conducted by the Office of the Provost. This process requires
   a detailed self study (including outcome assessments) and a comprehensive review and site visit
   by external evaluators.
   Specialized Accreditation: Baccalaureate and graduate programs in our College of Business and
   Economics are accredited by the Association to Advance Collegiate Schools of Business
   (AACSB), signifying that our programs have passed rigorous standards for quality.
   Graduate College: The program will adhere to all policies and procedures of the Graduate
   College, which is assigned broad institutional oversight of all graduate degree and certificate
   programs.

4. List new courses that will be added to your curriculum specific for this program. Indicate number,
   title, and credit hour value for each course. This question is not applicable to requests for discontinuance.

   (Appendix A includes course descriptions of the following courses as well as a table that compares
   new courses with existing courses.)

   A.   MBA-ON 501 DESIGN THINKING AND STRATEGIC MANAGEMENT (4 credits)
   B.   MBA-ON 505 MARKETING STRATEGY (4 credits)
   C.   MBA-ON 510 PEOPLE AND ORGANIZATIONS (4 credits)
   D.   MBA-ON 515 CORPORATE FINANCE (4 credits)
   E.   MBA-ON 520 GLOBAL ECONOMICS: POLICY AND TRADE (4 credits)
   F.   MBA-ON 525 MANAGERIAL ACCOUNTING (4 credits)
   G.   MBA-ON 530 MANAGERIAL COMMUNICATION (4 credits)
   H.   MBA-ON 535 INFORMATION TECHNOLOGY & BUSINESS ALIGNMENT (4 credits)
   I.   MBA-ON 540 PROJECT MANAGEMENT (4 credits)
   J.   MBA-ON 545 THE LEGAL ENVIRONMENT OF BUSINESS (4 credits)
   K.   MBA-ON 550 OPERATIONS AND SUPPLY CHAIN MANAGEMENT (4 credits)
   L.   MBA-ON 555 BUSINESS PLAN DEVELOPMENT (4 credits)


5. Please provide the program completion requirements to include the following and attach a
   typical curriculum to this proposal as Appendix A. For discontinuation requests, will courses
   continue to be taught?

   All students take all twelve courses identified in item #4 above (this is the typical curriculum).
    Credit hours required in major:                                        48
    Credit hours required in support courses:                              0
    Credit hours in required or free electives:                            0
    Credit hours for thesis or dissertation:                               0
    Total credit hours required for completion:                            48


6. Describe additional requirements such as preliminary qualifying examination, comprehensive
   examination, thesis, dissertation, practicum or internship, some of which may carry credit
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    hours included in the list above.

    Admission to the program is contingent on a satisfactory score on the GMAT examination, an
    applicant’s undergraduate GPA, and letters of recommendation.

    Admission to the program is also contingent on each student completing online competency
    examinations in business statistics, financial accounting, microeconomics, and spreadsheet-based
    analysis. These examinations include supporting study materials, but they are not for college credit.

    The culminating experience of the program is contained within the capstone course listed above
    (MBA-ON 555). Students will develop a business plan for an opportunity they identify. Most
    students will be working professionals, so it is likely that these plans will be applicable to their
    organizations. This situation creates an instant return on investment for sponsoring organizations.


7. Identify similar programs offered within the state of Idaho or in the region by other
   colleges/universities. If the proposed request is similar to another program, provide a rationale for the
    duplication.

     No fully-online MBA programs are offered by any of the state universities of Idaho. Therefore, the
     proposed program will provide access to MBA education to an as-yet underserved population.

     Both Idaho State University and Boise State University offer several of their traditional MBA
     courses online or in a blended format. Boise State University and the University of Idaho offer
     Executive MBA courses in a face-to-face format only. Northwest Nazarene University offers a
     non-AACSB accredited online MBA degree.

     Washington State University offers the only AACSB-accredited online MBA programs in the state
     of Washington. Portland State University offers the only AACSB-accredited online MBA program
     in the state of Oregon. The University of Wyoming and the University of Nevada-Reno both offer
     an online Executive MBA program but no traditional online MBA program.

     Degrees offered by school/college or program(s) within disciplinary area under review
                                          Specializations within the      Specializations offered
         Institution and        Level              discipline             within the degree at the
          Degree name                        (to reflect a national              institution
                                                  perspective)
      BSU

      Master of Business        Master’s    Offered as a broad based       Offered as a broad based
      Administration                        degree covering all aspects    degree covering all aspects of
                                            of business                    business

      Executive Master of       Master’s    Offered as a broad based       Offered as a broad based
      Business                              degree covering all aspects    degree covering all aspects of
      Administration                        of business                    business

      Masters of Business       Master’s    Operational excellence         Operational excellence
      Operational Excellence

      CSI                       N/A         N/A                            N/A

      CWI                       N/A         N/A                            N/A

      EITC                      N/A         N/A                            N/A

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      ISU

      Master of Business      Master’s    Offered as a broad based       Offered as a broad based
      Administration                      degree covering all aspects    degree covering all aspects of
                                          of business                    business

      LCSC                    N/A         N/A                            N/A

      NIC                     N/A         N/A                            N/A

      UI

      Executive Master of     Master’s    Offered as a broad based       Offered as a broad based
      Business                            degree covering all aspects    degree covering all aspects of
      Administration                      of business                    business



8. Describe the methodology for determining enrollment projections. If a survey of student interest
  was conducted, attach a copy of the survey instrument with a summary of results as Appendix B. This
  question is not applicable to requests for discontinuance.

  We project an annual potential market of 1039 online MBA students in our service area. We regard
  that estimate to be very conservative; the details of our estimate are as follows:

  1. Recent studies suggest 80% of online students live within 100 miles of campus. 1 Boise State
     University’s service area roughly approximates that distance, and therefore this analysis will
     focus on the market potential in our service area.
  2. We use 2010 and 2011 statistics because they are readily available, but note that they add to the
     conservative nature of our estimate, given that current reports suggest substantial continuing
     growth rates in online education.2
  3. Eduventures reports 591,000 graduate and 963,000 undergraduate students enrolled online
     nationwide during 2010.3 Dividing those numbers yields a ratio of 0.61 online graduate students
     for each online undergraduate student. Multiplying that ratio by 5917, the number of Idaho
     residents enrolled in undergraduate online programs delivered by out of state providers4, gives
     an estimate of 3631 Idaho residents currently matriculating in non-Idaho based graduate
     programs. Of those 3631, we estimate 1167 to be business master’s students, based on a ratio
     of 190,000 online business master’s students divided by 591,000 total graduate students online. 5
  4. MBA students comprise the vast majority of business graduate students, and using our own
     internal ratio of 89% of our graduates earning an MBA degree, we reduce our estimate to 1039
     potential online MBA students in our service area annually who are currently matriculating at out
     of state universities.

  References
  1
    Aslainian and Clinefelter (2012), “Online College Students 2012: Comprehensive Data on Demand and
  Preferences,” Aslanian Market Research.
  2
    Eduventures (2011), “Online Higher Education Market Update 2011,” page 2.
  3
    Eduventures (2011), “Online Higher Education Market Update 2011,” page 31.
  4
    Eduventures (2011), “Online Higher Education Market Update 2011,” page 22.
  5
    Eduventures (2011), “Online Higher Education Market Update 2011,” page 34.




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Enrollment and Graduates. Using the chart below, provide a realistic estimate of enrollment at the time of
       program implementation and over three year period based on availability of students meeting the criteria
       referenced above. Include part-time and full-time (i.e., number of majors or other relevant data) by institution
       for the proposed program, last three years beginning with the current year and the previous two years. Also,
       indicate the projected number of graduates and graduation rates.

Institution                  Relevant Enrollment Data                     Number of Graduates               Graduate
                                                                                                              Rate
                          Previous    Previous   Current            Previous    Previous     Current
                            Year        Year                          Year        Year
BSU                       (F 2010)    (F 2011)      (F 2012)        (2009-10)   (2010-11)   (2011-12)

Master of Business          116         125            149             36          47             39      ~42 grads/yr
Administration


Executive Master of          48          49            35              16          17             30      ~30 grads/yr
Business
Administration
                                                     Projected                               Projected    Projected:
Online Self-support                                                                          number of
                                                   enrollment at
Masters of Business                                any one time                              graduates    ~90 grads/yr
Administration (to                                will eventually                             per year:
begin Fall 2013)                                        reach:                                    90
                                                    40 begin in
                                                  each cohort; 6
                                                       cohorts
                                                   running; with
                                                  attrition = 268
                                                  at any one
                                                      time

CSI                       N/A         N/A        N/A                N/A         N/A         N/A           N/A

CWI                       N/A         N/A        N/A                N/A         N/A         N/A           N/A

EITC                      N/A         N/A        N/A                N/A         N/A         N/A           N/A

ISU

Master of Business          123         130            123             47          31             68       ~50 grads/yr
Administration

LCSC                      N/A         N/A        N/A                N/A         N/A         N/A           N/A

NIC                       N/A         N/A        N/A                N/A         N/A         N/A           N/A

UI

Executive Master             21          16            25                 9           9           10      ~10 grads/yr
of Business
Administration




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9.    Will this program reduce enrollments in other programs at your institution? If so, please
        explain.

      The proposed program targets the early-career professional, as does our existing face to face
      program. However, it provides access to education for those who cannot come to campus on a
      regular, weekly basis. Thus, although we may see some shift of enrollment from an existing
      program, we believe the vast majority of students will come from a currently un-served
      population.

10. Provide verification of state workforce needs such as job titles requiring this degree. Also
    include State and National Department of Labor research on employment potential. Please
    indicate the total projected job openings (including growth and replacement demands in your
    regional area, the state, and nation. Job openings should represent positions which require
    graduation from a program such as the one proposed. This question is not applicable to requests for
      discontinuance.


                                         2013                      2014                                   2015
       Local                   213                    213                                  213

       State                   426                    426                                  426

       Nation                  61,624                 61,624                               61,624



     a. Describe the methodology used to determine the projected job openings. If a survey of
        employment needs was used, please attach a copy of the survey instrument with a summary of
        results as Appendix C.

       This program provides the tools for managers in a very broad group of occupations. We have
       therefore used the entire SOC code of 11.xxxx for our estimates of workforce needs.
       According to national data, approximately 24% of workers in the 11.xxxx category have
       master’s degrees. Therefore, to create the numbers in the table above, we have multiplied the
       numbers in the tables below by 24%. Note that because educational attainment is increasing
       among managers, the use of an existing percentage (24%) yields a conservative estimate.

                    2008‐2018 Projections for Idaho
                                                       2008                2018              Net           Annual
        SOC Code    Occupation                         Employment          Employment        Change        Openings**
        11.xxxx     All Management Occupations                  52,150            57,887         5,737            1,777

                                                                                                            10 year job
                                                       Employment
                                                                                                           openings due
                                                      Number (1000’s)             Change, 2010-20            to growth
                                                                                                                and
        2010 National Employment Matrix title and                                Number                    replacements
        code                                            2010             2020   (1000’s)     Percent          (1000’s)

        Management Occupations          11-0000       8,776.1       9,391.9         615.8           7.0          2,567.7


       Section 8 above describes the method used to estimate the annual market potential of 1039
       students.


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   b. Describe how the proposed change will act to stimulate the state economy by advancing the
      field, providing research results, etc.

      As noted above, recent studies suggest 80% of online students live within 100 miles of campus.
      Therefore, although students from other states will have the opportunity to enroll, we expect the
      vast majority to be students from Idaho. Therefore, the impact of the program will be primarily
      on Idaho businesses.

      This program will help individuals in Idaho become better managers of businesses. They will
      have a better understanding of current business practices and should be able to make better
      decisions for their Idaho employers. In turn, better decisions should help their companies
      become more competitive in all markets.

   c. Is the program primarily intended to meet needs other than employment needs, if so, please
      provide a brief rationale.
      N/A


11. Will any type of distance education technology be utilized in the delivery of the program on
    your main campus or to remote sites? Please describe. This question is not applicable to requests for
    discontinuance.

    Yes. The program is fully online.


12. Describe how this request is consistent with the State Board of Education's strategic plan and
    institution’s role and mission. This question is not applicable to requests for discontinuance.

    The proposed program contributes to a number of aspects of the strategic plan of the Idaho State
    Board of Education.
           GOAL 1: A Well educated citizenry
           Objective A: Access :
           [Increases access of Idaho citizens to valuable training in business management.]
           Objective B: Higher Level of Educational Attainment:
           [Provides an additional avenue for advanced higher educational attainment.]
           GOAL 2: Critical Thinking and Innovation
           Objective B: Innovation and Creativity:
           [Provides graduates who will help to transform Idaho businesses and other organizations
           to be more efficient and effective.]
    The highlighted portions of Boise State University’s mission statement are especially relevant to
    the proposed program:
           Boise State University is a public, metropolitan research university offering an array of
           undergraduate and graduate degrees and experiences that foster student success,
           lifelong learning, community engagement, innovation and creativity. Research and
           creative activity advance new knowledge and benefit students, the community, the state
           and the nation. As an integral part of its metropolitan environment the university is
           engaged in professional and continuing education programming, policy issues, and
           promoting the region’s economic vitality and cultural enrichment.
    The highlighted portions of Boise State University’s Core Theme Two are especially relevant to

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    the proposed program:


           CORE THEME TWO: GRADUATE EDUCATION
           Our university provides access to graduate education that is relevant to the
           educational and societal needs of the community and state, is meaningful within
           national and global contexts, is respected for its high quality, and is delivered within
           a supportive graduate culture.
           Core Objective 2.1: Access. We provide students of all backgrounds with access to
           graduate educational opportunities in formats that are appropriate, flexible,
           accessible, and affordable.
           Core Objective 2.2: Relevance. Our graduate students develop skills, knowledge,
           and experiences that are relevant and valuable locally, regionally, nationally, and
           globally.
           Core Objective 2.3: Quality. Our graduate programs are composed of advanced and
           integrated learning experiences that provide disciplinary depth and interdisciplinary
           connections, and that reinforce the overall scholarly output of the university.

13. Describe how this request fits with the institution’s vision and/or strategic plan. This question is
    not applicable to requests for discontinuance.
    Please note that we are using Boise State’s draft strategic plan 2012-17 in what follows.

    Goals of Institution Strategic Plan                  Proposed Program Plans to Achieve the Goal
    Goal 1: Create a signature, high quality               Quality will be ensured by creating the
    educational experience for all students.             program in partnership with an industry leader
                                                         and by offering a program in an area we’ve
                                                         had success in for over 30 years.
    Goal 4: Align university programs and activities     Our program will serve Idaho businesses,
    with community needs.                                NGOs, governmental agencies, and
                                                         educational institutions, and will help each of
                                                         them become more effective, more efficient,
                                                         and more competitive.

14. Is the proposed program in your institution’s regional 5-year plan? Indicate below.

      Yes          No X
    If not on your institution’s regional 5-year plan, provide a justification for adding the program.

    In spring, 2012, we were contacted by Academic Partnerships, LLC, about the possibility of
    partnering with them. It was not until well after the deadline for 5-year plan submissions that
    negotiations had progressed to a point where we were in a position to bring forth the proposed
    program.

    Academic Partnerships has already created similar partnerships with more than 20 public
    institutions. Academic Partnerships approached Boise State University because they are
    seeking a partner who will offer a high quality, AACSB-accredited MBA program in the
    northwestern United States. If we are not able to respond quickly to the opportunity presented by
    Academic Partnerships, they will seek a partnership with a university in a different state, and we
    will have lost the opportunity to offer an online, AACSB-accredited MBA program in southwestern
    Idaho in partnership with an organization that can provide a number of services that would help

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    make our program successful.

    The resulting loss to the region would be substantial. As noted above, recent studies suggest
    80% of online students live within 100 miles of campus. The reason for this trend is twofold:
    First, students feel more comfortable participating in an online program offered by an institution
    with which they are familiar. Second and more importantly, although they may not need to travel
    to campus to attend class, online students in the vicinity of a campus have the opportunity to
    travel to campus for a wide variety of reasons: to seek help with coursework, to participate in
    extracurricular activities, etc. Therefore, without an online program at Boise State, students
    would need to take an online program from a university out of the local area, would not have the
    opportunity to take advantage of on-campus services, and would therefore be less likely to
    succeed.


15. Explain how students are going to learn about this program and where students are going to be
    recruited from (i.e., within institution, out-of-state, internationally).

    Potential students will hear about the opportunity primarily through the promotional efforts of our
    partner, Academic Partnerships, LLC. Academic Partnerships will be responsible for promoting
    the program to both individuals and corporations who may wish to sponsor employees. Their
    personnel will assist candidates with the enrollment process and will monitor their progress while
    matriculating. Boise State University controls all aspects of the admission process and our
    policies regarding student eligibility for graduate programs all apply.

    In addition to the marketing function, Academic Partnerships LLC provides course designers to
    help our faculty move their content to an online format. Academic Partnerships LLC does not
    provide any course content, however. Content is the sole responsibility of our faculty members.
    Finally, our partner assists in technology issues that arise from starting a fully online program.

    Note that Boise State University will retain rights to all intellectual property associated with the
    program, as noted on page 6 of the contract between Boise State University and Academic
    Partnerships LLC. (Attachment B).


18. Program Resource Requirements. Indicate all resources needed to include the planned FTE
   enrollment, estimated expenditures, and projected revenues for the first three fiscal years of the program.
   Include both the reallocation of existing resources and anticipated or requested new resources. Second and
   third year estimates should be in constant dollars. Amounts should reflect explanations of subsequent
   pages. If the program is contract related, explain the fiscal sources and the year-to-year commitment from
   the contracting agency(ies) or party(ies). Provide an explanation of the fiscal impact of the proposed
   discontinuance to include impacts to faculty (i.e., salary savings, re-assignments).




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I. Planned Student Enrollment
    (FTE calculated as 1 FTE = 12 credit hours per semester for graduate programs)
                                      FY 13              FY 14               FY 15                           FY 16         Cumulative Totals
                                FTE       Hea dcount    FTE     Hea dcount    FTE      Hea dcount    FTE      Hea dcount    FTE     Hea dcount
A. New Enrollments (end
of year headcount)               0             0        60          97        153         193        217          235       430        525
B. Shifting Enrollments          0             0        0            0         0           0          0            0         -               -
II. REVENUES                          FY 13                     FY 14                 FY 15                  FY 16         Cumulative Totals
                                                        On-                   On-                    On-                    On-
                              On-goi ng   One-ti me    goi ng    One-ti me   goi ng    One-ti me    goi ng     One-ti me   goi ng   One-ti me
1. Appropriated-Reallocation                                                                                                 $0         $0
2. Appropriated new                                                                                                          $0         $0
3. Federal                                                                                                                   $0         $0
4. Tuition                                                                                                                   $0         $0
5. Student Fees                              $0                  $997,126             $2,546,969              $3,609,936     $0     $7,154,031
6. Other (Local Account)                   $68,291                -$7,727              -$60,564                              $0         $0
TOTAL Revenue                $0            $68,291      $0       $989,399     $0      $2,486,405     $0       $3,609,936     $0     $7,154,031
Ongoing is defined as ongoing operating budget for the program which will become part of the base.
One-time is defined as one-time funding in a fiscal year and not part of the base.

                                      FY 13                     FY 14                 FY 15                  FY 16         Cumulative Totals
III. Expenditures               FTE           Cost      FTE         Cost      FTE         Cost       FTE          Cost      FTE     Cost
A. Personnel Costs
1. FTE
                              summer
2. Faculty                    stipend $ 36,000 3.5              $ 256,500 9.5         $ 640,500     12.0      $ 882,000    25.0     $1,815,000
3. Administrators               0.25   $8,333 1.0                $50,000  1.0         $ 52,000       1.0        $54,000     3.3      $164,333
4. Adjunct Faculty              N/A      $0    N/A                 $0     N/A         $      -      N/A           $0       N/A          $0
5. Instructional Assistants       0    $3,200  3.9               $93,600   9.9        $ 238,200     12.5       $298,800    26.3      $633,800
6. Research Personnel             0      $0     0                  $0      0              $0          0           $0       0.00         $0
7. Support Personnel              0      $0     0                  $0      0              $0          0           $0       0.00         $0
8. Fringe Benefits                     $3,125                    $76,025              $ 195,925                $262,800              $537,875
TOTAL Personnel Costs           0.25  $ 54,825 8.4              $ 476,125 20.4        $1,126,625    25.5      $1,497,600   54.5     $3,155,175
B. Operating Expenses                 FY 13                     FY 14                 FY 15                  FY 16         Cumulative Totals
                                                        On-                   On-                    On-                    On-
                              On-goi ng   One-ti me    goi ng    One-ti me   goi ng    One-ti me    goi ng     One-ti me   goi ng   One-ti me
1. Travel                                  $3,000                 $3,000               $3,000                   $3,000               $12,000
2. Professional Services                     $0                  $448,707             $1,146,136              $1,624,471            $3,219,314
4. Communications                            $0                   $6,600                $6,600                  $6,600               $19,800
6. Materials and Supplies                   $200                  $1,200                $1,200                  $1,200                $3,800
7. Rentals                                  $200                  $4,200               $10,800                 $12,000               $27,200
8. Repairs and Maintenance                  $500                  $9,000                $9,000                  $9,000               $27,500
10.Miscellaneous                            $500                  $3,000                $3,000                  $3,000                $9,500
TOTAL OPERATING EXPENSES                   $4,400                $475,707             $1,179,736              $1,659,271            $3,319,114

C. Capital Outlay                     FY 13                     FY 14                 FY 15                  FY 16         Cumulative Totals
                                                        On-                   On-                    On-                    On-
                              On-goi ng   One-ti me    goi ng    One-ti me   goi ng    One-ti me    goi ng     One-ti me   goi ng   One-ti me
1. Library resources                         $0                     $0                     $0                     $0                   $0
2. Equipment                                 $0                   $9,000                 $9,000                 $9,000              $27,000
TOTAL Capital Outlay                         $0                   $9,000                 $9,000                 $9,000              $27,000
D. Physical Facilities Construction          $0                     $0                     $0                     $0                   $0
E. Indirect Costs                          $3,866                $28,567                $67,597                 $89,856             $189,886
Total Expenditures                        $ 68,291              $989,399              $2,382,958              $3,255,727            $6,696,376
Net Income (Deficit)                           $1                   $0                 $103,446                $354,209  Draft $457,656
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Because no funding of this program will be part of the base of any appropriated budget, all expenses
and all revenues are denoted as “non-recurring”.
Budget Notes:
I.A. FTE calculated as yearly student credit hours divided by 24.
II.B.2. As per contract, Academic Partnerships will receive 45% of revenues.
II.C.E. University administrative fee calculated as 6% of revenue less revenue to Academic Partnerships.
III.B.5. Students will be charged $750 per credit for the 48-credit program for a total of $36,000 for the entire
program. For FY2016, the third year of the program, we estimate 72 courses will be taught to classes with sizes
ranging from 17 to 20, for a total of 5204 credit hours produced. Note that we will offer a corporate discount of
15%; we estimate that 50% of our students will enroll with such a discount.
III.B.6. Local funds totaling $68,291 will fund the first year’s planning and development. Those local funds will be
repaid in the second year of the program.


    a. Faculty and Staff Expenditures

       Project for the first three years of the program the credit hours to be generated by each faculty member (full-
       time and part-time), graduate assistant, and other instructional personnel. Also indicate salaries. After total
       student credit hours, convert to an FTE student basis. Please provide totals for each of the three years
       presented. Salaries and FTE students should reflect amounts shown on budget schedule.
       FY 2014
       Name, Position & Rank Annual                FTE             Program          Projected      FTE
                                      Salary       Assignment Salary                Student        Students
                                      Rate         to this         Dollars          Credit
                                                   Program                          Hours
       Nine current but TBD,          $105,000          3.5        $256,500         1437           60
       COBE full time faculty         (avg)
       members
       Totals                                           3.5        $256,500         1437           60

       FY2015
       Name, Position & Rank        Annual      FTE              Program           Projected       FTE
                                    Salary      Assignment       Salary            Student         Students
                                    Rate        to this          Dollars           Credit
                                                Program                            Hours
       Nine current but TBD,        $105,000          9          $535,500/year     3304            138
       COBE full time faculty       (avg)
       members
       One faculty member           $105,000           1         $105,000/year     367             15
       hired from program           (avg)
       revenues
       Totals                                         10         $640,500          3671            153

       FY2016
       Name, Position & Rank        Annual      FTE              Program           Projected       FTE
                                    Salary      Assignment       Salary            Student         Students
                                    Rate        to this          Dollars           Credit
                                                Program                            Hours
       Nine current but TBD,        $105,000          9          $567,000          2896            163
       COBE full time faculty       (avg)
       members
       Three faculty members        $105,000           3         $315,000          1300            54
       hired from program           (avg)
       revenues
       Totals                                         12         $982,000          5204            217

        Project the need and cost for support personnel and any other personnel expenditures for the first three

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    years of the program.

    We estimate the need for instructional support staff and some hourly student assistants at approximately 9
    FTE and $298,800 salary cost for the third year.

b. Administrative Expenditures

    Describe the proposed administrative structure necessary to ensure program success and the cost of that
    support. Include a statement concerning the involvement of other departments, colleges, or other institutions
    and the estimated cost of their involvement in the proposed program.

 Each year for FY14, 15, 16
 Name, Position & Rank      Annual           FTE               Program Salary         Percent of Salary
                            Salary           Assignment        Dollars                Dollars to
                            Rate             to this                                  Program
                                             Program
 Director                      $50,000       1.00              $50,000                100%



    The Director will be responsible for:
         1. Interacting with our partner on student recruiting and admission processes
         2. External relations with alumni and the business community
         3. Strategic planning and execution including budget development and management
         4. Program operations across all university functions
         5. Insuring student success by tracking progress, providing advising, and assisting with financial aid

c. Operating Expenditures (travel, professional services, etc.) Briefly explain the need and cost for
   operating expenditures.

    This program is self-supporting. We do not provide books & materials but we do anticipate the
    occasional trip to visit our partner’s corporate offices.

d. Capital Outlay

    (1) Library resources

        (a) Evaluate library resources, including personnel and space. Are they adequate for the operation of
            the present program? If not, explain the action necessary to ensure program success.

            Current library resources are sufficient for the existing MBA programs and should be sufficient for
            this one too.

        (b) Indicate the costs for the proposed program including personnel, space, equipment, monographs,
            journals, and materials required for the program.

            None.

        (c) For off-campus programs, clearly indicate how the library resources are to be provided.

            Students may access the online resources of our library.

    (2) Equipment/Instruments

        Describe the need for any laboratory instruments, computer(s), or other equipment. List equipment,
        which is presently available and any equipment (and cost) which must be obtained to support the
        proposed program.


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       We may need to rent additional space on the cloud.

e. Revenue Sources

   (1) If funding is to come from the reallocation of existing state appropriated funds, please indicate the
       sources of the reallocation. What impact will the reallocation of funds in support of the program have on
       other programs?

       No state appropriated funds are reallocated to this program.

   (2) If the funding is to come from other sources such as a donation, indicate the sources of other funding.
       What are the institution’s plans for sustaining the program when funding ends?

       N/A.

   (3) If an above Maintenance of Current Operations (MCO) appropriation is required to fund the program,
       indicate when the institution plans to include the program in the legislative budget request.

       N/A

   (4) Describe the federal grant, other grant(s), special fee arrangements, or contract(s) to fund the program.
       What does the institution propose to do with the program upon termination of those funds?

       N/A

   (5) Provide estimated fees for any proposed professional or self-support program.

       We propose a fee of $36,000/student for the entire 48 credit program.




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Attachment A. Curriculum.




 Comparison of Courses required by Proposed Program with Courses required by Existing MBA
                                          Program
           Proposed Online MBA                            Existing Face to Face MBA
MBA-ON 501 Design Thinking & Strategic         MBA 531 Strategic Perspectives & MBA 546
Management                                     Strategic Management
MBA-ON 505 Marketing Strategy                  MBA 540 Marketing Strategy
MBA-ON 510 People & Organizations              MBA 552 People and Organizations
MBA-ON 515 Corporate Finance                   MBA 543 Managing Corporate Finance
MBA-ON 520 Global Economics: Policy & Trade    MBA 544 Global Economics: Policy and Trade
MBA-ON 525 Managerial Accounting               MBA 504 Managerial Accounting for Planning and
                                               Control
MBA-ON 530 Managerial Communication            MBA 568 Managerial Communication
MBA-ON 535 Info Tech & Business Alignment      MBA 569 Info Tech & Process Management
MBA-ON 540 Project Management                  MBA 549 Successful Project Management
MBA-ON 545 Legal Enviro of Business            MBA 558 Managers and the Legal Environment of
                                               Business
MBA-ON 550 Operations & Supply Chain Mgmt      MBA 559 Issues in Supply Chain Management
MBA-ON 555 Business Plan Development           MBA 567 Business Plan Development



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Descriptions of Courses Required for Proposed Program:

   A. MBA-ON 501 DESIGN THINKING AND STRATEGIC MANAGEMENT (0-0-4)(F/S/SU). Examines
      collaborative innovation processes that are transforming business and driving industry life cycles.
      Includes a first exposure to the creation of functional, business-level, and corporate-level strategies.
      Special consideration of organizational design, diversification, mergers and acquisitions, and measures of
      strategic performance including use of Balanced Scorecards. Interpersonal skills enhanced via online
      collaboration with classmates. PREREQ: ADM/PROG.
   B. MBA-ON 505 MARKETING STRATEGY (0-0-4)(F/S/SU). Focuses on revenue-generating
      opportunities with special emphasis on evaluating opportunities for new products or services. Includes
      segment analysis, customer choice behavior, branding, marketing tactics, personal selling, and the
      evaluation of market opportunities. Includes opportunity assessment project in industry sector of
      student’s choosing. PREREQ: MBA-ON 501.
   C. MBA-ON 510 PEOPLE AND ORGANIZATIONS (0-0-4)(F/S/SU). Emphasizes integrated manager-
      employee relations in an organization. Includes HR planning, employee recruitment, selection,
      performance appraisal, discipline, coaching, compensation, and termination issues. Also focuses on
      collaboration, group dynamics, motivation, leadership, problem-solving, negotiation, and self-
      management. Interpersonal skills enhanced via online collaboration with classmates. PREREQ: MBA-
      ON 505.
   D. MBA-ON 515 CORPORATE FINANCE (0-0-4)(F/S/SU). Examines the three major decisions in
      corporate finance affecting value of the firm: investment, financing and cash distribution. Includes the
      methods used to measure corporate value and evaluate financial performance. Issues in each of the three
      decision areas are examined within the context of their impact on the valuation model and financial
      performance metrics. Includes financial modeling project in industry sector of student’s choosing.
      PREREQ: MBA-ON 510.
   E. MBA-ON 520 GLOBAL ECONOMICS: POLICY AND TRADE (0-0-4)(F/S/SU). Reviews how
      economies work, the differences between economic systems, factors that influence international trade,
      exchange rates, labor economics, and government polices related to trade. Includes a survey on the
      economies of the world, current topics in global economics, data sources for international economic
      trends, and an introduction to major international trade agencies/associations. Includes application project
      in industry sector of student’s choosing. PREREQ: MBA-ON 515.
   F. MBA-ON 525 MANAGERIAL ACCOUNTING (0-0-4)(F/S/SU). Examines various cost-based
      accounting concepts and practices. Particular emphasis on the challenges involved in using them to
      evaluate past performance and plan future deployment of firm resources. Interpersonal skills enhanced
      via online collaboration with classmates to solve managerial accounting problems. PREREQ: MBA-ON
      520.
   G. MBA-ON 530 MANAGERIAL COMMUNICATION (0-0-4)(F/S/SU). A hands-on introduction to
      written and oral managerial communication including informal exchanges, elevator pitches, meetings,
      and persuasive formal presentations. Emphasis placed on team-oriented and supervisory communication
      tactics. Interpersonal skills enhanced via online collaboration with classmates. PREREQ: MBA-ON 525.
   H. MBA-ON 535 INFORMATION TECHNOLOGY AND BUSINESS ALIGNMENT (0-0-
      4)(F/S/SU). Examines the role of information technology in business process integration, strategic
      alignment, and business analytics. Includes application project in industry sector of student’s choosing.
      PREREQ: MBA-ON 530.
   I. MBA-ON 540 MANAGING SUCCESSFUL PROJECTS (0-0-4)(F/S/SU). Introduces and provides
      experience in the front-end issues of project management such as team formation, communication
      strategies, conflict management, project constraints, and risk analysis. Includes use of the project
      management tools: PERT/Critical Path, resource utilization, project monitoring and tracking, and critical
      chain analysis. Includes application project in industry sector of student’s choosing. PREREQ: MBA-ON
      535.
   J. MBA-ON 545 LEGAL ISSUES IN BUSINESS (0-0-4)(F/S/SU). Introduces future managers to the
      major legal issues involved in the business environment. Covers legal reasoning and the legal system,
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      agency and business associations, torts, contracts, intellectual property, employment law, sales, and
      product liability. Includes application project in industry sector of student’s choosing. PREREQ: MBA-
      ON 540.
   K. MBA-ON 550 OPERATIONS AND SUPPLY CHAIN MANAGEMENT (0-0-4)(F/S/SU).
      Introduces product and service movement within the firm and between the firm and its partners up and
      down the supply chain. Focus on logistics management, supplier relationships, and creating operational
      excellence within the firm. Includes operations modeling project in industry sector of student’s choosing.
      PREREQ: MBA-ON 545.
   L. MBA-ON 555 BUSINESS PLAN DEVELOPMENT (0-0-4)(F/S/SU). Integrates previous coursework
      via development of a business plan in industry sector of the student’s choosing. PREREQ: MBA-ON
      550.




Attachment B follows: Contract between Boise State University and Academic Partnerships LLC

Key aspects of agreement:
    All curriculum and course content is the responsibility of Boise State University faculty members.
    Boise State University retains rights to all intellectual property created by faculty members.
    The primary role of Academic Partnerships will be the marketing of the program and the
      recruitment of students.
    Academic Partnerships will receive 45% of revenues. In the future, should Boise State decide to
      offer two additional programs in partnership with Academic Partnerships, that percentage would

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  drop to 40%.




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               INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
                             OCTOBER 18, 2012

SUBJECT
    Board Policy III.V. Statewide Articulation and Associate Degree and Board Policy
    III.N. Private, In-State, Out-of-State – Second Reading

REFERENCE
    October 2012                  The Board approved the first reading of III.V. and
                                  III.N.

       August 2011                The Board approved the second reading of III.V.

       June 2011                  The Board approved the first reading of III.V.

       June 2007                  The Board reviewed amendments to Board Policy
                                  III.N. The Board did not approve the changes.

       September 2000             The Board approved the second reading of III.N.

       June 2000                  The Board approved the first reading of III.N.

APPLICABLE STATUTE, RULE, OR POLICY
     Idaho State Board of Education Governing Policies & Procedures, Section III.V.
     Statewide Articulation and Associate Degree
     Idaho State Board of Education Governing Policies & Procedures, Section III.N,
     Private, In-State, Out-of-State, Non-Accredited Institutions, and Other
     Educational Source Offerings
     Section 33-107(6), Idaho Code

BACKGROUND/DISCUSSION
    Board Policy III.V, Statewide Articulation and Associate Degree provides for the
    facilitation of credit transfer and also includes the Board’s general education core
    requirements.

       With increasing demand for accountability and concerns regarding alignment and
       transfer in an ever-changing world, the Council for Academic Affairs and
       Programs (CAAP) commissioned a group of key educational leaders from all
       eight public institutions and charged them with evaluating the Leveraging
       Educational Assistance Partnership (LEAP) Program framework. This taskforce
       was also charged with addressing concerns regarding credit transferability due to
       the changes in delivery of general education studies at Boise State University
       (BSU) and the University of Idaho (UI).

       Amendments to Board Policy III.V are proposed to allow flexibility in the six
       credits required of the general education core that are not assigned to a specific
       discipline. These changes will allow for flexibility as the State General Education
       Core Reform Taskforce proposes new approaches to general education program
       design and assessment to address the needs of other stakeholders. General


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       education reform work requires a faculty-driven process that identifies an explicit
       core of learning outcomes within shared, discipline-specific competency areas.
       Transferability across institutions is central to general education reform and the
       establishment of common learning outcomes and competencies. The ability to
       map and assess learning outcomes and competencies across institutions will
       play a key role in general education reform. Because BSU and the UI have
       already begun campus-level general education reform, the modifications to
       Policy III.V. will allow for ease of transfer across public institutions as the State
       General Education Reform Taskforce continues its analysis and development of
       a recommended framework. The work will begin with a focus on the core of
       general education as that is the foundation for all degrees. It is expected that
       when a new framework is developed, the taskforce will bring forward their
       recommendations to the Board for approval, which would result in further
       changes to Board Policy III.V.

       Changes to this policy also include incorporating sections of Board Policy III.N
       regarding the acceptance of credit from registered postsecondary educational
       institutions and proprietary schools.

       Board Policy III.N. Private, In-State, Non-Accredited Institution, and Other
       Educational Source Offerings sets out the registration requirements for
       proprietary schools and postsecondary educational institutions who wish to offer
       courses, courses of study or degree’s within the state and touches on how public
       postsecondary institutions should treat credit transfer from these schools and
       institutions. Chapter 24, Title 33, Idaho Code sets out the registration
       requirements for proprietary schools and postsecondary educational institutions
       and establishes the Board’s authority to manage the registration process.
       Additional clarifying procedures regarding the registration process are outlined in
       IDAPA 08.01.11. There have been a number of changes to Idaho Code and the
       rules since April of 2002 when III.N. was last updated. Additionally, the Board’s
       authority over institutions not under its governance or oversight are regulated
       through Idaho code and IDAPA rule and those entities the Board has governance
       over are regulated through Board policy. As such Board Policy is no longer in
       compliance with Idaho code or IDAPA rule and is redundant to the regulations
       set out within them. As such Board Policy III.N. should be repealed in its
       entirety. The language within the policy that touches on the transfer of credits to
       our public postsecondary institutions is being moved to III.V., Articulation and
       Transfer (previously titled Articulation and Associate Degree Policy).

       After further discussion with Board members, additional changes were made
       from the first reading of Board Policy III.V. to include adding definitions of
       interdisciplinary courses and foundational courses. The changes that were made
       are indicated on page 12.




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               INSTRUCTION, RESEARCH, AND STUDENT AFFAIRS
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IMPACT
     Amendments to Board Policy III.V allow for flexibility as the State General
     Education Core Reform Taskforce looks at general education with new
     approaches to program design and assessment. Changes also include the
     incorporation of transfer language that was previously included in III.N.

ATTACHMENTS
    Attachment 1 – Board Policy III.N., Private, In-state, Out-of-state,      Page 5
                   Non-Accredited Institution and Other Educational
                   Source Offerings Proposed Amendments
    Attachment 2 - Board Policy III.V., Statewide Articulation                Page 11
                   and Associate Degree Proposed Amendments

STAFF COMMENTS AND RECOMMENDATIONS
     Amendments to Board Policy III.V will allow for flexibility with current practice,
     and allow the Taskforce to continue its work with the general education reform
     initiative. Staff would like to emphasize that as the Taskforce formalizes their
     recommendations, there will be significant amendments to Board Policy III.V. for
     the Board’s consideration.

       Board staff recommends approval of both policies as presented.

BOARD ACTION
    I move to approve the second reading of amendments to Board Policy III.N.
    Private, In-state, Out-of-state, Non-Accredited Institution and Other Educational
    Source Offerings as presented.

       Moved by __________ Seconded by __________ Carried Yes _____ No _____

       AND

       I move to approve the second reading of the amendments to Board Policy III. V.
       Statewide Articulation and Associate Degree as presented.

       Moved by __________ Seconded by __________ Carried Yes _____ No _____




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Idaho State Board of Education                                             Attachment 1
GOVERNING POLICIES AND PROCEDURES
SECTION: III. POSTSECONDARY AFFAIRS
N. Private In-State, Out-of-State, Non-Accredited Institutions, and other Educational
Source Offerings                                                               April 2002

1. Statutory Authority
   Section 33-107(6), Idaho Code, establishes as a general power and duty of the
   Board the maintenance of a register of courses and programs offered anywhere in
   the state of Idaho by postsecondary institutions that are: a.) located outside the state
   and are offering courses or programs for academic credit or otherwise; or b.) located
   within the state of Idaho but not accredited by a regional or national accrediting
   agency recognized by the Board and are offering courses for academic credit. The
   acceptance of academic or non-academic credit at public postsecondary institutions
   in Idaho is the prerogative of the Board. In addition, Chapter 24, Title 33, Idaho
   Code, establishes requirements for registration, agent's permit, purchase statement,
   surety bond and student tuition recovery account.
2. Register of Accredited In-State and Out-of-State Institutions
   a. Maintenance of Register
       A register of courses and programs is maintained at the Office of the State Board
       of Education. The Office will establish written procedures, available upon
       request, for compliance with the requirements of Section 33-107(6), Idaho Code.
       Accredited institutions are exempt from Chapter 24, Title 33, Idaho Code.

   b. In-State Accredited Institutions

       (1) Regional Accreditation Bodies (III.M. - Accreditation)

          An in-state institution (i.e., is physically located in Idaho) accredited by one of
          the six (6) regional accreditation agencies (see Section III, Subsection M) is
          exempt from registering with the Office of the State Board of Education.
          Furthermore, credits awarded by one of the six regional accreditation
          agencies will be accepted by the State Board of Education and transferable
          into Idaho's public postsecondary system.

       (2) Non-Regional Accreditation Agencies

          The State Board of Education also recognizes those national accreditation
          agencies approved by the U.S. Department of Education.

          Private in-state institution(s) that are accredited by one (1) of these national
          accreditation bodies are exempt from registering with the Office of the State
          Board of Education. However, the acceptance of programs and/or credits is
          not assured. Those institutions that wish to have their programs and/or credits
          accepted that the Board, and hence, the public colleges and universities,
          must forward an application to the Office of the State Board of Education.

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GOVERNING POLICIES AND PROCEDURES
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Source Offerings                                                               April 2002


          The Board’s Instruction, Research and Student Affairs Committee or its
          designee will evaluate the application submitted by private, in-state, non-
          regionally accredited institutions. The evaluation will follow the identical
          standards by which the State Board of Education evaluates its own public
          postsecondary institutions. Should the program(s) or course(s) be evaluated
          as comparable to a program(s) or course(s) offered by an Idaho public
          institution, it will be accepted by the State Board of Education and hence
          transferable into the public postsecondary system. Those program(s) and
          course(s) that are not comparable will not be accepted by the State Board of
          Education and will not transfer to those institutions under their governance.

          The State Board of Education, through its IRSAC, shall set program and
          course evaluation fees, and any impact fees.
   c. Out-of-State Accredited Institutions
       A registration form/application must be submitted by any Board recognized
       accredited out-of-state institution to the State Board of Education. Critical
       evaluation of each of the components of such offerings as compared with
       courses, programs, credit awarded, and faculty of postsecondary institutions
       under governance of the Board will be accomplished by the Board's Instruction,
       Research and Student Affairs Committee or its designee. Should the course be
       evaluated as comparable to a course offered by an Idaho institution, it will be
       designated as "comparable" on the registration form; should the course not be
       comparable, it will be designated as "not comparable" on the form. Any
       interested person who makes inquiry concerning such course will be told whether
       the course is comparable or not comparable to offerings available from Idaho
       institutions.

       Academic credit for courses evaluated as not comparable shall not be accepted
       by Idaho postsecondary institutions under the direction and control of the Board.
       Courses or programs evaluated as comparable will be accepted for academic
       credit by Idaho’s public postsecondary institutions and thus shall be fully
       transferable among the institutions.

       The State Board of Education, through its Instruction, Research and Student
       Affairs Committee, shall set course and program processing fees, an impact fee,
       and a registration fee.

3. Register of Non-accredited Institutions and Other Educational Source Offerings
   a. Statutory Authority


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N. Private In-State, Out-of-State, Non-Accredited Institutions, and other Educational
Source Offerings                                                               April 2002

       In addition to the powers conferred by Chapter 24, Title 33, Idaho Code, Section
       33-107(6) requires the Board to maintain a register of institutions and their
       courses to be offered anywhere in the state of Idaho by postsecondary
       institutions which are located outside or within the state of Idaho but not
       accredited by a regional or national accrediting agency recognized by the Board.
       Idaho statute does not permit the offering of programs (i.e., degrees) in Idaho by
       non-accredited institutions. The acceptance of academic and non-academic
       credit, at public postsecondary institutions in Idaho, is the prerogative of the State
       Board of Education.
   b. Registration without Acceptance of Credit
       All trade, correspondence, technical vocational or other schools with a physical
       presence in Idaho and not accredited by an accrediting agency recognized by the
       Board must register with the Board. In addition to the requirements of Chapter
       24, Title 33, Idaho Code, the registration will include:

       (1) The applying institution shall provide the following: (a) a current financial
           statement with an opinion audit prepared by a certified public accountant; (b)
           a description of instructional methods used by the institution including mission
           statements, methods for assigning, monitoring and evaluating work, design of
           curriculum, and awarding credit; and (c) submission of credentials for faculty,
           including the submission of official copies of academic transcripts, verification
           of educational degrees attained and description of courses taught by that
           individual.

       (2) Restrictions against an institution’s awarding credit, earned or honorary,
           primarily on the basis of: (a) payment of tuition or a fee, (b) credit earned at
           another school, (c) credit for life experience or other equivalency, (d) testing
           out of required course work, (e) research and writing, or (f) any combination
           of the foregoing.

       (3) Performance/Surety Bond: The performance/surety bond, based upon Idaho
           student enrollment will be as follows:
           • $25,000 -- less than 50 students;
           • $50,000 -- 50 to 99 students; or
           • $100,000 -- 100 or more students

          Chapter 24, Title 33, Idaho Code provides for an exemption for those
          applicants who can demonstrate through such means as a CPA audit that the
          institution's annual tuition received is less than $10,000 per year. In that case,
          the performance/surety bond will be $10,000 per year.



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GOVERNING POLICIES AND PROCEDURES
SECTION: III. POSTSECONDARY AFFAIRS
N. Private In-State, Out-of-State, Non-Accredited Institutions, and other Educational
Source Offerings                                                               April 2002

   c. Registration with Acceptance of Credit

       A non-accredited in-state or out-of-state institution or educational source with a
       physical presence in Idaho desiring to have its academic or non-academic
       courses accepted by the Board and the Idaho public postsecondary institutions,
       must submit each course or workshop request to be offered in Idaho to the
       Board's Academic Affairs and Program Committee for critical evaluation and
       review. The AAPC shall establish an evaluation and review process in
       compliance with Section 33-107(6), Idaho Code, Chapter 24, Title 33, Idaho
       Code and the AAPC Guidelines for Program Review and Approval. The
       registration will include:

       (1) On-site visit requirements (in-state campus, and/or out-of-state home (main)
           campus or sending site) not less than once every five (5) years. The on-site
           visitation shall be conducted by a representative of the State Board of
           Education (SBOE) and may occur more frequently at the Board's discretion.
           The registered institution is required to pay the costs of the inspection and
           visitation by Idaho authorities.

       (2) Should the course or workshop be evaluated as acceptable or comparable to
           a course or workshop offered by an Idaho institution, it will be accepted for
           academic or non-academic credit by the SBOE and thus be accepted by the
           public postsecondary institutions in Idaho.
       (3) Academic or non-academic credit evaluated as non-acceptable or not
           comparable shall not be accepted by Idaho’s public postsecondary
           institutions.
       (4) Course or workshop fees for the evaluation, processing, registration, and
           impact will be set by the Board through its Academic Affairs and Program
           Committee and established in Administrative Rules.
4. Referral to the Attorney General
   Section 33-107(6), Idaho Code, requires establishment of criteria consistent with
   generally accepted professional standards relating to use of false or misleading
   advertising, solicitations, or false promises of employment. The Academic Affairs
   and Program Committee evaluates each registration of an out-of-state institution or
   an in-state non-accredited institution for compliance with such generally accepted
   standards and submits to the Board a recommendation that the office of the attorney
   general be notified of any violation. The Board itself must forward any such requests
   for action on violations to the office of the attorney general.




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Source Offerings                                                               April 2002

5. Interpretations
   a. Non-credit or continuing education courses are subject to compliance with
      Section 33-107(6), Idaho Code, if offered in Idaho by an accredited out-of-state
      institution or an in-state or out-of-state non-accredited institution.
   b. Accredited out-of-state institutions and non-accredited institutions, either in-state
      or out-of-state, or their agents or representatives, are exempt from compliance
      with Section 33-107 (6), Idaho Code, if the courses or programs are offered at a
      U.S. military installation solely for military personnel.
   c. For purposes of this policy, a non-accredited postsecondary institution or
      educational source shall be deemed to have a physical presence in Idaho if it
      owns, rents, leases, or uses any office or other physical location in Idaho from
      which it, or its representatives sells, offers for sale, or distributes any course or
      courses for academic credit or otherwise.

   d. Academic credits from in-state accredited institutions will be accepted within
      Idaho’s higher education system with the exception of religious, a vocational or
      recreational, private vocational courses sponsored by an employer for the
      training or preparation of its own employees, and aviation schools/instructors
      under the supervision of the federal aviation administration. Further, intensive
      review courses designed to prepare students for certified public accountancy
      tests, law school aptitude tests, bar examinations, graduate record exams, or
      medical admission tests will be exempt in accordance with Section 33-2402,
      Idaho Code.

   e. Authority is delegated to the postsecondary institutions under the Board’s
      governance to evaluate and accept credits on behalf of transferring students who
      have earned those credits from any out-of-state accredited institution or from any
      non-accredited institution or other educational source. However, if the Board has
      previously approved credits for courses and programs, those credits are
      transferable among all Idaho public institutions. Notwithstanding the foregoing,
      an institution may deny credit transfer to comply with specialized accreditation
      requirements, or in unique degree requirements.

   f. Credits accepted by one institution under the Board’s governance are
      transferable by the student to any other postsecondary institution under the
      Board’s governance.




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GOVERNING POLICIES AND PROCEDURES
SECTION:    III. POSTSECONDARY AFFAIRS
SUBSECTION: V. Articulation and Associate Degree PolicyTransfer
                                                            August 2011December
                                                         2012
1. Statewide Articulation

   a. Associate of Arts and Associate of Science Degrees

       To facilitate the transfer of students, Boise State University, Idaho State
       University, Lewis-Clark State College, the University of Idaho, the College of
       Southern Idaho, North Idaho College, and the College of Western Idaho, shall
       individually and jointly honor the terms of this statewide articulation policy.

       Students who complete requirements for the Associate of Arts or Associate of
       Science degree at an accredited institution in Idaho and Treasure Valley
       Community College will be considered as satisfying the lower division general
       education core requirements and shall be granted junior standing upon transfer
       to a four-year public institution in Idaho and will not be required to complete any
       additional lower division general education core courses subject to the conditions
       listed below.

       Transfer students from any in-state or out-of-state academic accredited institution
       who have completed the equivalent of the State Board of Education’s general
       education core for the Associate Degree will not be required to complete
       additional lower division general education core courses. However, these
       students must obtain certification of such completion. Certification of successful
       completion of the lower division general education core for students who have
       not completed the Associate of Science or Associate of Arts degree is the
       responsibility of the transferring institution.

       This transfer policy will provide for the fulfillment of all general education, lower
       division core requirements only. It is not intended to meet specific course
       requirements of unique or professional programs (e.g., engineering, pharmacy,
       business, etc.). Students who plan to transfer to unique or professional programs
       should consult with their advisors and make early contact with a program
       representative from the institution to which they intend to transfer.

       Transfer students who have not completed the Associate of Arts or Associate of
       Science or the general education core courses will not come under the provision
       of this articulation policy.

       A maximum of seventy (70) lower division credit hours or one-half of the total
       credits required for a student’s intended baccalaureate degree, whichever is
       greater, will normally be accepted for transfer from accredited community or
       junior colleges.




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                                                            August 2011December
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   b. Associate of Applied Science Degrees

       Students who complete all or a portion of the State Board of Education’s general
       education coursework for the Associate of Applied Science degree at one of the
       public postsecondary institutions in Idaho may fully transfer those completed
       general education core courses into an academic program. However,
       professional-technical transfer students who have not completed any courses
       under the general education core will not be covered under the provisions of this
       articulation policy.

2. Transfer Associate Degree

The lower division 100 and 200 level general education core requirement must fit within
the following thirty (30) credit and course requirements and must have a minimum of
thirty-six (36) credit hours. The remaining six (6) credits may come from the disciplines
listed below, interdisciplinary courses, or foundational program courses.

Interdisciplinary courses integrate coursework from different academic areas and
provide students an opportunity to engage in learning through inquiry while drawing on
knowledge from multiple fields.

Foundational program courses integrate a disciplinary lens approach to the curriculum,
serve as an academic introduction to the kinds of inquiry that are required for college
learning, build problem solving skills, and identify student learning outcomes.

State Board of Education General Education Core:
                                                                                          Required   Minimum
                                                                                          Courses    Credits
    a. Communications
        Coursework in this area enhances students’ ability to communicate clearly,
                                                                                             1          2
        correctly, logically, and persuasively in spoken English.
        Disciplines: Speech, Rhetoric, and Debate
    b. English Composition
        In meeting this goal, students must be able to express themselves in clear,
        logical, and grammatically correct written English. Up to six (6) credits may
                                                                                             1        3 to 6*
        be exempt by ACT, SAT, CLEP or other institution accepted testing
        procedure.
        *3 or 6 credit hours depending upon initial placement results.
    c. Behavioral and Social Science
        Coursework in this area provides instruction in: (1) the history and culture of
        civilization; (2) the ways political and/or economic organizations, structures
        and institutions function and influence thought and behavior; and (3) the
                                                                                             2          6
        scientific method as it applies to social science research.
        Disciplines:      Anthropology, Economics, Geography, History, Political
        Science, Psychology and Sociology.
        Note: Courses must be distributed over two (2) different disciplines.




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GOVERNING POLICIES AND PROCEDURES
SECTION:    III. POSTSECONDARY AFFAIRS
SUBSECTION: V. Articulation and Associate Degree PolicyTransfer
                                                            August 2011December
                                                         2012
    d. Humanities, Fine Arts, and Foreign Language
       Coursework in this area provides instruction in: (1) the creative process; (2)
       history and aesthetic principles of the fine arts; (3) philosophy and the arts as
       media for exploring the human condition and examining values; and (4)                  2          6
       communication skills in a foreign language.
       Disciplines: Art, Philosophy, Literature, Music, Drama/Theater, and Foreign
       Languages.
    e. Natural Science
       Coursework in this area: (1) provides an understanding of how the biological
       and physical sciences explain the natural world and (2) introduces the basic
       concepts and terminology of the natural sciences.                                      2          7
       Disciplines: Biology, Chemistry, Physical Geography, Geology, and Physics.
       Note: Courses may be distributed over two (2) different disciplines and must
       have at least one (1) accompanying laboratory experience.

                                                                                           Required   Minimum
                                                                                           Courses     Credits
    f.   Mathematics
         Coursework in this area is intended to develop logical reasoning processes;
         skills in the use of space, numbers, symbols, and formulas; and the ability to       1          3
         apply mathematical skills to solve problems.
         Disciplines: College Algebra, Calculus, Finite Mathematics, and Statistics.

3. Associate of Applied Science Degree.
   This professional-technical degree requires a minimum of 15 credit hours of general
   education coursework selected from each institution’s general education core and is
   comparable to the general education core of the Associate of Arts (A.A.) and
   Associate of Science (A.S.) degrees. The courses completed from the general
   education core of the A.A.S. will be fully transferable to the A.A., A.S., and
   baccalaureate degrees.
                                                                                           Required   Minimum
                                                                                           Courses     Credits
    a. English/Communication
        In meeting this goal, students must be able to express themselves in clear,
        logical, and grammatically correct written English.
                                                                                              2          6
        Disciplines: English 101 required, English 102 or Communication 101; An
        Applied English or Technical Writing course may be used if found to be
        comparable to ENGL 102.
     b. Mathematics/Computation
        Coursework in this area is intended to develop logical reasoning processes;
        skills in the use of space, numbers, symbols, and formulas; and the ability to
        apply mathematical skills to solve problems.                                          1          3
        Disciplines:        College Algebra, Calculus, Finite Mathematics and
        Mathematical Statistics. An Applied Mathematics course may be used if
        found to be comparable to a traditional mathematics course.
    c. Social Science/Human Relations
        Coursework in this area provides the student with the skills needed for
        understanding individuals in the work place and the functioning of thought            1          3
        and behavior.
        Disciplines: Human Relations, Psychology, and Sociology



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                                                         2012
     d. Elective
         Coursework in this area may come from any general education core     1        3
         requirement as listed in III.V.2.

4.     Authority is delegated to the postsecondary institutions under the Board’s
       governance to evaluate and accept credits on behalf of transferring students who
       have earned those credits from any out-of-state accredited institution or from any
       non-accredited institution or other educational source. However, if the Board has
       previously approved credits for courses and programs, those credits are
       transferable among all Idaho public institutions. Notwithstanding the foregoing,
       an institution may deny credit transfer to comply with specialized accreditation
       requirements, or in unique degree requirements.

       Credits accepted by one institution under the Board’s governance are
       transferable by the student to any other postsecondary institution under the
       Board’s governance.




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SUBJECT
    Board Policy III.AA. Accountability Oversight Committee – Second Reading

REFERENCE
    October 2012                  The Board approved the fist reading of proposed
                                  changes to Board Policy III.AA.
       April 2010                 The Board approved the second reading of Board
                                  Policy III.AA.
       February 2010              The Board approved the first reading of Board Policy
                                  III.AA.

APPLICABLE STATUTE, RULE, OR POLICY
     Idaho State Board of Education Governing Policies & Procedures, Section III.AA.
     Accountability Oversight Committee

BACKGROUND/DISCUSSION
    Board Policy III.AA., Accountability Oversight Committee, outlines the
    membership and responsibilities of the Board’s Accountability Oversight
    Committee. The Board’s Accountability Oversight committee is an ad hoc
    committee of the Board and is staffed by the Board’s Accountability Program
    Manager. The committee is responsible for reviewing and making
    recommendations on the results of the statewide assessments, and producing an
    annual report of student achievement to the Board.

       The proposed changes to this policy would strike the language requiring a
       recommendation from the Governor’s office prior to filling a vacancy of one of the
       four (4) previously Governor recommended positions.

       Staff have received no comments regarding the proposed change to this policy.
       There have been no changes between the first and second reading.

IMPACT
     The proposed change would give the Board greater flexibility in filling vacant or
     expired positions on the committee in a timely manner. Recommendations may
     still be given by the Governor or the Governor’s staff, however, if they do not
     have a recommendation the Board will be able to move forward in filling vacant
     positions.

ATTACHMENTS
    Attachment 1 – Board Policy III.AA., Accountability Oversight Committee Page 3

STAFF COMMENTS AND RECOMMENDATIONS
     Amendments to Board Policy III.AA. will allow for the Board to fill vacant positions
     in a more timely manner while still allowing for the Governor to make
     recommendations should he desire. Staff received no concerns regarding this
     change from the Governor’s office.


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       Board staff recommends approval of the policy as presented.

BOARD ACTION
    I move to approve the second reading of policy amendments to Board Policy III.
    AA. Accountability Oversight Committee as submitted.



       Moved by __________ Seconded by __________ Carried Yes _____ No _____




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Idaho State Board of Education
GOVERNING POLICIES AND PROCEDURES
SECTION:     III. ACADEMIC AFFAIRS
SUBSECTION: AA. Accountability Oversight Committee April 2010December 2012

1. Overview
   The Accountability Oversight Committee will function as an ad hoc committee of the
   Idaho State Board of Education and be staffed by the Board’s Accountability
   Program Manager.

2. Duties and Responsibilities
   a. Provide recommendations to the Board on the effectiveness of the statewide
      student achievement system and make recommendations on improvements
      and/or changes as needed.
   b. Develop and review an annual report of student achievement. This report shall
      be compiled collaboratively by Board and State Department of Education staff
      and submitted to the committee for review. The committee will forward the report
      to the Board with recommendations annually.

3. Meetings and Operating Procedures

   The committee shall meet twice annually, additional meetings may be called by the
   Chair as needed.

4. Membership
   The committee membership shall consist of:
     Two members of the Idaho State Board of Education, appointed by the Board
      president;
     The Superintendent of Public Instruction; and
     Four members at large appointed by the Board, one of which will chair the
      committee, and shall serve a term of one year as chair.

5. Terms of Membership
   Board members appointed to the committee serve at the pleasure of the president of
   the Board. Committee members appointed by the Board shall serve two-year terms.
   An incumbent member may be recommended for re-appointment. All terms shall
   begin on July 1st and end on June 30th of the year(s) beginning or ending said term.

   Appointments shall be staggered to ensure that no more than two (2) appointments
   will become vacant in any given year.

   An appointee who has reached the end of his or her term shall remain in service as
   a committee member until re-appointment, or until the appointment of a new
   member by the Board. Committee officers will be nominated and elected by a vote
   of the committee.



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   The Superintendent of Public Instruction will serve as an ex-officio member of the
   committee.

6. Reporting

   This committee shall report directly to the Board.




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SUBJECT
    Board Policy III.AB. Rural Physician Incentive Program Oversight Committee –
    Second Reading

REFERENCE
    October 2012                The Board approved the first reading of proposed
                                changes to Board Policy III.AB.
       June 2010                The Board approved the second reading of Board
                                Policy III.AB.
       April 2010               The Board approved the first reading of Board Policy
                                III.AB.

APPLICABLE STATUTE, RULE, OR POLICY
     Section 33-3723 – 33-3725, Idaho code.
     Idaho State Board of Education Governing Policies & Procedures, Section III.AB.
     Rural Physician Incentive Program Oversight Committee

BACKGROUND/DISCUSSION
    During the 2012 Legislative session changes were made to Idaho statute moving
    the administration of the Rural Physician Incentive Program to the Department of
    Health and Welfare’s Office of Rural Health. As part of this change, the Rural
    Physician Incentive Program Oversight Committee was combined with an
    already existing committee within the Department of Health and Welfare. This
    move has made Board Policy III.AB. obsolete.

       There have been no changes between the first and second reading.

IMPACT
     The proposed change repeals Board Policy III.AB., eliminating the Rural
     Physician Incentive Program Oversight Committee policy in its entirety.

ATTACHMENTS
    Attachment 1 – Board Policy III.AB., Rural Physician Incentive
                   Program Oversight Committee                               Page 3

STAFF COMMENTS AND RECOMMENDATIONS
     Board staff recommends approval of the policy as presented.

BOARD ACTION
    I move to approve the second reading of amendments to Board policy repealing
    Section III. AB. Rural Physician Incentive Program Oversight Committee as
    submitted.



       Moved by __________ Seconded by __________ Carried Yes _____ No _____


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Idaho State Board of Education
GOVERNING POLICIES AND PROCEDURES
SECTION:       III. ACADEMIC AFFAIRS
SUBSECTION: AB. Idaho Rural Physician Incentive Program                      June 2010

1. Overview

   The Idaho Rural Physician Incentive Program was developed to encourage primary
   care physicians to practice in medically underserved areas of Idaho. Sections 33-
   3723, 33-3724, and 33-3725, Idaho Code establish the authority for the State Board
   of Education (Board), through an oversight committee, to administer the Idaho Rural
   Physician Incentive Program, and to assess and collect the rural physician incentive
   fee.

   Idaho Code Section 33-3724 authorizes the Rural Physician Incentive Fund and
   facilitates payment of qualified educational debts of rural physicians who practice in
   areas of the state that are medically underserved and that demonstrate the need for
   assistance in physician recruitment. The fund is funded by fees assessed to all
   Idaho students participating in the WWAMI (Wyoming, Washington, Alaska,
   Montana and Idaho) and University of Utah state supported medical education
   programs.

2. Idaho Rural Physician Incentive Program Oversight Committee

   The Idaho Rural Physician Incentive Program Oversight Committee (Oversight
   Committee) is established per Idaho Code 33-2724 and shall serve under the
   direction of the Board.

   a. Oversight Committee Membership

       Committee membership shall have a balanced representation of primary
       constituent groups within health professions. The committee shall be composed
       of members from the following organizations:

          i.   Idaho Hospital Association
         ii.   Idaho Medical Association
        iii.   Idaho Osteopathic Association
       iv.     Office of Rural Health and Primary Care
         v.    The Idaho Area Health Education Center
       vi.     Medical Student Program Administrator
       vii.    Each Idaho Physician Residency Program receiving State appropriated
               fund support
       viii.   Other appropriate organizations

   b. Nominating Process



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       The Executive Director shall solicit written nominations of qualified individuals
       from each of the organizations provided above for committee membership. The
       Executive Director may select from the nominations or select other qualified
       individuals to serve on the committee. All selections by the Executive Director are
       subject to approval by the Board. The list of candidates must be forwarded to the
       Board for consideration not less than 60 days prior to expiration of the term of
       committee member, or within 30 days after any vacancy.

  c. Terms of Membership
       Committee members shall serve three-year terms. An incumbent member may
       be nominated by the committee for re-appointment by the Board, but no member
       may serve more than three (3) consecutive terms. All terms shall begin on July 1
       and end on June 30 of the year(s) beginning or ending said term.

       Appointments will be staggered to ensure continuity of operations as members of
       the Committee complete their initial term of appointment and are reappointed or
       replaced. An appointee who has reached the end of his or her term shall remain
       in service as a committee member until reappointment, or until the appointment
       of a new member is named and approved by the Board. Officers will be
       nominated and elected by a vote of the committee.

  d. Elections of Officers
       The Committee will elect a Chair, Vice-chair, and Secretary for terms of office of
       one year. The Chair will call and conduct each meeting of the Committee. In the
       absence of the Chair, the Vice-chair may call and conduct each meeting. The
       Chair or Vice-chair will provide a brief oral report after each meeting to the
       Executive Director. The Committee Secretary will ensure that a brief written
       summary of each Committee meeting, along with Committee approved
       actions/recommendations, is forwarded to the Executive Director in a timely
       manner.

  e. Operating Procedures
       The Committee will meet at the call of the Chair as often as necessary to fulfill
       Committee responsibilities but not less than twice each calendar year. Time and
       location of all meetings is at the discretion of Chair based on availability of
       Committee members. A meeting agenda will be published prior to each meeting
       and made available to Committee members along with appropriate meeting
       materials. All meetings will conform to Section, 67-2340-67-2347, Idaho Code,
       Open Meeting Law.

  f. Duties of the Oversight Committee
       The Committee will solicit qualified physician applicants/eligible areas for
       participation in the Rural Physician Incentive Program; and select and prioritize



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       approved physician candidates/eligible areas consistent with the Board approved
       criteria (see IDAPA 08.01.14, subsections .014 and .016). Awards shall not
       exceed the amount available in the fund when making award recommendations.




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